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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK, et al.,                                    No. 1:18-cv-2921 (JMF)

                        Plaintiffs,                            Hon. Jesse M. Furman
                                                               United States District Judge
            v.
                                                               DEFENDANTS’ EVIDENTIARY
 UNITED STATES DEPARTMENT OF                                   OBJECTIONS TO PLAINTIFFS’
 COMMERCE, et al.,                                             TRIAL AFFIDAVITS

                        Defendants.


         In accordance with paragraph 5(E)(i) of this Court’s individual rules and practices in civil

cases, Defendants United States Department of Commerce, Wilbur L. Ross, Jr., in his official

capacity as Secretary of Commerce, Bureau of the Census, and Ron S. Jarmin, in his capacity as

performing the non-exclusive functions and duties of the Director of the U.S. Census Bureau, object

to the following portions of Plaintiffs’ trial affidavits:

                            DECLARATION OF DANIEL ALTSCHULER

         ¶ 5: Lacks foundation. Hearsay.

         ¶ 8: Lacks foundation.

         ¶ 11: “Now, New York immigrant communities’ heightened fear of interacting with government workers has

increased even further due to the decision to add the citizenship question.” Lacks foundation. Hearsay.

         ¶ 11: “By adding a citizenship question to the Decennial Census, the Trump Administration has taken

advantage of a unique opportunity to bring their campaign to intimidate and marginalize immigrants into the home of

every immigrant.” Speculation.

         ¶ 12: “MRNY is already facing a much more challenging environment for conducting outreach and

encouraging immigrants of color to respond to the 2020 Census than the 2010 Census because of our members and

constituents’ heightened fear of interacting with government workers as a result of the Trump Administration’s
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persistently hostile and discriminatory actions and attitudes towards immigrants of color.” Lacks foundation.

Hearsay.

        ¶ 13: Hearsay.

        ¶ 14: Hearsay.

        ¶ 15: Hearsay.

        ¶ 16: Hearsay.

        ¶ 17: Hearsay.

        ¶ 18: Hearsay.

        ¶ 22: Relevance.

        ¶ 23: Foundation. Hearsay.

        ¶ 24: Foundation.

        ¶ 25: Foundation. Hearsay.

        ¶ 26: Foundation. Hearsay.

        ¶ 27: Foundation. Hearsay.

        ¶ 28: Foundation. Hearsay.

        ¶ 29: Foundation. Hearsay. Speculation.

        ¶ 30: Foundation. Hearsay. Speculation.


                               AFFIDAVIT OF TODD A. BREITBART

        ¶¶ 2–12: Lack of Personal Knowledge. Untimely Disclosed Expert Testimony.


                                   AFFIDAVIT OF SUSAN BROWER

        ¶ 4: Speculation.

        ¶ 5: “One question residents have asked relates to the confidentiality of survey responses.” Hearsay.

        ¶ 6: Lack of Personal Knowledge. Untimely Disclosed Expert Testimony.


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         ¶ 7: Lack of Personal Knowledge. Untimely Disclosed Expert Testimony.

         ¶ 8: “At a meeting with the U.S. Census Bureau officials the week of July 30, 2018, in Los Angles, I

conveyed that Minnesota did not want to receive citizenship stats at the block level.” Hearsay.

         ¶ 9: “I was informed by U.S. Census staff that even if the data was not published to the states in the form

of a data file in connection with redistricting, if the Census gathers citizenship data, then it will make that data public

on the block level.” Hearsay.


                                 DECLARATION OF STEVEN K. CHOI

         ¶ 4: “NYIC’s nearly 200 members are dues-paying nonprofit organizations that are committed to

advancing work on immigrant justice, empowerment, and integration. NYIC’s member organizations—located

throughout New York State and beyond—all share NYIC’s mission to serve and empower immigrant communities.”

Hearsay. Lacks foundation.

         ¶ 6: Lacks foundation. Lacks personal knowledge. Hearsay.

         ¶ 7: Lacks foundation. Speculation. Untimely disclosed expert testimony. Improper expert

testimony.

         ¶ 9: Lacks foundation. Lacks personal knowledge. Hearsay.

         ¶ 14: Lacks foundation. Speculation. Hearsay.

         ¶ 15: Lacks foundation. Hearsay.

         ¶ 22: Speculation. Lack of personal knowledge. Hearsay. Hearsay within hearsay.

         ¶ 23: “If the addition of a citizenship question is permitted and diminishes the completeness and accuracy of

the Census, NYIC, its members, and the immigrant communities we serve will suffer substantial losses of federal

resources supporting vital social service, health, education, and other programs supported by Census-guided funds.

Moreover, the immigrant communities of color that NYIC and its members serve will also suffer significant diminution




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of their political power.” Lacks foundation. Speculation. Untimely disclosed expert testimony. Improper

expert testimony.


                                   AFFIDAVIT OF SARA CULLINANE

         ¶¶ 1–23: Relevance. Not timely identified on Rule 26(a)(1) initial disclosures.

         ¶ 3: “Since January 2017, the immigrant communities that Make the Road NJ serves have experienced

increased attacks and widespread fear of deportation, making individuals in these communities less likely to want to

share their citizenship status with the government, and , consequently, less likely to complete a Census form that

contains a citizenship question.” Foundation. Hearsay.

         ¶ 3: “Our clients experienced extreme fear and anxiety. Many did not leave their homes because they were

afraid of being apprehended by immigration authorities. Others pulled their children out of school and stopped

attended medical appointments and social service appointments for their children.” Foundation. Hearsay.

         ¶ 4: Lack of Personal Knowledge. Foundation. Hearsay.

         ¶ 5: Hearsay. Hearsay Within Hearsay.

         ¶ 6: Lack of Personal Knowledge. Foundation.

         ¶ 7: Hearsay.

         ¶ 8: Hearsay.

         ¶ 9: Hearsay.

         ¶ 10: Lack of Personal Knowledge. Foundation. Hearsay. Speculation. Untimely disclosed

expert opinion.

         ¶ 11: “City officials and community groups expressed their concern during the roundtable discussion that the

inclusion of the citizenship question on the 2020 Census will cause fewer Paterson residents to complete the Census,

given the large immigrant population. Numerous social service providers that serve immigrant communities concluded

that their clients, like mine, were afraid that their information would be shared with federal immigration authorities if

they responded to the citizenship question on the Census.” Hearsay.

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                                DECLARATION OF GEORGE ESCOBAR

         ¶ 2: “Based on my nearly 20 years of professional experience working for Latino and immigrant serving

organizations in both the public and private sectors, the current outreach to immigrant communities I oversee in my

current capacity at CASA, and my conversations with individual CASA members, I believe the addition of a

citizenship question to the 2020 Decennial Census short-form questionnaire will deter participation of many

individuals in the Latino and immigrant communities and result in a disproportionate undercount of Latinos.”

Speculation. Untimely disclosed expert testimony. Hearsay. Improper expert testimony.

         ¶ 3: “This undercount will also injure many CASA members, many of whom live in areas of the United

States in which immigrants of color and other communities of color exceed national and state averages.” Lacks

foundation. Speculation.

         ¶ 3: “Specifically, they will be harmed because the disproportionate undercount that will result from the

citizenship question among immigrants of color will diminish their political power relative to other parts of their states.

In addition, this undercount will diminish the amount of Census-related funding those areas receive for key programs,

services, and facilities that our members and their families rely on to succeed in the communities in which they live.”

Lacks foundation. Speculation. Untimely disclosed expert testimony. Improper expert testimony.

         ¶ 15: “… the addition of a citizenship question to the Decennial Census harms CASA members, as well

as the organization itself. The increased fear among immigrants, caused by the Trump Administration’s anti-

immigrant policies and rhetoric, has led to decreased engagement with the government generally, and specific fear of

participating in the Decennial Census.” Lacks foundation. Speculation. Hearsay. Relevance.

         ¶¶ 16–18: Hearsay. Lacks foundation. Speculation. Relevance.

         ¶ 19: “CASA and its partner providers have begun to track a decrease in the number of individuals

applying for certain public benefits. Most troubling has been a decrease in the number of enrollments into benefits

completely unrelated to the policies that have been announced, such as a decrease in the number of immigrants applying




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for health insurance made available through the Affordable Care Act or a decrease in the number of Legal Permanent

Residents applying for citizenship.” Lacks foundation. Hearsay. Relevance.

         ¶ 19: “To those of us at CASA this decreased participation indicates that the Trump Administration’s

policies are not only affecting those individuals and communities who are directly targeted by these policies, but are

increasing fear among the immigrant community more broadly.” Speculation. Untimely disclosed expert

testimony. Improper expert testimony. Relevance.

         ¶ 20: “Under the current environment, CASA members have expressed fear of even a knock on their door

by a stranger given the high number of arbitrary immigration enforcement actions that have resulted in the deportation

of immigrants with little or no criminal background in the communities CASA serves.” Hearsay.

         ¶ 20: “This fear of even speaking to someone approaching their door will certainly be compounded by a

request by a government official, such as a census enumerator, regarding an individual’s citizenship status, or the

citizenship status of others in their household.” Speculation. Lacks foundation.

         ¶ 21: Hearsay.

         ¶ 22: Hearsay within hearsay.

         ¶ 23: Hearsay within hearsay within hearsay. Speculation.

         ¶ 24: “Through this litigation, I have learned that block-level data can identify the characteristics of a

population within a very small geographic area.” Hearsay. Lacks foundation. Lacks personal knowledge.

         ¶ 24: “By identifying the citizenship status of individuals in such a small area, I am concerned that this

could lead to immigration enforcement targeting these particular areas and communities, thus harming the privacy of

CASA members. I believe this concern is [sic] particular will discourage CASA members from participating in the

Decennial Census.” Speculation. Untimely disclosed expert testimony. Improper expert testimony.


                               AFFIDAVIT OF MARCHELLE FRANKLIN

         ¶ 6: Relevance, absent evidence of how an undercount of Phoenix’s population would affect

Phoenix’s VOCA funding. Fed. R. Evid. 104(b).

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         ¶ 7: Relevance, absent evidence of how an undercount of Phoenix’s population would affect

Phoenix’s TANF funding. Fed. R. Evid. 104(b).

         ¶ 8: Relevance, absent evidence of how an undercount of Phoenix’s population would affect

Phoenix’s LIHEAP funding. Fed. R. Evid. 104(b).

         ¶ 9: Relevance, absent evidence of how an undercount of Phoenix’s population would affect

Phoenix’s Head Start funding. Fed. R. Evid. 104(b).

         ¶ 10: Relevance, absent evidence of how an undercount of Phoenix’s population would

affect Phoenix’s WIOA funding. Fed. R. Evid. 104(b).


                                  AFFIDAVIT OF EMILY FREEDMAN

         ¶¶ 7–14: Untimely disclosed expert testimony.

         ¶ 9: Relevance, absent evidence of how an undercount of Providence’s population would

affect Providence’s CDBG funding. Fed. R. Evid. 104(b).

         ¶ 11: Relevance, absent evidence of how an undercount of Providence’s population would

affect Providence’s ESG funding. Fed. R. Evid. 104(b).

         ¶ 12: Relevance, absent evidence of how an undercount of Providence’s population would

affect Providence’s eligibility to receive HOME funding. Fed. R. Evid. 104(b).


                                    AFFIDAVIT OF JESÚS G. GARCÍA

         ¶ 8: Hearsay.

         ¶ 8: “I plan to continue distributing the survey to build a better picture of how the community I represent feels

about this issue and determine the best strategies to work with constituents and partners on outreach for the 2020

Census. As of October 22, 2018, total costs for my office associated with this effort, which include printing costs,

transportation to events, and staff time, are approximated to be $442.61 and a total of 17.5 staff hours.”

Relevance.


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         ¶ 9: Hearsay.

         ¶ 10: Hearsay.

         ¶ 11: Speculation. Lack of foundation.

         ¶ 12: “Such incidents lead to heightened fear and mistrust throughout the immigration community.”

Speculation. Lack of foundation.

         ¶¶ 13–15: Speculation. Relevance.

         ¶ 17: Hearsay.

         ¶ 19: “Just over half of the federal funds that Cook County received and managed for Fiscal Year 2017

came from programs that allocate funding on the basis of Census Bureau data. In order to arrive at this conclusion, my

staff made an analysis of federal grants Cook County received for Fiscal Year 2017, using an annual audit report

and a listing of federal funds that use Census Bureau data. Various Cook County programs are funded by agencies

and programs that rely on Census population data.” Hearsay. Untimely disclosed expert testimony.

         ¶ 20: Speculative. Lack of foundation. Relevance, absent evidence of how an undercount of

Cook County’s population would affect funding amount received for any specific program. Fed. R.

Evid. 104(b).

         ¶ 21: Lack of foundation. Untimely disclosed expert testimony.

         ¶ 24: “Furthermore, I am concerned that an undercount in the next Census could deprive communities in

suburban areas and the collar counties of the Chicago region from creating districts where Latinos can become a

supermajority, given that there has been significant growth of the Latino population in suburban areas.” Lack of

foundation. Untimely disclosed expert testimony.

         ¶ 24: “I have direct knowledge of concern on this matter from partners at the Mexican American Legal

Defense and Education Fund and the Latino Policy Forum. Similarly, the NAACP and the Chicago Urban

League have expressed concern to me that an undercount would impact the ability to draw districts in historically




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African American communities in the Chicago area, which have experienced dramatic population decline.” Hearsay.

Lack of foundation.

         ¶ 25: Hearsay. Untimely disclosed expert testimony.

         ¶ 26: “Data with respect to voting age population and population counts of African Americans/Blacks and

of Hispanics/Latinos, including those who indicate that they are one race or of several races, are used to determine

whether districts do not overly pack or dilute the capacity of these minority groups from electing candidates of their

choice. Other factors, such as known community boundaries, boundaries of other unites of government, known

boundaries of other election districts and visible or physical barriers are secondary considerations.” Untimely

disclosed expert testimony.

         ¶¶ 27–28: Untimely disclosed expert testimony.


                              AFFIDAVIT OF HERMANN HABERMANN

         ¶¶ 3–10: Relevance.

         ¶¶ 5, 7: Improper expert testimony as to ultimate issue of law.

         ¶¶ 12–21: Relevance.

         ¶¶ 22–33: Relevance; improper expert testimony as to ultimate issue of law.

         ¶¶ 34–46: Relevance.

         ¶¶ 47–54: Relevance; improper expert testimony as to ultimate issue of law.

         ¶¶ 55–86: Relevance.

         ¶ 86: Improper expert testimony as to ultimate issue of law.


                         AFFIDAVIT OF KATHERINE HARVELL HANEY

         ¶¶ 4–9: Undisclosed expert testimony.

         ¶¶ 5–6: Relevance, absent evidence of how a differential undercount would impact federal

funding for Vocational Rehabilitation State Grants. Fed. R. Evid. 104(b).


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         ¶ 7: Relevance, absent evidence of how a differential undercount would impact federal

funding for Community-Based Child Abuse Prevention Grants. Fed. R. Evid. 104(b).

         ¶ 8: Relevance, absent evidence of how a differential undercount would impact federal

funding for Older Americans Act Grants. Fed. R. Evid. 104(b).


                                   AFFIDAVIT OF JASON HARMON

         ¶¶ 4–6: Undisclosed expert testimony.

         ¶ 9: Speculative. Relevance, absent evidence of how the State would choose to allocate

money to LEAs in the event of a reduction in federal funding. Fed. R. Evid. 104(b).

         ¶¶ 10–13: Undisclosed expert testimony.

         ¶ 13: Speculative. Relevance, absent evidence of how the State would choose to allocate

money to LEAs in the event of a reduction in federal funding. Fed. R. Evid. 104(b).

         ¶¶ 15–17: Undisclosed expert testimony.


                              DECLARATION OF SAMER E. KHALAF

         ¶ 2: “Based on my knowledge as a leader in the Arab-American community, ADC and ADCRI’s

community outreach work, and my interactions with individual ADC members, I believe the addition of a citizenship

question to the 2020 Decennial Census short-form questionnaire will deter participation of many individuals in the

Arab-America n community and result in a disproportionate undercount of Arab Americans.” Untimely

disclosed expert opinion.

         ¶ 3: Untimely disclosed expert opinion.

         ¶ 16: “As described below, the decision stoked and continues to stoke tremendous fear in the Arab-

American community and threatens to lower response rates and increase the undercount of our community.” Hearsay.

Personal Knowledge. Untimely disclosed expert opinion.

         ¶ 18: Lack of Personal Knowledge. Foundation. Hearsay.


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         ¶ 19: “Specially, I know based on interactions with ADC members and people in the communities they

serve that some Arab Americans would be fearful of responding and may not respond to the Census questionnaire if

the citizenship question is added.” Hearsay.

         ¶ 19:    “I learned from those sessions that many community members fear the addition of a citizenship

question and are unwilling to participate in the 2020 Census out of the fear deriving from the citizenship question.”

Hearsay.

         ¶ 20: Hearsay.

         ¶ 21:    Hearsay. Lack of Personal Knowledge. Foundation.

         ¶ 22:    Hearsay.

         ¶ 23:    PX 251. Hearsay.

         ¶ 26:    “In addition to offering their own thoughts about the citizenship question, the three panelists fielded

questions from ADC members in the audience that reflected fears and concerns about the role of this question on the

census.” Hearsay.

         ¶ 31:    PX 252. Hearsay. PX 253.6. Hearsay.

         ¶ 33:    PX 251.38, 39. Hearsay.

         ¶ 35:    Lack of Personal Knowledge. Foundation.


                                 AFFIDAVIT OF GREGORY E. LUCYK

         ¶¶ 1–10: Untimely disclosed expert opinion.


                                 AFFIDAVIT OF WILLIAM P. O’HARE

         ¶ 9: “There is no evidence in the 1990, 2000 or 2010 Censuses that the Census Bureau can mitigate low

response rates to avoid a net undercount.” Untimely disclosed expert testimony.




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         ¶ 13: “Moreover, the Census Bureau has estimated that the self-response rate in the 2020 Census will be

lower than the self-response rate in previous Censuses, suggesting that internet and telephone response options will not

be effective at improving self-response compared to past Censuses.” Untimely disclosed expert testimony.


                                  AFFIDAVIT OF CHRISTINE PIERCE


         Untimely disclosed fact witness.

         ¶ 5: Hearsay.

         ¶ 9: Hearsay.

         ¶ 10: Hearsay.

         ¶ 11: Hearsay.

         ¶ 12: Hearsay.

         ¶ 13: Hearsay.

         ¶ 17: Hearsay.

         ¶ 18: Hearsay.


                                DECLARATION OF ELIZABETH PLUM

         ¶ 6: Lack of foundation; hearsay.

         ¶ 7: Lack of foundation, hearsay.

         ¶ 8: Lack of foundation; hearsay.

         ¶ 13: Hearsay.

         ¶ 14: Hearsay; undisclosed expert opinion.

         ¶ 15: Lack of foundation; hearsay.

         ¶ 16: Lack of foundation; hearsay.

         ¶ 17: Lack of foundation; hearsay.

         ¶ 18: Lack of foundation; hearsay.

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         ¶ 19: Lack of foundation; hearsay.

         ¶ 20: Lack of foundation; hearsay.

         ¶ 21: Lack of foundation; hearsay.

         ¶ 22: Lack of foundation; hearsay.

         ¶ 23: Lack of foundation; hearsay.


                                AFFIDAVIT OF EVELYN RODRIGUEZ

         ¶ 4: Lack of foundation; undisclosed expert opinion.

         ¶ 6: Lack of foundation; hearsay.

         ¶ 8: Lack of foundation; hearsay.

         ¶9: Lack of foundation; hearsay.


                                AFFIDAVIT OF MONICA SARMIENTO

         ¶ 4: “According to the Virginia Immigration Council, Virginia is home to over one million immigrants.1

Virginia’s immigrant communities are diverse, spread throughout the Commonwealth, and often have different

immigration statuses within a family, i.e. a mixed-status family. It is common to find a family of Korean, Pakistani,

Salvadorian, or Honduran descendant where only some family members have legal status.” Untimely disclosed

expert testimony.

         “For example, I have come across family structures where all the children and one parent are U.S. citizens,

but the other parent is undocumented. I have also seen circumstances where the parents are undocumented, but the two

eldest children have legal status under the Deferred Action for Childhood Arrivals (“DACA”) program, and the

youngest child is a U.S. citizen.” Hearsay

         ¶¶ 6–9: Hearsay

         ¶ 10: Currently there is a great deal of confusion on how VACIR’s member organizations will message the

addition of the citizenship question. Some have said they will tell their community members to boycott the question,


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others have told me it is unethical to ever ask someone to break the law by not answering every question on the census.

The fear of how the citizenship question could potentially harm the immigrant community has overwhelmed community

leaders, and has left both VACIR and its member organizations with no clear answer as to how to proceed if the

citizenship question is in fact included in the 2020 census.” Hearsay.


                              DECLARATION OF JOHN H. THOMPSON

         ¶¶ 13–15: Relevance.

         ¶ 15: Improper expert testimony as to ultimate issue of law.

         ¶¶ 43–96: Relevance.

         ¶¶ 97–126: Relevance.

         ¶¶ 106–108: Improper expert testimony.

         ¶¶ 120–126: Improper expert testimony.


                           AFFIDAVIT OF JACQUELINE TIEMA-MASSIE

         ¶ 6: Untimely disclosed expert testimony.

         ¶¶ 13–14: Untimely disclosed expert testimony.

         ¶ 15: “Reducing funding to any of these programs puts these populations at greater risk to a wide range of

vulnerabilities such as increased poverty, homelessness, substandard housing, hunger/food insecurity, unemployment,

underemployment, lack of job skills training, social isolation, lack of access to higher education, exposure to intimate

partner violence, and exposure to extreme weather.” Untimely disclosed expert testimony.

         “Based on similar analysis I have conducted in the past to address state budget concerns, these outcomes are

very likely to occur as a result of reduced funding.” Untimely disclosed expert testimony.

         ¶ 17: “Delegate agencies which heavily rely on government support to operate programs, including their staff

and operations, and the communities in which these organizations are located would all be negatively impacted.”

Untimely disclosed expert testimony.


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         ¶ 18: “For example, a reduction in funding to the CSBG would significantly impact low-income families.”

Untimely disclosed expert testimony.

         “Many seniors utilize center resources for life enrichment activities, computer learning classes, internet access,

fitness programming, congregate dining, caregiver services, and much more.” Hearsay.

         “Any reduction in funding could negatively impact these DFSS Centers that are integral to many Chicago

neighborhoods, persons and families.” Untimely disclosed expert testimony.

         ¶¶ 19–20: Untimely disclosed expert testimony.


                             DECLARATION OF JENNIFER VAN HOOK

         ¶ 33: “Even though the citizenship question is not asked during follow-up interviews, the respondents would

not necessarily know this when contacted for a follow-up interview. In fact, they might expect to be asked more

questions about citizenship given that they were asked these questions at the first interview.” Lacks personal

knowledge. Speculation.


                                    AFFIDAVIT OF ARTURO VARGAS

         ¶¶ 5–8: Lacks personal knowledge. Lacks foundation.

         ¶ 10: Lacks personal knowledge. Lacks foundation.

         ¶ 11: “The Census Bureau and the NAC officially meet twice a year, and at working groups, which are

essentially sub-committees of the NAC. A typical meeting of the NAC is held at the Suitland headquarters of the

Census Bureau and presided by the Designated Federal Officer and the Chair and Co-Chair of the NAC. The

agenda is set by the leadership of the Census Bureau in consultation with the Chair and Co-Chair. The meetings

typically consist of presentations by Census Bureau staff, prepared reactions by a NAC member, and discussion by the

full Committee. The NAC members then develop and agree on recommendations to the Census Bureau on the matters

discussed. The Bureau response to the NAC’s recommendations in writing, indicating whether the recommendations

are accepted or rejected, and the reasons for doing so. In addition, for the decennial census, there are working groups on


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issues such as language, the undercount of young children, and partnerships and communications.” Lacks personal

knowledge. Lacks foundation.

         ¶¶ 12–13: Lacks personal knowledge. Lacks foundation. Untimely disclosed expert

testimony.

         ¶ 16: “The decision to add the citizenship question was undoubtedly rushed and made outside of the window

between NAC meetings. This timeline prevented any meaningful input from NAC; a fact that was and still is

alarming.” Speculation. Lacks foundation.

         ¶ 18: “Most NAC members learned of the issue through media reports that first emerged in late December

2017.” Hearsay.

         ¶ 22: “As mentioned above, this unusual and rushed timeline meant that the NAC was not consulted on

the topic of the citizenship question, a significant deviation from prior practice on a topic of such importance.” Lacks

foundation. Untimely disclosed expert testimony.

         ¶ 23: Lacks foundation.

         ¶ 24: Lacks foundation. Untimely disclosed expert testimony.

         ¶ 25: “And any research NALEO has done to anticipate messaging strategies has shown that individuals

are scared to answer the citizenship question for fear of disclosure of that information to other government entities.”

Hearsay.


                          DECLARATION OF CHRISTOPHER WARSHAW

         None.




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Dated: November 1, 2018            JOSEPH H. HUNT
                                   Assistant Attorney General

                                   BRETT A. SHUMATE
                                   Deputy Assistant Attorney General

                                   JOHN R. GRIFFITHS
                                   Director, Federal Programs Branch

                                   CARLOTTA P. WELLS
                                   JOSHUA E. GARDNER
                                   Assistant Branch Directors

                                           /s/ Kate Bailey
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiffs Hidalgo and Cameron Texas Counties by

its attorney, Special Counsel Rolando L. Rios, makes the following Initial Disclosures.


                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to Plaintiffs

Hidalgo and Cameron Counties. They are made without prejudice to producing during discovery

or at trial information, documents, or data that are (a) subsequently discovered or determined to

be relevant for any purpose, or (b) produced as a result of ongoing investigations, or (c)

subsequently determined to have been omitted from these disclosures.

       2.        Plaintiffs Hidalgo and Cameron Counties reserves the right at any time to revise

and/or supplement these Initial Disclosures.

       3.        Plaintiffs Hidalgo and Cameron Counties hereby expressly reserves all objections

to the use for any purpose of these Initial Disclosures or any of the information and documents

referenced herein in this case. By referring to documents in the Initial Disclosures, Plaintiffs




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Hidalgo and Cameron Counties make no representations or concessions regarding the relevancy

or appropriateness of any particular documents or types of documents.

       4.      Plaintiffs Hidalgo and Cameron Counties’ identification of individuals pursuant to

Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiffs from obtaining discovery of individuals

not presently identified. Plaintiffs Hidalgo and Cameron Counties incorporates all individuals

identified by all other parties in Plaintiff’s Initial Disclosures and reserves the right to depose,

and to rely upon the testimony of, all such individuals in support of its claims.

       5.      Plaintiffs Hidalgo and Cameron Counties’ identification or production of

documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession,

custody or control.    Plaintiffs Hidalgo and Cameron Counties reserves the right to use all

documents produced by any party or non-party to this action. With these Initial Disclosures,

Plaintiffs Hidalgo and Cameron Counties are not identifying documents protected from

disclosure by the attorney-client, work product or other applicable privileges. Nor do Plaintiffs

Hidalgo and Cameron Counties waive the right to object to Defendants’ discovery requests on

any basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiffs

Hidalgo and Cameron Counties may use to support Plaintiff’s claims as detailed in the First

Amended Complaint. Plaintiffs Hidalgo and Cameron Counties expressly reserves the right to

supplement this disclosure:




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  Name                     Contact Information          Subjects of Discoverable Information

 Maria Arcelia Duran,      Attorney Rolando L. Rios Maria Arcela Duran has knowledge of the
 CPA, Hidalgo County       rrios@rolandorioslaw.com impact of decennial census population
 Auditor                   210-413-7347             counts on local funding and budgets.

 Martha Galarza, CPA,      Attorney Rolando L. Rios Martha Galarza has knowledge of the
 Cameron County            rrios@rolandorioslaw.com impact of decennial census population
 Auditors Office)          210-413-7347             counts on local funding and budgets.

 Ramon Garcia,             Attorney Rolando L. Rios The witness has knowledge of the impact of
 Hidalgo County Judge      rrios@rolandorioslaw.com the citizenship question on community
                           210-413-7347             members’ willingness to participate in the
                                                        decennial census process. The witness has
                                                        knowledge of the heightened fears
                                                        surrounding the 2020 decennial census.

 Eddie Trevino Jr.,        Attorney Rolando L. Rios The witness has knowledge of the impact of
 Cameron County            rrios@rolandorioslaw.com the citizenship question on community
 Judge                     210-413-7347             members’ willingness to participate in the
                                                        decennial census process. The witness has
                                                        knowledge of the heightened fears
                                                        surrounding the 2020 decennial census.



II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

   Plaintiffs Hidalgo and Cameron Counties have no documents to disclose at this time but

   expressly reserves its right to supplement this disclosure:

III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:
       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V.Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil



DATED this 20th day of July, 2018.

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                              Respectfully Submitted,

                              Rolando L. Rios
                             ROLANDO L. RIOS
                             Texas State Bar # 16935900
                             Special Counsel
                             115 E. Travis, Suite 1645
                             San Antonio, Texas 78205
                             Telephone:      (210) 222-2102
                             Facsimile:      (210) 222-2898
                             E-Mail:         rrios@rolandorioslaw.com


                              Attorney for Plaintiffs HIDALGO AND
                              CAMERON COUNTIES OF TEXAS




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                        18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff, the City of Central Falls (the “State of Rhode

Island”), by its attorney, Matthew T. Jerzyk, Bar Number 7945 of the State of Rhode Island, makes

the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the City

of Central Falls. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff City of Central Falls reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff City of Central Falls hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff City of Central Falls



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makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.

       4.      Plaintiff City of Central Falls’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Central Falls incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Central Falls’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Central Falls reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of Central Falls is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of Central Falls waive the right to object to Defendants’

discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and all

applicable privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Central Falls may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Central Falls expressly reserves the right to supplement this disclosure:

   Name                  Contact Information             Subjects of Discoverable Information

  Mayor James            Contact through Counsel:        The witness has knowledge of how the
  Diossa, City of        City Solicitor                  addition of the citizenship question has
  Central Falls          City of Central Falls 580       spread fear and confusion among city
                         Broad Street Central Falls,     residents who have been asked to


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                      RI 02863                  participate in the Census “Test Run” and
                      MJerzyk@CentralFallsRI.us whether ICE would be notified.
Rachel Flum,          Contact through Counsel:      The witness has knowledge of the impact of
Economic Progress     City Solicitor                decennial census population counts on local
Institute             City of Central Falls 580     funding and budgets.
                      Broad Street Central Falls,
                      RI 02863
                      MJerzyk@CentralFallsRI.us
Mario Bueno,          Contact through Counsel:      The witness has knowledge of the impact of
Executive Director,   City Solicitor                the citizenship question on community
Progreso Latino       City of Central Falls 580     members’ willingness to participate in the
                      Broad Street Central Falls,   decennial census process. The witness has
                      RI 02863                      knowledge of the heightened fears
                                                    surrounding the 2020 decennial census.
                      MJerzyk@CentralFallsRI.us
                                                    Witness has knowledge concerning outreach
                                                    efforts conducted by the Census Bureau.

Gabriela              Contact through Counsel:      Witness has information regarding the
Domenzain             City Solicitor                presence of hard-to-count populations in
                      City of Central Falls 580     Central Falls and areas particularly vulnerable
                      Broad Street Central Falls,   to undercounting.
                      RI 02863
                      MJerzyk@CentralFallsRI.us
Kim Brace             Contact through Counsel:      Witness has information regarding the impact
                      City Solicitor                of the decennial census population count on
                      City of Central Falls 580     the state redistricting process.
                      Broad Street Central Falls,
                      RI 02863
                      MJerzyk@CentralFallsRI.us
John Marion,          Contact through Counsel:      The witness has information regarding
Common Cause of       City Solicitor                Central Falls’s efforts to mitigate the impact
Rhode Island          City of Central Falls 580     of the citizenship question on non-response
                      Broad Street Central Falls,   rates. Witness has knowledge concerning
                      RI 02863                      outreach efforts conducted by the Census
                                                    Bureau.
                      MJerzyk@CentralFallsRI.us




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of Central Falls’s possession, custody, or control that may be used by Plaintiff City

of Central Falls to support its claims are described as follows. Plaintiff City of Central Falls

expressly reserves its right to supplement this disclosure:

 Document Description                                         Document Location
 “Census on Trial,” OpEd by Mayor James Diossa                This document will be uploaded to
 Providence                                                   the central repository administered
                                                              by the New York Attorney
                                                              General’s Office.
 Statement of Former Census Directors on Adding a             This document will be uploaded to
 New Question to the 2010 Census (Oct. 16, 2009)              the central repository administered
                                                              by the New York Attorney
                                                              General’s Office.
 Press Conference Memo on Citizenship Question                This document will be uploaded to
                                                              the central repository administered
                                                              by the New York Attorney
                                                              General’s Office.
 U.S. Census Bureau, How a Question Becomes a Part of This document will be uploaded to
 the American Communities Survey (2017)               the central repository administered
                                                      by the New York Attorney
                                                      General’s Office.



III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:




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       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 17th day of July, 2018.



                                            The City of Central Falls
                                            by and through its City Solicitor
                                            Matthew T. Jerzyk


                                            /s/ Matthew T. Jerzyk
                                            NAME
                                            Matthew T. Jerzyk, Esq. (R.I. Bar No. 7945)
                                            City Solicitor
                                            City of Central Falls
                                            580 Broad St.
                                            Central Falls, RI 02863
                                            401-556-7412
                                            MJerzyk@CentralFallsRI.us




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK,et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE,et al.,

                       Defendants.




       Pursuant to Fed R Civ. P. 26(a)(1), Plaintiff City of Chicago (the "City of Chicago"), by

its attorney, Edward N. Siskel, the Corporation Counsel of the City of Chicago, makes the

following Initial Disclosures.
                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the City

of Chicago. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff City of Chicago reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff City of Chicago hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff City of Chicago




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makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.

       4.      Plaintiff City of Chicago's identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Chicago incorporates all individuals identified by all other

parties in Plaintiff's Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Chicago's identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Chicago reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of Chicago is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of Chicago waive the right to object to Defendants' discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Chicago may use to support Plaintiffs' claims as detailed in the First Amended Complaint.

Plaintiff City of Chicago expressly reserves the right to supplement this disclosure:

  Name                         Contact            Subiects of Discoverable Information
                               Information
 Evelyn Rodriguez, Office      Contact through Evelyn Rodriguez is an advisor for
 of the Mayor ofthe City       Counsel for the neighborhood development and community
 of Chicago                    City of Chicago engagement and serves as a conduit to all
                                               communities and mana es artnershi s with
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                                                 external stakeholders including those from the
                                                 civic, faith-based, cultural and business
                                                 communities. Appointed by the Mayor of
                                                 Chicago, she serves as the City's designee on
                                                 the Illinois Complete Count Commission. The
                                                 Commission is developing and will recommend
                                                 a 2020 Census outreach strategy and will be
                                                 chaired by the IL Secretary of State. The
                                                 witness has knowledge of Chicago's
                                                 involvement and efforts in census outreach,
                                                 which seeks to combat the undercount
                                                 projected for the 2020 Census.

    Bryan Esenberg, Deputy     Contact through The witness has knowledge on issues related to
    Commissioner ofthe         Counsel for the how the City of Chicago's grant funding and
    Multi-Family Finance and   City of Chicago tax credits are affected by the decennial Census
    Housing Preservation                       count.
    Division of the Chicago
    Department of Planning
    and Development

Dr. Julie Morita,              Contact through The witness has knowledge about how
Commissioner ofthe             Counsel for the inaccurate figures from the 2020 Census will
Chicago Department of          City of Chicago harm the ability of the Chicago Department of
Public Health                                  Public Health to serve local communities and
                                               to identify and treat communities with the
                                               greatest need, particularly in the area of disease
                                               prevention and control. The witness also has
                                               knowledge about how the City of Chicago's
                                               grant funding, particularly the Immunization
                                               Program, will be affected by the decennial
                                               Census count.

Jackie Tiema, Director of      Contact through This witness has knowledge about the Chicago
Grants Management for          Counsel for the Department of Family &Support Services
the Chicago Department         City of Chicago ("DFSS")'s federal grant application process.
of Family &Support
Services

John Young, Political          Contact through This witness has knowledge about local
Director for Common            Counsel for the funding and budgets.
Cause Illinois                 City of Chicago

Celina Villanueva, NADP        Contact through This witness has knowledge about impact of
  Youth Engagement             Counsel for the the citizenship question on community
&
Manager for the Illinois       City of Chicago members' willingness to participate in the
Coalition for Immigrant                        decennial Census.
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and Refugee Rights

Lawrence Benito, CEO         Contact through This witness has knowledge about impact of




                        &
Executive Director ofthe     Counsel for the the citizenship question on community
Illinois Coalition for       City of Chicago members' willingness to participate in the
Immigrant and Refugee                        decennial Census.
Rights

Selma D'Souza,               Contact through This witness has knowledge about impact of
Executive Director ofthe     Counsel for the the citizenship question on community
Indo American Center         City of Chicago members' willingness to participate in the
                                             decennial Census and local funding and
                                             budgets.

Judith Gethner, Executive    Contact through This witness has knowledge about local
Director of Illinois         Counsel for the funding and budgets.
Partners for Human           City of Chicago
Services

Jeff Raines,                 Contact through This witness has knowledge regarding the
Communications and           Counsel for the impact ofthe decennial Census population
Engagement Director for      City of Chicago count on the state redistricting process.
Change Illinois

Jesus Garcia, Cook           Contact through This witness has knowledge about the impact
County Commissioner          Counsel for the of the citizenship question, local funding and
                             City of Chicago budgets, as well as the state redistricting
                                             process.

Anita Banerji, Director of   Contact through   This witness has been leading, facilitating and
the Democracy Initiative     Counsel for the   making collaborative efforts with Illinois
for Forefront                City of Chicago   advocates and grant-makers across the state for
                                               a fair and accurate Census in 2020, and has
                                               knowledge about the same.
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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       Plaintiff City of Chicago expressly reserves its right to supplement these initial

disclosures by later identifying documents and electronically stored information in Plaintiff City

of Chicago's possession, custody, or control that may be used by Plaintiff City of Chicago to

support its claims.

III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures —Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures —Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) —Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.

DATED this 18th day of July, 2018.


                                            Edward N. Siskel
                                            CORPORATION COUNSEL
                                            CITY OF CHICAGO

                                             /s/            }1,~    ~J.t~
                                            Christie L. Starzec
                                            Assistant Corporation Counsel
                                            City of Chicago Department of Law
                                            30 North LaSalle Street, Suite 1230
                                            Chicago, Illinois 60602
                                            (312)744-7864
                                            Christie.Starzec@cityofchicago.org




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the City of Columbus, by its

attorney, Zachary M. Klein of the City Attorney’s Office of Columbus, makes the following

Initial Disclosures.
                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the City

of Columbus. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff City of Columbus reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff City of Columbus hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff City of




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Columbus makes no representations or concessions regarding the relevancy or appropriateness of

any particular documents or types of documents.

       4.      Plaintiff City of Columbus’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Columbus incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Columbus’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Columbus reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of Columbus is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of Columbus waive the right to object to Defendants’

discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and all

applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Columbus may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Columbus expressly reserves the right to supplement this disclosure:

  Name                              Subjects of Discoverable Information

 Anita Clark, fiscal manager in     This witness has knowledge of how census driven funds are
 the Columbus Department of         distributed to various City organizations and how such
 Health                             decisions are made. Witness also has information about how
                                    much money was expended by each City organization.


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 Carolyn Thurman, Grants           This witness has information regarding the grant formulas
 management coordinator,           that are used to calculate how much funding the City of
 department of finance and         Columbus will receive based on census data.
 management for the City of
 Columbus

 Inna Kinney, CEO of               This witness has knowledge of the impact census driven
 Economic Community                funds have on the City of Columbus. Witness can also speak
 Development Institute             on the hardship the city will face if such funds are not
                                   representative of our population.

 Mohamud Jama, Director of         This witness also has information regarding how an
 the New American Political        additional citizenship question will affect Somali turnout in
 Action Committee                  the census and how a decrease in census-driven funds will
                                   affect this community.

 Ramona Reyes, Director of         This witness has information regarding how adding a
 Our Lady of Guadalope Center      citizenship question to the census will affect Latino turnout.
                                   Witness also has information regarding how a decrease in
                                   census-driven funds will affect the Latino population in
                                   Columbus.

 Roger Cloern, fiscal division at This witness has information regarding the grant formulas
 the Columbus Department of       that are used to calculate how much funding the City of
 Health                           Columbus will receive based on census data.

 Steve Fireman, GC of              This witness has knowledge of the impact census driven
 Economic Community                funds have on the City of Columbus. Witness can also speak
 Development Institute             on the hardship the city will face if such funds are not
                                   representative of our population.


       Each of the above listed witnesses can be contacted through counsel at the Columbus

City Attorney’s office. Contact information for counsel is:

               Alexandra Pickerill or Richard Coglianese
               77 North Front Street
               Columbus, Ohio 43215
               (614)645-6945 (phone)
               (614)645-0818 (phone)
               (614)645-6949 (fax)
               anpickerill@columbus.gov
               rncoglianese@columbus.gov




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of Columbus’s possession, custody, or control that may be used by Plaintiff City of

Columbus to support its claims are described as follows. Plaintiff City of Columbus expressly

reserves its right to supplement this disclosure:

Document Description                                       Document Location
2015 Comprehensive Annual Financial Report                 This document is at a central
                                                           repository administered by the New
                                                           York Attorney General’s Office
Details how much money was received in federal funds
and where those funds were allocated in fiscal year
2015.
2016 Comprehensive Annual Financial Report                 This document is at a central
                                                           repository administered by the New
                                                           York Attorney General’s Office
Details how much money was received in federal funds
and where those funds were allocated in fiscal year
2016.
2017 Comprehensive Annual Financial Report                 This document is at a central
                                                           repository administered by the New
                                                           York Attorney General’s Office
Details how much money was received in federal funds
and where those funds were allocated in fiscal year
2017.
Assistance Data Catalog of Federal Domestic                This document is at a central
Assistance                                                 repository administered by the New
                                                           York Attorney General’s Office
2017 Schedule of Expenditure and Federal Awards            This document is at a central
                                                           repository administered by the New
                                                           York Attorney General’s Office
2017 Schedule of Expenditure and Federal Awards with       This document is at a central
hand-written department allocations.                       repository administered by the New
                                                           York Attorney General’s Office

Details which departments within the City are given

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federal funds based on the census data.
Census Driven Federal Funds_Columbus                 This document is at a central
                                                     repository administered by the New
                                                     York Attorney General’s Office
This excel spreadsheet shows where census-driven
funds have been allocated in the City of Columbus.




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 12th day of July, 2018.




                                            Zach Klein
                                            City Attorney of the City of Ohio

                                             /s/ Zach Klein
                                            Zach Klein
                                            Columbus City Attorney
                                            77 North Front Street
                                            Columbus Ohio, 43215
                                            (614)645-7385
                                            zmklein@columbus.gov




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Connecticut ("Connecticut”), by

its attorney, Mark F. Kohler, Assistant Attorney General, of the Connecticut Office of the

Attorney General, makes the following Initial Disclosures.


                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to Plaintiff

Connecticut. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff Connecticut reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.        Plaintiff Connecticut hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff Connecticut makes no



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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff   Connecticut’s    identification     of   individuals   pursuant   to   Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff Connecticut incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff Connecticut’s identification or production of documents pursuant to Rule

26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control. Plaintiff

Connecticut reserves the right to use all documents produced by any party or non-party to this

action. With these Initial Disclosures, Plaintiff Connecticut is not identifying documents

protected from disclosure by the attorney-client, work product or other applicable privileges. Nor

does Plaintiff Connecticut waive the right to object to Defendants’ discovery requests on any

basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.




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                               INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State

of Connecticut may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Connecticut expressly reserves the right to supplement this disclosure:

  Name                         Contact Information               Subjects of Discoverable
                                                                 Information

 Paul Potamianos,              c/o Mark F. Kohler                The witness has knowledge of
 Executive Budget Director,    Assistant Attorney General        the impact of decennial census
 State of Connecticut Office   Connecticut Office of the         population counts on state/local
 of Policy & Management        Attorney General                  funding and budgets.
                               55 Elm St., P.O. Box 120
                               Hartford, CT 06141-0120
                               860-808-5020
                               Mark.Kohler@ct.gov




II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       Plaintiff Connecticut does not have any documents or electronically stored information to

disclose at this time. Plaintiff Connecticut expressly reserves its right to supplement this

disclosure.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:




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       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 19th day of July, 2018.




                                            GEORGE JEPSEN
                                            Attorney General of the State of Connecticut

                                             /s/ Mark F. Kohler
                                            Mark F. Kohler
                                            Assistant Attorney General
                                            Connecticut Office of the Attorney General
                                            55 Elm St., P.O. Box 120
                                            Hartford, CT 06141-0120
                                            860-808-5020
                                            Mark.Kohler@ct.gov




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.



            PLAINTIFF DISTRICT OF COLUMBIA’S INITIAL DISCLOSURES

       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the District of Columbia, by its attorneys,

makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the

District of Columbia. They are made without prejudice to producing information, documents, or

data that are (a) subsequently discovered or determined to be relevant for any purpose, or (b)

produced as a result of ongoing investigations, or (c) subsequently determined to have been

omitted from these disclosures during discovery or at trial.

       2.      Plaintiff District of Columbia reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff District of Columbia hereby expressly reserves all objections to the use of

these Initial Disclosures or any of the information and documents referenced herein in this case.

By referring to documents in the Initial Disclosures, Plaintiff District of Columbia makes no


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representations or concessions regarding the relevancy or appropriateness of any particular

document or types of documents.

       4.      Plaintiff District of Columbia’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiffs from obtaining discovery of individuals not

presently identified. Plaintiff District of Columbia incorporates all individuals identified by all

other parties in these Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff District of Columbia’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff District of Columbia reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff District of Columbia is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff District of Columbia waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth,

and all applicable privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff District

of Columbia may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff District of Columbia expressly reserves the right to supplement this disclosure:

   Name                          Contact                Subjects of Discoverable Information
                                 Information

  Fitzroy Lee, PhD               Office of the          Witness has knowledge of the impact of
  Deputy CFO and Chief           Attorney General       decennial census population counts on
  Economist                      for the District of    District of Columbia funding and budgets.
                                 Columbia, 441 4th

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                             Street, N.W., Suite
                             630 South,
                             Washington, DC
                             20001

Sam Zimbabwe                 Office of the         Witness has knowledge of the impact of
Chief Project Delivery       Attorney General      decennial census population counts on
Officer                      for the District of   highway planning and construction and
Office of the Director       Columbia, 441 4th     other funding for the District.
District Department of       Street, N.W., Suite
Transportation               630 South,
                             Washington, DC
                             20001

Elisabeth Morse, Division    Office of the         Witness has knowledge of the impact of
of Systems and Supports      Attorney General      decennial census population counts on
(K-12)                       for the District of   education and other funding for the
D.C. Office of the State     Columbia, 441 4th     District.
Superintendent of            Street, N.W., Suite
Education                    630 South,
                             Washington, DC
                             20001

Elizabeth Groginsky,         Office of the         Witness has knowledge of the impact of
Division of Early Learning   Attorney General      decennial census population counts on
D.C. Office of the State     for the District of   education and other funding for the
Superintendent of            Columbia, 441 4th     District.
Education                    Street, N.W., Suite
                             630 South,
                             Washington, DC
                             20001

Gretchen Brumley,            Office of the         Witness has knowledge of the impact of
Division of Student          Attorney General      decennial census population counts on
Transportation               for the District of   education and other funding for the
D.C. Office of the State     Columbia, 441 4th     District.
Superintendent of            Street, N.W., Suite
Education                    630 South,
                             Washington, DC
                             20001

Corporate designee(s) of     Office of the         Witness has knowledge of the impact of
the D.C. Department of       Attorney General      decennial census population counts on
Human Services               for the District of   Supplemental Nutrition Assistance
                             Columbia, 441 4th     Program, Foster Care, WIC, and other
                             Street, N.W., Suite   funding for the District.
                             630 South,


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                                Washington, DC
                                20001

  Joy Phillips, PhD             Office of the         Witness has information regarding the
  Associate Director, D.C.      Attorney General      District of Columbia’s use of census
  State Data Center             for the District of   information, its previous and ongoing
  D.C. Office of Planning       Columbia, 441 4th     efforts to improve its residents’ responses
                                Street, N.W., Suite   to the census and the District’s Complete
                                630 South,            Count Committee, the presence of hard-
                                Washington, DC        to-count populations in the District of
                                20001                 Columbia, and areas particularly
                                                      vulnerable to undercounting.

  Corporate designee(s) of      Office of the         The witness has information regarding the
  the Executive Office of the   Attorney General      District of Columbia’s Complete Count
  Mayor                         for the District of   Committee and its efforts to mitigate the
                                Columbia, 441 4th     impact of the citizenship question on non-
                                Street, N.W., Suite   response rates. Witness has knowledge
                                630 South,            concerning outreach efforts conducted by
                                Washington, DC        the Census Bureau.
                                20001


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff District of Columbia’s possession, custody, or control that may be used to support its

claims are described as follows. Plaintiff District of Columbia expressly reserves its right to

supplement this disclosure:

 Document Description                                       Document Location
 Demographic reports concerning hard-to-count               These documents are being
 populations                                                prepared by the D.C. Office of
                                                            Planning, and when in final form
                                                            they will be provided to the New
                                                            York Attorney General’s Office to
                                                            be kept in a Central Repository.
 Proposals and plans to mitigate non-response.              These documents are being
                                                            prepared by the D.C. Complete
                                                            Count Committee, and when in
                                                            final form they will be provided to
                                                            the New York Attorney General’s

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                                                    Office to be kept in a Central
                                                    Repository.
Budget analyses of the impact of undercount.        These documents are being
                                                    prepared by the D.C. Office of the
                                                    Chief Financial Officer, and when
                                                    in final form they will be provided
                                                    to the New York Attorney
                                                    General’s Office to be kept in a
                                                    Central Repository.
D.C. Code § 1-1101.01                               This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
Report on Bill 19-219 the “Ward Redistricting       This document is at a central
Amendment Act of 2011”                              repository administered by the New
                                                    York Attorney General’s Office.
THE 2010 CENSUS: HOW COMPLETE COUNT                 This document is at a central
COMMITTEES, LOCAL GOVERNMENTS,                      repository administered by the New
PHILANTHROPIC ORGANIZATIONS, NOT-FOR-               York Attorney General’s Office.
PROFITS AND THE BUSINESS COMMUNITY CAN
CONTRIBUTE TO AN ACCURATE CENSUS,
HEARING BEFORE THE SUBCOMMITTEE ON
INFORMATION POLICY, CENSUS, AND
NATIONAL ARCHIVES OF THE COMMITTEE ON
OVERSIGHT AND GOVERNMENT REFORM
HOUSE OF REPRESENTATIVES (Dec. 2, 2009)
Subcommittee Report on Bill 14-137, the “Ward       This document is at a central
Redistricting Amendment Act of 2001”                repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 1-1041.02                               This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 1-309.03                                This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 2-1010                                  This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.



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 D.C. Code § 6-1502                                           This document is at a central
                                                              repository administered by the New
                                                              York Attorney General’s Office.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff District of Columbia will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal

Rules of Civil Procedure.



DATED this 19th day of July, 2018.




                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              ROBYN R. BENDER*
                                              Deputy Attorney General,
                                              Public Advocacy Division

                                              By: /s/ Valerie M. Nannery

                                              Valerie M. Nannery, Assistant Attorney General
                                              (admitted pro hac vice)
                                              Public Advocacy Division
                                              441 4th Street, NW
                                              Suite 650 North
                                              Washington, DC 20001
                                              valerie.nannery@dc.gov
                                              Tel. (202) 442-9596
                                              Fax (202) 730-1465


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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              V.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a) (1), Plaintiff the People of the State of Delaware, by its

attorney, David J. Lyons, Deputy Attorney General, (DE BAR ID 2341) of the State of Delaware,

Department of Justice, makes the following Initial Disclosures.


                                       INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of Delaware. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff Delaware reserves the right at any time to revise and/or supplement these

Initial Disclosures.

       3.      Plaintiff Delaware hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff Delaware makes no



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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff Delaware’s identification of individuals pursuant to Rule 26(a) (1) (A) (i)

is not intended to preclude Plaintiff from obtaining discovery of individuals not presently

identified. Plaintiff Delaware incorporates all individuals identified by all other parties in

Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the testimony of,

all such individuals in support of its claims.

       5.      Plaintiff Delaware’s identification or production of documents pursuant to Rule

26(a) (1) (A) (ii) is limited to those documents within its possession, custody or control. Plaintiff

Delaware reserves the right to use all documents produced by any party or non-party to this action.

With these Initial Disclosures, Plaintiff Delaware is not identifying documents protected from

disclosure by the attorney-client, work product or other applicable privileges. Nor does Plaintiff

Delaware waive the right to object to Defendants’ discovery requests on any basis, including, but

not limited to, relevancy, over-breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

Delaware may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Delaware expressly reserves the right to supplement this disclosure:

   Name                  Contact Information         Subjects of Discoverable Information

  Stephen G. Bayer,      David J. Lyons,         The witness has knowledge of documented research
  Delaware Office of     David.lyons@state.de.us concerning estimates of the number of
  Management and         (302) 577-8413          undocumented immigrants in Delaware as of 2014,
  Budget                                         the prevalence of hard to count populations in
                                                 Delaware’s three counties: New Castle, Kent, and



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                                             Sussex, as well as the number of people living in
                                             hard to count communities.
Stephen G. Bayer,    David J. Lyons,         The witness has knowledge of documented research
Delaware Office of   David.lyons@state.de.us concerning per capita benefits of $2214 in federal
Management and       (302) 577-8413          funding based on 16 large federal assistance
Budget                                       programs that distribute funds based on Decennial
                                             Census derived statistics.

Steven E.            David J. Lyons,         The witness has knowledge of documents and/or
Yeatman,             David.lyons@state.de.us information that address the following programs in
Deputy Secretary     (302) 577-8413          Delaware, which use Census information for the
Department of                                formula for funds entitlement:
Services for                                 1. Title 1 part D, Neglected and Delinquent
Children, Youth                              Children This program provides formula grants to
and Their Families                           SEAs for supplementary education services to help
                                             provide education continuity for children and
                                             youths in state-run institutions for juveniles and in
                                             adult correctional institutions

                                                2.Individuals with Disabilities Education Act
                                                (IDEA) Part B, Section 611 (Supports ages 3 – 21)

                                                3.IDEA Part B, Section 619 (Supports ages 3-5)

                                             4.Stephanie Tubbs Jones Child Welfare
                                             Services: Title IV-B, Subpart 1 of the Social
                                             Security Act - Under the Stephanie Tubbs Jones
                                             Child Welfare Services (CWS) program, states may
                                             provide a broad range of services designed to
                                             support, preserve, and/or reunite children and their
                                             families. States are required to use funding received
                                             under the Promoting Safe and Stable Families
                                             Program (PSSF)
Stephen G. Bayer,    David J. Lyons,         The witness has knowledge of documented census
Delaware Office of   David.lyons@state.de.us statistics concerning Delaware’s percentage of
Management and       (302) 577-8413          initial self-response, as well as the costly follow
Budget                                       required to obtain an accurate count.


Stephen G. Bayer,    David J. Lyons,          The witness has knowledge of Delaware statutes
Delaware Office of   David.lyons@state.de.us concerning the necessity of accurate census data in
Management and       (302) 577-8413          state voter redistricting. At the federal level,
Budget                                       Delaware’s current population only allows for one
                                             representative to the U.S. House of Representatives.




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  Stephen G. Bayer,      David J. Lyons,         The witness has knowledge of Delaware’s
  Delaware Office of     David.lyons@state.de.us expending additional resources to mitigate any
  Management and         (302) 577-8413          harm caused by an inaccurate census count to the
  Budget                                         extent Delaware will be convening a “State
                                                 Complete Count Commission” pursuant to a
                                                 pending Executive Order of Delaware Governor
                                                 John Carney.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Delaware’s possession, custody, or control that may be used by Plaintiff State of

Delaware to support its claims are described as follows. Plaintiff State of Delaware expressly

reserves its right to supplement this disclosure:

 Document Description                                   Documents Location
 Prevalence of Hard to Count Populations.               http://www.censushardtocountmaps2020.us/ -
 Immigrants in Delaware. The American                   U.S. Census Bureau American Community
 Immigration Council. 331 G St. NW, Suite 200,          Survey , 2012-2016
 Washington, D.C. 20005 ( a nonpartisan
 nonprofit organization ) ; 2010 Census Coverage        These documents are located at a central
 Measurement;                                           repository administered by the New York
                                                        Attorney General’s Office.

 Losses in Federal Funding Due To An Inaccurate         This document is located at a central repository
 Census Count. Source: “Counting for Dollars”.          administered by the New York Attorney
 The George Washington Institute for Public             General’s Office.
 Policy, The George Washington University,
 Washington, DC

 Populations at Risk of Being Undercounted -            http://www.censushardtocountmaps2020.us/
 U.S. Census Tract examples based on latest
                                                        These documents are located at a central
 Census estimates -2012-2016 - depicting Census
                                                        repository administered by the New York
 Self Response and Hardest to Count (HTC) 2020
                                                        Attorney General’s Office.
 Tracts in the Nation. The Leadership Conference
 Education Fund citing: U.S. Census Bureau,
 2011-2015 American Community Survey
 Estimates; Funders’ Committee for Civic
 Participation; “Census 2020, “What’s At Stake
 for Delaware Funders”, Keely Monroe, Funders’
 Committee for Civic Participation;


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 Necessity of Accurate Census Data in                This document is located at a central repository
 Redistricting. Source: Delaware Code, Title 29,     administered by the New York Attorney
 Chapter 8                                           General’s Office.

 Expending Additional Resources to Mitigate          Upon receipt, this document will be placed at a
 Harm. Source: Pending Issuance and Receipt          central repository located at and administered by
 of Order: State Complete Count Commission           the New York Attorney General’s Office.
 via an Executive Order of Delaware Governor
 John Carney.




III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a) (2) on the

schedule directed by the Court and as required by Rule 26(a) (2)(D) of the Federal Rules of Civil

Procedure.



DATED this 19th day of July, 2018.




                                            DAVID J. LYONS,
                                            Deputy Attorney General of the State of Delaware

                                             /s/ David J. Lyons
                                            David J. Lyons
                                            Deputy Attorney General
                                            Delaware Department of Justice
                                            Wilmington, DE 19801
                                            303-577-8413
                                            David.Lyons@state.de.us


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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the County of El Paso, Texas,

by its attorney, Ian R. Kaplan, Assistant County Attorney of the El Paso County Attorney’s Office,

makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to Ian R.

Kaplan. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.



       2.      Plaintiff, El Paso County Texas, reserves the right at any time to revise and/or

supplement these Initial Disclosures.




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       3.      Plaintiff, El Paso County Texas, hereby expressly reserves all objections to the use

for any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff El Paso County

Texas, makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.



       4.      Plaintiff El Paso County Texas, identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff El Paso County Texas, incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.



       5.      Plaintiff El Paso County Texas, identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff El Paso County Texas, reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff El Paso County Texas, is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff, El Paso County Texas, waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth,

and all applicable privileges.




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                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff El Paso

County Texas, may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff El Paso County Texas, expressly reserves the right to supplement this disclosure:

   Name                      Contact Information                   Subjects of Discoverable
                                                                   Information

  El Paso County Judge       El Paso County Attorney’s Office      The witness has knowledge of
  Ruben J. Vogt/El Paso,     500 E. San Antonio, Ste. 503          the workings of El Paso
  Texas                      El Paso, Texas 79901                  County Government.
                             Telephone: 915.546.2050
  County Chief               El Paso County Attorney’s Office      The witness has knowledge of
  Administrator Betsy C.     500 E. San Antonio, Ste. 503          the workings of El Paso
  Keller/El Paso, Texas      El Paso, Texas 79901                  County Government and
                             Telephone: 915.546.2050               Budget.

  County Budget and          El Paso County Attorney’s Office      The witness has knowledge of
  Fiscal Policy              500 E. San Antonio, Ste. 503          the workings of County
  Department Wallace         El Paso, Texas 79901                  Budget.
  Hardgrove/El Paso,         Telephone: 915.546.2050
  Texas


Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:
       Plaintiff El Paso County has nothing to disclose at this time but expressly reserves its right

to supplement should any documents be found.


II. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

III. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

IV. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:




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       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this the 19th day of July, 2018.




                                            JO ANN BERNAL
                                            El Paso County Attorney
                                            500 E. San Antonio, Ste. 503
                                            El Paso, Texas 79901

                                            /s/ Ian R. Kaplan
                                            IAN R. KAPLAN
                                            Assistant County Attorney
                                            El Paso County Attorney’s Office
                                            500 E. San Antonio, Ste. 503
                                            El Paso, Texas 79901
                                            Telephone: 915.546.2050
                                            Facsimile: 915.546.2133
                                            Ian.Kaplan@epcounty.com

                                            New York Bar No. 3976529
                                            Texas Bar No. 24043747




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                             Plaintiffs,

              v.                                        18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                             Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of Illinois (the “State

of Illinois”), by its attorney, Lisa Madigan, Attorney General of the State of Illinois, makes the

following Initial Disclosures.


                                           INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of Illinois. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, (b) produced as a result of ongoing investigations, or (c) subsequently determined to have

been omitted from these disclosures.

       2.      Plaintiff State of Illinois reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff State of Illinois hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff State of Illinois makes no



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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of Illinois’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Illinois incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Illinois’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody, or control.

Plaintiff State of Illinois reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of Illinois is not identifying

documents protected from disclosure by the attorney-client, work product, or other applicable

privileges. Nor does Plaintiff State of Illinois waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) Disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

Illinois may use to support Plaintiff’s claims as detailed in the First Amended Complaint. Plaintiff

State of Illinois expressly reserves the right to supplement this disclosure:




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   Name                    Contact Information            Subjects of Discoverable Information

  Erin Aleman,             Office of the Illinois         The witness has knowledge of the impact of
  Director of Planning     Attorney General               decennial census population counts on state
  and Programming,         Matthew J. Martin              transportation funding and budgets.
  Illinois Department of   mmartin@atg.state.il.us
  Transportation           (312) 814-8735


  Annie Brooks,            Office of the Illinois         The witness has knowledge of the impact of
  Federal Liaison and      Attorney General               decennial census population counts on state
  Director of Title        Matthew J. Martin              education funding and budgets.
  Grants, Illinois State   mmartin@atg.state.il.us
  Board of Education       (312) 814-8735


  Celina Villanueva,       Office of the Illinois         The witness has knowledge of the impact of
  NADP and Youth           Attorney General               the citizenship question on community
  Engagement Manager,      Matthew J. Martin              members’ willingness to participate in the
  Illinois Coalition for   mmartin@atg.state.il.us        decennial census process. The witness has
  Immigrant and Refugee    (312) 814-8735                 knowledge of the heightened fears
  Rights                                                  surrounding the 2020 decennial census.




II. Fed R. Civ. P. 26(a)(1)(A)(ii) Disclosures:

        The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Illinois’s possession, custody, or control that may be used by Plaintiff State of

Illinois to support its claims are described as follows. Plaintiff State of Illinois expressly reserves

its right to supplement this disclosure:

 Document Description                                         Document Location
 U.S. Unauthorized Immigration Population Estimates, PEW      This document is at a central repository
 RESEARCH CTR. (Nov. 3, 2016)                                 administered by the New York Attorney
                                                              General’s Office.

 Census 2020: Hard-to-Count Communities in Illinois,          This document is at a central repository
 CUNY MAPPING SERVICE                                         administered by the New York Attorney
                                                              General’s Office.

 Quick Facts: Illinois 2018, U.S. CENSUS BUREAU               This document is at a central repository
                                                              administered by the New York Attorney
                                                              General’s Office.



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 Grants to Local Educational Agencies, U.S. DEP’T OF        This document is at a central repository
 EDUC. (July 3, 2018)                                       administered by the New York Attorney
                                                            General’s Office.

 GW INSTITUTE OF PUBLIC POLICY, COUNTING FOR                This document is at a central repository
 DOLLARS 2020: THE ROLE OF THE DECENNIAL CENSUS IN          administered by the New York Attorney
 THE GEOGRAPHIC DISTRIBUTION OF FEDERAL FUNDS               General’s Office.
 (2018)

 GW INSTITUTE OF PUBLIC POLICY: COUNTING FOR                This document is at a central repository
 DOLLARS 2020 #16: CHILD CARE AND DEVELOPMENT               administered by the New York Attorney
 FUND—ENTITLEMENT (2017)                                    General’s Office.

 Immigrants in Illinois, AM. IMMIGRATION COUNCIL (Oct. 4,   This document is at a central repository
 2017)                                                      administered by the New York Attorney
                                                            General’s Office.

 Notice: Revised Apportionment of Federal-Aid Highway       This document is at a central repository
 Program Funds for Fiscal Year (FY) 2017, FED. HIGHWAY      administered by the New York Attorney
 ADMIN. (Dec. 21, 2016)                                     General’s Office.

 Table 3: FY 2017 Section 5307 and 5340 Urbanized Area      This document is at a central repository
 Formula Appropriations (Full Year), FED. TRANSIT ADMIN.    administered by the New York Attorney
                                                            General’s Office.

 20 Ill. Comp. Stat. 5100/15                                This document is at a central repository
                                                            administered by the New York Attorney
                                                            General’s Office.




III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.




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DATED this 16th day of July, 2018.




                                     LISA MADIGAN
                                     Attorney General of the State of Illinois

                                      /s/ Matthew J. Martin
                                     Matthew J. Martin
                                     Public Interest Counsel
                                     Office of the Illinois Attorney General
                                     100 West Randolph Street, 11th Floor
                                     Chicago, Illinois 60601
                                     (312) 814-8735
                                     mmartin@atg.state.il.us




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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK,et al.,

                        Plaintiffs,

             V.                                      18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE,et al.,

                        Defendants.




        Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the Iowa(the "State of Iowa"),
by its attorney, Nathan Blake, Deputy Attorney General of the State of Iowa, makes the

following Initial Disclosures-


                                         INTRODUCTION


        1.        These Initial Disclosures are based upon information presently known to the State

of Iowa. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.


       2.         Plaintiff State of Iowa reserves the right at any time to revise and/or supplement

these Initial Disclosures.


       3.         Plaintiff State of Iowa hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff State of Iowa makes no
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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of Iowa's identification of individuals pursuant to Rule

26(a)(l)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Iowa incorporates all individuals identified by all other

parties in Plaintiffs Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Iowa's identification or production of documents pursuant to

Rule 26(a)(l)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State ofIowa reserves the right to use all documents produced by any party or non-party

to this action. With these Initial Disclosures, Plaintiff State of Iowa is not identifying documents

protected from disclosure by the attorney-client, work product or other applicable privileges. Nor

does Plaintiff State of Iowa waive the right to object to Defendants' discovery requests on any

basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                INITIAL DISCLOSURES


I. Fed R,Civ. P. 26(a)(l)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State

of Iowa may use to support Plaintiffs claims as detailed in the First Amended Complaint.

Plaintiff State ofIowa expressly reserves the right to supplement this disclosure:

  Name                      Contact Information         Subiects ofDiscoverable Information

 Joel Lunde                 Nathan Blake                The witness has knowledge of the impact of
 Iowa Department of         Office ofthe Iowa           decennial census population counts on state
 Management                 Attomey General             funding and budgets.
                            1305 E. Walnut St.
                            Des Moines,lA 50314
                            515-281-4325
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                           nathan.blake@ag.iowa.gov

 Gary Krob                 Nathan Blake                 Witness has information regarding the
 State Data Center         Office ofthe Iowa            presence of hard-to-count populations in
                           Attorney General             Iowa, and areas particularly vulnerable to
                           1305 E. Walnut St.           undercounting. Witness also has knowledge
                           Des Moines,lA 50314          concerning outreach efforts in Iowa.
                           515-281-4325
                           nathan.bIake@ag.iowa.gov

 Ed Cook                   Nathan Blake                 Witness has information regarding the impact
 Legislative Services      Office ofthe Iowa            ofthe decennial census population count on
 Agency                    Attomey General              the state redistricting process.
                           1305 E. Walnut St.
                           Des Moines,lA 50314
                           515-281-4325
                           nathan.blake@ag.iowa.gov




II. Fed R. Civ. P. 26(a)(l)(A)(H) disclosures:

       The documents and electronically stored information (collectively, "Documents") in

Plaintiff State of Iowa's possession, custody, or control that may be used by Plaintiff State of

Iowa to support its claims are described as follows. Plaintiff State ofIowa expressly reserves its

right to supplement this disclosure:

Document Descriution                                        Document Location ;

Plaintiff State ofIowa plans to utilize the documents       These documents are at a central
declared by other Plaintiffs in this litigation.            repository administered by the New
                                                            York Attomey General's Office.



III. Fed R. Civ. P. 26(a)(l)(A)(iii) disclosures - Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(l)(A)(iv) disclosures -Insurance Statements:

       Not applicable.

V. Fed. R. Civ.P. 26(a)(2)(A)- Expert Testimony:
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       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.




DATED this^h day of July, 2018.



                                            THOMAS J. MILLER
                                            Attoriey Gei^ral of the Stat


                                            Nathan Blake
                                            Deputy Attorney General
                                            Office ofthe Attorney General ofIowa
                                            1305 E. Walnut St.
                                            DesMoines,lA 50314
                                            515-281-4325
                                            nathan.blake@ag.iowa.gov
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff State of Maryland, by its attorney, John

Grimm, Assistant Attorney General makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of Maryland. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff State of Maryland reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff State of Maryland hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff State of Maryland makes




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no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of Maryland’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Maryland incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Maryland’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State of Maryland reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of Maryland is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff State of Maryland waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

State of Maryland may use to support Plaintiff’s claims as detailed in the First Amended

Complaint. Plaintiff State of State of Maryland expressly reserves the right to supplement this

disclosure:




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   Name                      Contact Information          Subjects of Discoverable Information

  Marc Nicole                John R. Grimm                This individual has knowledge of the state
  Deputy Secretary,          Assistant Attorney General   budget including how a decrease in
  Maryland Department of     Maryland Office of the       federal aid could affect the State of
  Budget and Management      Attorney General             Maryland.
                             200 St. Paul Place
  Staff at the Maryland      Baltimore, MD 21202          The Maryland Department of Planning
  Department of Planning     410-576-6339                 provides guidance, analysis, outreach, and
                             410-576-6955 (fax)           support to ensure the state’s public assets
                             jgrimm@oag.state.md.us       are preserved and protected, and to
                                                          achieve the state’s goals for economic,
                                                          community, and environmental vitality.
                                                          Individuals within the Department of
                                                          Planning may have knowledge of
                                                          Maryland’s redistricting process, and
                                                          outreach efforts Maryland will undertake
                                                          with respect to the 2020 decennial census.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Maryland’s possession, custody, or control that may be used by Plaintiff State of

Maryland to support its claims are described as follows. Plaintiff State of Maryland expressly

reserves its right to supplement this disclosure:

 Document Description          Document Location
 Md. Dep’t of Legislative      This document is at a central repository administered by the New York
 Servs., Federal Funds         Attorney General’s Office and is publicly available at
 History (Jan. 2016)           http://mgaleg.maryland.gov/Pubs/BudgetFiscal/2016-Federal-
                               Funds-History.pdf
 Md. FY2018 to FY2020          This document is at a central repository administered by the New York
 Consolidated                  Attorney General’s Office and is publicly available at
 Transportation Program,       http://www.mdot.maryland.gov/newMDOT/Planning/
 2018 State Report on          CTP/CTP_18_23_Final/CTP_FY2018-2023.pdf
 Transportation
 Md, Proposed Operating        This document is at a central repository administered by the New York
 Budget, FY 2019               Attorney General’s Office and is publicly available at
                               http://www.dbm.maryland.gov/budget/Pages/operbudhome.aspx




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 United States Census           This document is at a central repository administered by the New York
 Bureau, Use of Census          Attorney General’s Office and is publicly available at
 Bureau Data in Federal         https://www2.census.gov/programs-surveys/decennial/2020/program-
 Funds Distribution (Sept.      management/working-papers/Uses-of-Census-Bureau-Data-in-Federal-
 2017)                          Funds-Distribution.pdf

 Maryland Senate Bill 855       This document is at a central repository administered by the New York
                                Attorney General’s Office and is publicly available at
                                http://mgaleg.maryland.gov/webmga/
                                frmMain.aspx?id=sb0855&stab=01&pid=billpage&tab=subject3&ys=
                                2018RS
 GW Institute of Public         This document is at a central repository administered by the New York
 Policy, Counting for Dollars   Attorney General’s Office and is publicly available at
 2020: The Role of the          https://gwipp.gwu.edu/counting-dollars-2020-role-decennial-census-
 Decennial Census in the        geographic-distribution-federal-funds
 Geographic Distribution of
 Federal Funds

 United States Census           This document is at a central repository administered by the New York
 Bureau, 2020 Census            Attorney General’s Office and is publicly available at
 Operational Plan               https://www.census.gov/programs-surveys/decennial-census/2020-
                                census/planning-management/planning-docs/operational-plan.html
 United States Census           This document is at a central repository administered by the New York
 Bureau, Press Release,         Attorney General’s Office and is publicly available at
 Census Bureau Releases the     https://www.census.gov/newsroom/press-releases/2018/roam-app.html
 Response Outreach Area
 Mapper Web Application
 (Feb. 7, 2018)


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.




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V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.

DATED this 23rd day of June, 2018.



                                                   BRIAN E. FROSH
                                                   Attorney General of Maryland

                                                           /s/ John R. Grimm
                                                   JOHN R. GRIMM
                                                   Assistant Attorney General
                                                   200 St. Paul Place, 20th Floor
                                                   Baltimore, Maryland 21202
                                                   410-576-6339 (tel.)
                                                   410-576-6955 (fax)
                                                   jgrimm@oag.state.md.us




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the Commonwealth of Massachusetts, by its

attorney, Maura Healey, Attorney General of the Commonwealth of Massachusetts, makes the

following Initial Disclosures.


                                       INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the

Commonwealth of Massachusetts.         They are made without prejudice to producing during

discovery or at trial information, documents, or data that are (a) subsequently discovered or

determined to be relevant for any purpose, or (b) produced as a result of ongoing investigations,

or (c) subsequently determined to have been omitted from these disclosures.

       2.      Plaintiff the Commonwealth of Massachusetts reserves the right at any time to

revise and/or supplement these Initial Disclosures.

       3.      Plaintiff the Commonwealth of Massachusetts hereby expressly reserves all

objections to the use for any purpose of these Initial Disclosures or any of the information and

documents referenced herein in this case. By referring to documents in the Initial Disclosures,



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Plaintiff the Commonwealth of Massachusetts makes no representations or concessions regarding

the relevancy or appropriateness of any particular documents or types of documents.

        4.      Plaintiff the Commonwealth of Massachusetts’s identification of individuals

pursuant to Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of

individuals not presently identified. Plaintiff the Commonwealth of Massachusetts incorporates all

individuals identified by all other parties in Plaintiff’s Initial Disclosures and reserves the right to

depose, and to rely upon the testimony of, all such individuals in support of its claims.

        5.      Plaintiff the Commonwealth of Massachusetts’s identification or production of

documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession,

custody or control. Plaintiff the Commonwealth of Massachusetts reserves the right to use all

documents produced by any party or non-party to this action. With these Initial Disclosures,

Plaintiff the Commonwealth of Massachusetts is not identifying documents protected from

disclosure by the attorney-client, work product or other applicable privileges. Nor does Plaintiff

the Commonwealth of Massachusetts waive the right to object to Defendants’ discovery requests

on any basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

        The below listed persons are likely to have discoverable information that Plaintiff the

Commonwealth of Massachusetts may use to support Plaintiff’s claims as detailed in the First

Amended Complaint. Plaintiff the Commonwealth of Massachusetts expressly reserves the right

to supplement this disclosure:




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  Name                         Contact Information                Subjects of Discoverable
                                                                  Information

  Michelle K. Tassinari,       Miranda M. Cover                   Witness has knowledge of:
  Director/Legal Counsel,      Ann E. Lynch
  Elections Division,          Assistant Attorneys General        -Complete Count activities within
  Office of the Secretary of   Massachusetts Attorney General’s   Massachusetts
  the Commonwealth of          Office,
  Massachusetts                One Ashburton Place, 18th Floor    -State-level grant making to
                               Boston, MA 02108                   community groups to fund
                               Tel. (617) 727-2200                outreach to hard-to-count
                               Fax (617) 727-5762                 populations and expand census
                               mercy.cover@state.ma.us            participation
                               ann.lynch@state.ma.us
  Massachusetts Immigrant      Miranda M. Cover                   Witness organization has
  and Refugee Advocacy         Ann E. Lynch                       knowledge of:
  Coalition (MIRA)             Assistant Attorneys General
                               Massachusetts Attorney General’s   -The impact of the citizenship
                               Office,                            question on community members’
                               One Ashburton Place, 18th Floor    willingness to participate in the
                               Boston, MA 02108                   decennial census process
                               Tel. (617) 727-2200
                               Fax (617) 727-5762                 -The heightened fears surrounding
                               mercy.cover@state.ma.us            the 2020 decennial census
                               ann.lynch@state.ma.us              -Outreach efforts conducted to
                                                                  encourage participation in the
                                                                  census and complete count
                                                                  activities

  Phillip Granberry, PhD       Miranda M. Cover                   Witness has knowledge of:
                               Ann E. Lynch
                               Assistant Attorneys General        -The presence of hard-to-count
                               Massachusetts Attorney General’s   populations in Massachusetts
                               Office,
                               One Ashburton Place, 18th Floor    -Areas particularly vulnerable to
                               Boston, MA 02108                   undercounting
                               Tel. (617) 727-2200                -Surveying hard-to-count
                               Fax (617) 727-5762                 populations in Massachusetts
                               mercy.cover@state.ma.us
                               ann.lynch@state.ma.us




II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       Plaintiff the Commonwealth of Massachusetts expressly reserves its right to supplement

this disclosure with documents or electronically stored information.


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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.


IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.


V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 19th day of July, 2018.




                             MAURA HEALEY
                             Attorney General for the Commonwealth of Massachusetts


                              By:    /s Jonathan Miller
                                     Jonathan Miller, Assistant Attorney General
                                     Miranda Cover, Assistant Attorney General
                                     Ann E. Lynch, Assistant Attorney General
                                     Public Protection & Advocacy Bureau
                                     Massachusetts Attorney General’s Office
                                     One Ashburton Place
                                     Boston, MA 02108
                                     Jonathan.Miller@state.ma.us
                                     Mercy.Cover@state.ma.us
                                     Ann.Lynch@state.ma.us
                                     Tel. (617) 727-2200
                                     Fax (617) 727-5762




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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                        18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.



       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Minnesota makes the following

Initial Disclosures.

                                         INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the State

of Minnesota. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff State of Minnesota reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff State of Minnesota hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff State of

Minnesota makes no representations or concessions regarding the relevancy or appropriateness

of any particular documents or types of documents.


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       4.      Plaintiff State of Minnesota’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Minnesota incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon

the testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Minnesota’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State of Minnesota reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff State of Minnesota is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff State of Minnesota waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-

breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State

of Minnesota may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Minnesota expressly reserves the right to supplement this disclosure:




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 Name                      Contact Information   Subjects of Discoverable Information

Susan Brower,              May be contacted      Witness has information regarding the
Minnesota State            through counsel for   presence of hard-to-count populations in
Demographer,               the State of          Minnesota, and areas particularly
Minnesota State            Minnesota.            vulnerable to undercounting. The witness
Demographic Center                               also has knowledge of the impact of
                                                 decennial census population counts on
                                                 state/local funding and budgets, the
                                                 impact of the citizenship question on
                                                 community members’ willingness to
                                                 participate in the decennial census
                                                 process, heightened fears surrounding the
                                                 2020 decennial census, Minnesota’s
                                                 efforts to mitigate the impact of the
                                                 citizenship question on non-response
                                                 rates, outreach efforts conducted by the
                                                 Census Bureau, and the impact of the
                                                 decennial census population count on the
                                                 state redistricting process.

Denise Anderson, Chief     May be contacted      The witness has knowledge of the impact
Financial Officer,         through counsel for   of decennial census population counts on
Minnesota Department       the State of          state/local funding and budgets.
of Education               Minnesota.

Daron Korte, Assistant     May be contacted      The witness has knowledge of the impact
Commissioner,              through counsel for   of decennial census population counts on
Minnesota Department       the State of          state/local funding and budgets.
of Education               Minnesota.

Leigh Schleicher,          May be contacted      The witness has knowledge of the impact
Federal Program            through counsel for   of decennial census population counts on
Division Director,         the State of          state/local funding and budgets.
Minnesota Department       Minnesota.
of Education

Nick Greene, Director of   May be contacted      The witness has knowledge of the impact
Property Tax Research,     through counsel for   of decennial census population counts on
Minnesota Department       the State of          state/local funding and budgets.
of Revenue                 Minnesota.




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       Discovery is ongoing. Other individuals with relevant knowledge may be identified in

documents reference below or produced in discovery.

II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Minnesota’s possession, custody, or control that may be used by Plaintiff State

of Minnesota to support its claims are described as follows.          Plaintiff State of Minnesota

expressly reserves its right to supplement this disclosure:

Document Description                                          Document Location
Documents that support the allegations in the First           These documents are at a central
Amended Complaint.                                            repository administered by the New
                                                              York Attorney General’s Office.
Demographic reports regarding Minnesota, including its        Many of these documents are
hard-to-count populations                                     publicly available. These
                                                              documents are also either at the
                                                              U.S. Census Bureau, at a central
                                                              repository administered by the New
                                                              York Attorney General’s Office, or
                                                              both.
The State of Minnesota’s outreach plans for the 2020          These documents are at a central
census.                                                       repository administered by the New
                                                              York Attorney General’s Office.
Documents regarding the role of the decennial census in       Many of these documents are
the distribution of federal and state funds.                  publicly available. The U.S.
                                                              Census Bureau also has some
                                                              documents. Additional documents
                                                              would be in the possession of
                                                              federal governmental entities that
                                                              implement the affected program, at
                                                              a central repository administered by
                                                              the New York Attorney General’s
                                                              Office, or both.




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 19th day of July, 2018.


                                              OFFICE OF THE ATTORNEY GENERAL
                                              State of Minnesota

                                              s/ Jacob Campion
                                              JACOB CAMPION
                                              Assistant Attorney General
                                              Atty. Reg. No. 0391274

                                              445 Minnesota Street, Suite 1100
                                              St. Paul, Minnesota 55101-2128
                                              (651) 757-1459 (Voice)
                                              (651) 282-5832 (Fax)
                                              jacob.campion@ag.state.mn.us

                                              ATTORNEY FOR STATE OF MINNESOTA




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff County of Monterey, California (“Monterey

County”), by its attorney, William Litt, Deputy County Counsel, of the Office of the Monterey

County Counsel, makes the following Initial Disclosures.


INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to

Monterey County. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff Monterey County reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff Monterey County hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff Monterey
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County makes no representations or concessions regarding the relevancy or appropriateness of

any particular documents or types of documents.

       4.      Plaintiff Monterey County’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff Monterey County incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff Monterey County’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff Monterey County reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff Monterey County is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff Monterey County waive the right to object to Defendants’

discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and all

applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff

Monterey County may use to support Plaintiff’s claims as detailed in the First Amended

Complaint. Plaintiff Monterey County expressly reserves the right to supplement this disclosure:

   Name               Contact Information               Subjects of Discoverable Information

  Dewayne             168 West Alisal Street, 3rd       The witness has knowledge of the impact
  Woods,              Floor, Salinas, CA 93901;         of decennial census population counts on
  Assistant           please contact through            Monterey County funding and budgets.
  County              counsel


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Administrative
Officer, County
of Monterey,
Budget &
Analysis
Division,




Elliott            1000 South Main St., Ste.         The witness has knowledge of the
Robinson,          301, Salinas, CA 93901;           potential impact of depressed decennial
Director,          please contact through            census population counts on Monterey
Monterey           counsel                           County SNAP funding and on individuals
County                                               and families receiving aid under SNAP.
Department of
Social Services

Brent R.           Nossaman, LLP, 1666 K             The witness has knowledge of the sources
Heberlee;          Street, NW, Suite 500,            and amounts of federal funding dependent
federal lobbyist   Washington, DC 20006; 202-        on decennial census population counts
for Monterey       887-1423; fax: 202-466-           received by Monterey County and the
County;            3215;                             impact of decennial census population
                   bheberlee@nossaman.com            counts on Monterey County funding and
                                                     budgets.

Rosemary Y.        168 West Alisal Street, 3rd       The witness is a leader for the County’s
Soto,              Floor, Salinas, CA 93901;         Complete Count Committee as a partner
Management         please contact through            with the U.S. Census Bureau. She will be
Analyst III ,      counsel                           convening a group of Monterey County
CAO/Office of                                        departmental staff and community
Community                                            partners to develop a strategy for a full
Engagement and                                       communications and outreach plan to
Strategic                                            increase participation.
Advocacy

Juan P.            168 West Alisal Street, 3rd       The witness has knowledge of Monterey
Rodriguez,         Floor, Salinas, CA 93901;         County demographic information and the
Monterey           please contact through            potential impact that undercounting the
County Civil       counsel                           population will have on the services
Rights Officer                                       provided to the community, regardless of
                                                     immigration status. The witness is aware
                                                     of the anxiety and fear the potential use of
                                                     this question has on Monterey County


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                                                residents and the negative effects – non-
                                                participation, among others – it will have.

Sabino F.         22 West Gabilan Street,       The witness has knowledge of the impact
Lopez, Center     Salinas, Ca 93901; 831-753-   of the citizenship question on community
For Community     2324 x 12; slopez@cca-        members’ willingness to participate in the
Advocacy,         viva.org                      decennial census process. The witness
Interim                                         has knowledge of the heightened fears
Executive                                       surrounding the 2020 decennial census.
Director                                        The witness has information regarding
                                                community groups’ efforts to mitigate the
                                                impact of the citizenship question on non-
                                                response rates. The witness has
                                                knowledge concerning outreach efforts
                                                conducted by the Census Bureau, and by
                                                community groups.

Cesar Lara,       831-444-5060;                 The witness has knowledge of the impact
Monterey Bay      director@mbclc.org            of the citizenship question on community
Central Labor                                   members’ willingness to participate in the
Council,                                        decennial census process. The witness
Executive                                       has knowledge of the heightened fears
Director                                        surrounding the 2020 decennial census.
                                                The witness has information regarding
                                                community groups’ efforts to mitigate the
                                                impact of the citizenship question on non-
                                                response rates. The witness has
                                                knowledge concerning outreach efforts
                                                conducted by the Census Bureau, and by
                                                community groups.

Andrea Manzo,     606 Williams Road, Salinas, The witness has knowledge of the impact
Building          CA 93905; 831-717-1384;     of the citizenship question on community
Healthy           andreabhc@actioncouncil.org members’ willingness to participate in the
Communities -                                 decennial census process. The witness
East Salinas,                                 has knowledge of the heightened fears
Regional Equity                               surrounding the 2020 decennial census.
Director                                      The witness has information regarding
                                              community groups’ efforts to mitigate the
                                              impact of the citizenship question on non-
                                              response rates. The witness has
                                              knowledge concerning outreach efforts
                                              conducted by the Census Bureau, and by
                                              community groups.

Larry Imwalle,    295 Main Street, Suite 300    The witness has knowledge of the impact
Action Council,                                 of the citizenship question on community

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  Executive           Salinas, CA 93901; 831-783- members’ willingness to participate in the
  Director            1244;                       decennial census process. The witness
                      larry@actioncouncil.org     has knowledge of the heightened fears
                                                  surrounding the 2020 decennial census.
                                                  The witness has information regarding
                                                  community groups’ efforts to mitigate the
                                                  impact of the citizenship question on non-
                                                  response rates. The witness has
                                                  knowledge concerning outreach efforts
                                                  conducted by the Census Bureau, and by
                                                  community groups.

II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff Monterey County’s possession, custody, or control that may be used by Plaintiff

Monterey County to support its claims are described as follows. Plaintiff Monterey County

expressly reserves its right to supplement this disclosure:

 Document Description                                         Document Location
 County of Monterey Schedule of Expenditures of               Monterey County Counsel and
 Federal Awards for the Year Ended June 30, 2016              State of New York Attorney
                                                              General’s Office
 County of Montey Schedule of Expenditures of Federal         Monterey County Counsel and
 Awards for the Year Ended June 30, 2017                      State of New York Attorney
                                                              General’s Office
 Uses of census Bureau Data in Federal Funds                  Monterey County Counsel and
 Distribution: A New Design for the 21st Century;             State of New York Attorney
 version 1.0; issued September 2017 by U.S. Census            General’s Office
 Bureau; prepared by Marisa Hotchkiss, Jessica Phelan.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.



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V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 17th day of July, 2018.


                                                              /s/
                                                  Charles J. McKee
                                                  County Counsel
                                                  William M. Litt
                                                  Deputy County Counsel
                                                  Office of the County Counsel
                                                  County of Monterey
                                                  168 West Alisal St., 3rd Fl.
                                                  Salinas, CA 93901
                                                  McKeeCJ@co.monterey.ca.us
                                                  LittWM@co.monterey.ca.us
                                                  Tel. (831) 755-5045
                                                  Fax (831) 755-5283




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

               v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), the State of North Carolina, by its attorney, Joshua H.

Stein and Ryan Y. Park of the North Carolina Department of Justice, makes the following Initial

Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of North Carolina. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff State of North Carolina reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff State of North Carolina hereby expressly reserves all objections to the use

for any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff State of North



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Carolina makes no representations or concessions regarding the relevancy or appropriateness of

any particular documents or types of documents.

       4.      Plaintiff State of North Carolina’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of North Carolina incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of North Carolina’s identification or production of documents

pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or

control. Plaintiff State of North Carolina reserves the right to use all documents produced by any

party or non-party to this action. With these Initial Disclosures, Plaintiff State of North Carolina

is not identifying documents protected from disclosure by the attorney-client, work product or

other applicable privileges. Nor does Plaintiff State of North Carolina waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth,

and all applicable privileges.

                                  INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

North Carolina may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of North Carolina expressly reserves the right to supplement this disclosure:

   Name                          Contact                Subjects of Discoverable Information
                                 Information
  Michael E. Cline, PhD,         114 W. Edenton St.     The witness has knowledge relating to the
  State Demographer,             Raleigh, NC 27603      impact of the decennial census population
  Demographic and                rpark@ncdoj.gov        count on the federal and state post-
  Economic Analysis                                     decennial census population estimates

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Section,                   (919) 716-6400       process, the presence of hard-to-count
North Carolina Office of                        populations in North Carolina, areas
State Budget and                                particularly vulnerable to undercounting,
Management                                      2020 Census planning, and the impacts of
                                                the decennial census counts on
                                                socioeconomic and demographic
                                                estimates (such as those derived through
                                                the Census Bureau’s American
                                                Community Survey and various Bureau of
                                                Labor Statistics surveys).

Debbie Collins,            114 W. Edenton St.   The witness has knowledge relating to the
Director,                  Raleigh, NC 27603    impact of the decennial census population
Public Transportation      rpark@ncdoj.gov      counts on state transit funding and
Division,                  (919) 716-6400       budgets.
North Carolina
Department of
Transportation

Kevin Rich,                114 W. Edenton St.   The witness has knowledge relating to the
Budget Development         Raleigh, NC 27603    impact of the decennial census population
Analyst—Health and         rpark@ncdoj.gov      counts on state health, housing, and
Human Services,            (919) 716-6400       human services funding and budgets.
North Carolina Office of
State Budget and
Management

Jennifer Neisner,          114 W. Edenton St.   The witness has knowledge relating to the
Budget Development         Raleigh, NC 27603    impact of the decennial census population
Analyst—Education,         rpark@ncdoj.gov      counts on state K-12 education funding
North Carolina Office of   (919) 716-6400       and budgets.
State Budget and
Management




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of North Carolina’s possession, custody, or control that may be used by Plaintiff

State of North Carolina to support its claims are described as follows. Plaintiff State of North

Carolina expressly reserves its right to supplement this disclosure:

 Document Description                                        Document Location
 Analysis of hard-to-count populations, demographic          These documents will be at a
 reports relating to hard-to-count populations, budget       central repository administered by
 requests related to Census promotional material,            the New York Attorney General’s
 preparation of plans to mitigate non-response and           Office.
 subsequent undercounting, and budget analyses of the
 impact of undercount.




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 18th day of July, 2018.




                                            JOSHUA H. STEIN
                                            Attorney General of the State of North Carolina

                                            /s Ryan Y. Park
                                            Ryan Y. Park
                                            Deputy Solicitor General
                                            North Carolina Department of Justice
                                            114 W. Edenton Street
                                            Raleigh, NC 27603
                                            RPark@ncdoj.gov
                                            Tel. (919) 716-6400




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of New York (the

“State of New York”), by its attorney, Barbara Underwood, Attorney General of the State of New

York, makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of New York. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, (b) produced as a result of ongoing investigations, or (c) subsequently determined

to have been omitted from these disclosures.

       2.      Plaintiff State of New York reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff State of New York hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff State of New York makes



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no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of New York’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of New York incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of New York’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody, or control.

Plaintiff State of New York reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of New York is not identifying

documents protected from disclosure by the attorney-client, work product, or other applicable

privileges. Nor does Plaintiff State of New York waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) Disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

New York may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of New York expressly reserves the right to supplement this disclosure:




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 Name                    Contact Information          Subjects of Discoverable Information

John C. Traylor,         New York State Office of     The witness has knowledge of the impact of
Executive Deputy         the Attorney General         decennial census population counts on
Comptroller, Office of   Ajay Saini                   federal funding to the State of New York,
Operations, New York     ajay.saini@ag.ny.gov         and knowledge of resources expended by
State Office of the      (212) 416-8714               the State of New York to mitigate potential
Comptroller                                           undercounting during the decennial census.

Elizabeth OuYang,        New York State Office of     The witness has knowledge of the impact of
Coordinator,             the Attorney General         the citizenship question on community
NYCounts2020             Ajay Saini                   members’ willingness to participate in the
                         ajay.saini@ag.ny.gov         decennial census process, knowledge of the
                         (212) 416-8714               heightened fears surrounding the 2020
                                                      decennial census, and knowledge of efforts
                                                      to mitigate potential undercounting during
                                                      the decennial census.

Individuals with whom    Contact information is       These witnesses have knowledge of the
Secretary Ross           within the custody and       accuracy of representations made in the
“personally had          control of Defendants        decision memo about their conversations
specific conversations                                with Secretary Ross, and their positions on
on the citizenship                                    the citizenship question, including its
question,” as                                         potential impact on response rates, and the
referenced in the                                     importance of testing a citizenship question
March 26, 2018                                        before adding it to the census questionnaire
decision memo
(AR001314)

Members of the Census    Contact information is       These witnesses have knowledge of the
Scientific Advisory      within the custody and       typical processes for researching, designing,
Committee and the        control of Defendants        testing and vetting questions before adding
National Advisory                                     them to census surveys, knowledge of the
Committee                                             recommendations made to the Census
                                                      Bureau about concerns related to immigrant
                                                      anxiety and its potential impact on non-
                                                      response, and knowledge of the concerns
                                                      expressed about adding a citizenship
                                                      question to the 2020 Census questionnaire.




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  Employees of the         Contact information is          These witnesses have knowledge of
  Department of            within the custody and          Defendants’ decision making process,
  Commerce, including      control of Defendants           history of the citizenship question, policies
  the Census Bureau, and                                   and procedures, testing protocols, and
  Department of Justice                                    testing conducted relating to the decennial
                                                           census and American Community Survey.

                                                           These witnesses have information relating
                                                           to the purported need for citizenship
                                                           information, including alternative sources of
                                                           data, and policies and practices relating to
                                                           the enforcement of Section 2 of the Voting
                                                           Rights Act.

                                                           These witnesses have knowledge of the
                                                           impact of the citizenship question on census
                                                           participation, barriers to response rates, and
                                                           Defendants’ follow-up efforts.



II. Fed R. Civ. P. 26(a)(1)(A)(ii) Disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of New York’s possession, custody, or control that may be used by Plaintiff State

of New York to support its claims are described as follows. Plaintiff State of New York expressly

reserves its right to supplement this disclosure:

 Document Description                                          Document Location
 A Portrait of Immigrants in New York, Office of the New       This document is at a central repository
 York State Comptroller (Nov. 2016)                            administered by the New York Attorney
                                                               General’s Office.

 U.S. Unauthorized Immigration Population Estimates, Pew       This document is at a central repository
 Research Ctr. (Nov. 3, 2016)                                  administered by the New York Attorney
                                                               General’s Office.

 Census 2020: Hard-to-Count Communities in New York,           This document is at a central repository
 CUNY Mapping Service                                          administered by the New York Attorney
                                                               General’s Office.

 Quick Facts: New York 2018, U.S. Census Bureau                This document is at a central repository
                                                               administered by the New York Attorney
                                                               General’s Office.




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Grants to Local Educational Agencies, U.S. Dep’t of Educ.       This document is at a central repository
(July 3, 2018)                                                  administered by the New York Attorney
                                                                General’s Office.

Counting for Dollars 2020: The Role of the Decennial            This document is at a central repository
Census in the Geographic Distribution of Federal Funds,         administered by the New York Attorney
GW Institute of Public Policy (2018)                            General’s Office.

FTA Allocations for Formula and Discretionary Programs          This document is at a central repository
by State FY 1998-2018, Federal Transit Administration           administered by the New York Attorney
                                                                General’s Office.

GW Institute of Public Policy: Counting for Dollars 2020 –      This document is at a central repository
New York, GW Institute of Public Policy (2017)                  administered by the New York Attorney
                                                                General’s Office.

Immigrants in New York, Am. Immigration Council (Oct. 4,        This document is at a central repository
2017)                                                           administered by the New York Attorney
                                                                General’s Office.

Notice: Revised Apportionment of Federal-Aid Highway            This document is at a central repository
Program Funds for Fiscal Year (FY) 2017, Fed. Highway           administered by the New York Attorney
Admin. (Dec. 21, 2016)                                          General’s Office.

Table 3: FY 2017 Section 5307 and 5340 Urbanized Area           This document is at a central repository
Formula Appropriations (Full Year), Fed. Transit Admin.         administered by the New York Attorney
                                                                General’s Office.

Publically available operational planning documents for the     These documents are available at a
2020 Census from the U.S. Census Bureau, including all          central repository administered by the
versions of the 2020 Census Operation Plans, all 2020           New York Attorney General’s Office.
Census Program Briefings and 2020 Census Program
Management Reviews, and all 2020 Census Monthly Status
Reports, U.S. Census Bureau

Publically available documents from the U.S. Census             These documents are available at a
Bureau regarding its historic practices, including Procedural   central repository administered by the
Histories of the 1980 Census, 1990 Census, the History of       New York Attorney General’s Office.
the 2000 Census, documents relating to the history of the
2010 Census, the Index of Questions from previous
decennial censuses, and previous decennial census
questionnaires

Publically available documents of memoranda and                 These documents are available at a
recommendations made by the Census Scientific Advisory          central repository administered by the
Committee and the National Advisory Committee, and              New York Attorney General’s Office.
responses and updates from the U.S. Census Bureau to
Advisory Committees, as well as charters of those
committees



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Publically available documents from the Census Bureau           These documents are available at a
regarding the Bureau’s typical process for making changes       central repository administered by the
to decennial census questions, including documents              New York Attorney General’s Office.
containing standards for research, testing, and evaluation of
proposed changes to questions on the 2020 Census, and
documents containing information about proposed changes
to the Race and Ethnicity question, and proposals to add a
Middle Eastern and North African category to the Race and
Ethnicity question

Publically available documents from the Census Bureau           These documents are available at a
regarding previous and proposed efforts to mitigate non-        central repository administered by the
response during the decennial census, and to follow-up on       New York Attorney General’s Office.
non-response, including documents summarizing outreach
efforts, planning and assessing non-response follow-up
operations, and researching, designing and describing
imputation methods

Publically available documents from the Census Bureau           These documents are available at a
regarding testing for the 2020 Census, including documents      central repository administered by the
planning, designing, and describing the implementation of       New York Attorney General’s Office
tests from 2012 to the present

Publically available documents from the Census Bureau           These documents are available at a
regarding rates of non-response to questions and surveys,       central repository administered by the
including the rates of non-response on the annual American      New York Attorney General’s Office
Community Survey

Respondent Confidentiality Concerns and Possible Effects        This document is at a central repository
on Response Rates and Data Quality for the 2020 Census,         administered by the New York Attorney
National Advisory Committee on Racial, Ethnic and Other         General’s Office.
Populations (Nov. 2, 2017)

Respondent Confidentiality Concerns in Multilingual             This document is at a central repository
Pretesting Studies and Possible Effects on Response Rates       administered by the New York Attorney
and Data Quality for the 2020 Census, U.S. Census Bureau        General’s Office.
(May 16-19, 2018)

Respondent Confidentiality Concerns, Memorandum for             This document is at a central repository
Associate Directorate for Research and Methodology              administered by the New York Attorney
(ADRM) from Center for Survey Management, U.S. Census           General’s Office.
Bureau (Sept. 20, 2017)

Uses of Census Bureau Data in Federal Funds Distribution,       These documents are available at a
U.S. Census Bureau, (Sept. 2017)                                central repository administered by the
                                                                New York Attorney General’s Office

Documents relating to statistical policy issued by federal      These documents are publicly available.
agencies, including the Office of Management and Budget


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 and the Census Bureau, including but not limited to
 Statistical Policy Directives No. 1 and 2.

 Documents included in the Administrative Record produced
 by Defendants

 All documents identified by Defendants in their initial
 disclosures


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 23rd day of July, 2018.




                                                 Barbara Underwood
                                                 Attorney General of the State of New York

                                                  /s/ Elena Goldstein
                                                 Elena Goldstein
                                                 Senior Trial Counsel
                                                 New York State Office of the Attorney General
                                                 28 Liberty Street, 20th Fl.
                                                 New York, NY 10005




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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

   STATE OF NEW YORK, et al.,

                            Plaintiffs,

               v.                                           18-CV-2921 (JMF)

   UNITED STATES DEPARTMENT OF
   COMMERCE, et al.,

                            Defendants.


        Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of New Jersey, by its attorney,

Rachel Wainer Apter, of the Office of the Attorney General, makes the following Initial Disclosures.

                                            INTRODUCTION

        1.      These Initial Disclosures are based upon information presently known to the State of New

Jersey. They are made without prejudice to producing during discovery or at trial information, documents,

or data that are (a) subsequently discovered or determined to be relevant for any purpose, or (b) produced

as a result of ongoing investigations, or (c) subsequently determined to have been omitted from these

disclosures.

        2.      Plaintiff New Jersey reserves the right at any time to revise and/or supplement these Initial

Disclosures.

        3.      Plaintiff New Jersey hereby expressly reserves all objections to the use for any purpose of

these Initial Disclosures or any of the information and documents referenced herein in this case. By referring

to documents in the Initial Disclosures, Plaintiff New Jersey makes no representations or concessions

regarding the relevancy or appropriateness of any particular documents or types of documents.



        4.      Plaintiff New Jersey’s identification of individuals pursuant to Rule 26(a)(1)(A)(i) is not

intended to preclude Plaintiff from obtaining discovery of individuals not presently identified. Plaintiff New




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Jersey incorporates all individuals identified by all other parties in Plaintiff’s Initial Disclosures and

reserves the right to depose, and to rely upon the testimony of, all such individuals in support of its claims.

          5.      Plaintiff New Jersey’s identification or production of documents pursuant to Rule

26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control. Plaintiff New Jersey

reserves the right to use all documents produced by any party or non-party to this action. With these Initial

Disclosures, Plaintiff New Jersey is not identifying documents protected from disclosure by the attorney-

client, work product or other applicable privileges. Nor does Plaintiff New Jersey waive the right to object

to Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and

all applicable privileges.

                                   INITIAL DISCLOSURES

I.    Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

          The below listed persons are likely to have discoverable information that Plaintiff State of New

Jersey may use to support Plaintiff’s claims as detailed in the First Amended Complaint. Plaintiff State of

New Jersey expressly reserves the right to supplement this disclosure:


      Name                          Contact Information            Subjects of Discoverable Information
     Leonard Preston                Rachel Wainer Apter            The witness has knowledge of New
     Bureau Chief, Labor Market     Assistant Attorney General     Jersey’s efforts to encourage
     Information                    Richard J. Hughes Justice      participation in the decennial census in
     NJ State Data Center           Complex                        the past.
     Division of Economic and       25 Market Street, 8th Floor
     Demographic Research           Trenton, New Jersey 08625
     Office of Research and         Desk: (609) 376-2702
     Information                    Rachel.Apter@njoag.gov
     Department of Labor and
     Workforce Development
     Lauren M. Zyriek               Rachel Wainer Apter            The witness has knowledge of how N.J.
     Director of                    Assistant Attorney General     Assembly No. 4208, an Act
     Intergovernmental Affairs      Richard J. Hughes Justice      establishing the New Jersey Complete
     Office of the Secretary of     Complex                        Count Commission, which was passed
     State                          25 Market Street, 8th Floor    by the legislature on June 30, 2018,
     Department of State            Trenton, New Jersey 08625      will be implemented if signed by the
                                    Desk: (609) 376-2702           Governor. She also has knowledge of
                                    Rachel.Apter@njoag.gov         New Jersey’s efforts to encourage
                                                                   participation in the 2020 census.



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  Lynn Azarchi                     Rachel Wainer Apter            The witness has knowledge of the
  Deputy Director, Office of       Assistant Attorney General     impact of decennial census population
  Management and Budget            Richard J. Hughes Justice      counts on state/local funding and
                                   Complex                        budgets.
  Or                               25 Market Street, 8th Floor
                                   Trenton, New Jersey 08625
  Dave Ridolfino                   Desk: (609) 376-2702
  Department of the Treasury       Rachel.Apter@njoag.gov
  Acting Director, Office of
  Management and Budget
  Scott Novakowski                 Rachel Wainer Apter            The witness has knowledge of outreach
  Associate Counsel and            Assistant Attorney General     efforts that are being undertaken by
  Debevoise Legal Fellow           Richard J. Hughes Justice      non-profit organizations in New Jersey
  New Jersey Institute for         Complex                        to ensure an accurate count.
  Social Justice                   25 Market Street, 8th Floor
                                   Trenton, New Jersey 08625
                                   Desk: (609) 376-2702
                                   Rachel.Apter@njoag.gov
  Sara Cullinane                   Rachel Wainer Apter            The witness has knowledge of the
  Executive Director               Assistant Attorney General     impact of the citizenship question on
  Make the Road New Jersey         Richard J. Hughes Justice      community members’ willingness to
                                   Complex                        participate in the 2020 census and
                                   25 Market Street, 8th Floor    heightened fears surrounding the 2020
                                   Trenton, New Jersey 08625      census. She also has knowledge of
                                   Desk: (609) 376-2702           outreach efforts that are being
                                   Rachel.Apter@njoag.gov         undertaken by non-profit organizations
                                                                  in New Jersey to ensure an accurate
                                                                  count.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

        The documents and electronically stored information (collectively, “Documents”) in Plaintiff New

Jersey’s possession, custody, or control that may be used by Plaintiff New Jersey to support its claims are

described as follows. Plaintiff New Jersey expressly reserves its right to supplement this disclosure:

 Document Description                                             Document Location
 State of New Jersey, Assembly No. 4208, 218th Legislature,       This document is at a central
 an Act establishing the New Jersey Complete Count                repository administered by the New
 Commission                                                       York Attorney General’s Office




                                                     3
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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

        Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

        Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

        Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the schedule

directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil Procedure.



DATED this 20th day of July, 2018.



                                                  GURBIR S. GREWAL
                                                  Attorney General of the State of New Jersey

                                                                        /s/
                                                  Rachel Wainer Apter
                                                  Assistant Attorney General
                                                  Office of the Attorney General
                                                  Richard J. Hughes Justice Complex
                                                  25 Market Street, 8th Floor, West Wing
                                                  Trenton, New Jersey 08625-0080
                                                  Desk: (609) 376-2702 | Cell: (609) 331-6401
                                                  Rachel.Apter@njoag.gov




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the City of New York by its

attorney, Zachary W. Carter, Corporation Counsel of the City of New York, makes the following

Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to City of

New York. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.

       2.      Plaintiff City of New York reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff City of New York hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff City of New York makes
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no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff City of New York’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of New York incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of New York’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of New York reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of New York is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of New York waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

New York may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of New York expressly reserves the right to supplement this disclosure:

   Name                       Contact Information       Subjects of Discoverable Information

  Joseph Salvo, Director of   Ajay Saini                Witness has information regarding the
  Population Division, NYC    Assistant Attorney        presence of hard-to-count populations in
  Department of City          General                   NYC, and areas particularly vulnerable to
  Planning                    Civil Rights Bureau       undercounting. Witness has knowledge


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                              New York State          concerning the outreach efforts conducted by
                              Office of the Attorney the Census Bureau.
                              General
                              28 Liberty Street, 20th
                              Floor
                              New York, NY 10271
                              (212) 416-8714


  Peter Lobo, Deputy          Ajay Saini                Witness has information regarding the
  Director of Population      Assistant Attorney        presence of hard-to-count populations in
  Division, NYC               General                   NYC, and areas particularly vulnerable to
  Department of City          Civil Rights Bureau       undercounting.
  Planning
                              New York State
                              Office of the Attorney
                              General
                              28 Liberty Street, 20th
                              Floor
                              New York, NY 10271
                              (212) 416-8714



II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of New York’s possession, custody, or control that may be used by Plaintiff City of

New York to support its claims are described as follows. Plaintiff City of New York expressly

reserves its right to supplement this disclosure:

 Document Description                                          Document Location
 The City of New York’s 2000 Census Appeal              This document is at a central
 Documentation                                          repository administered by the New
 Submitted to the Census Address List Appeals Office by York Attorney General’s Office.
 the New York City Department of City Planning,
 February 8, 2000.


 2010 Census Local Review of Census Addresses                  This document is at a central
 (LUCA) Documentation                                          repository administered by the New
 Submitted by the City of New York on December 17,             York Attorney General’s Office.
 2009.



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 https://www.census.gov/programs-surveys/decennial-        This document is at a central
 census/2020-census/planning-management/planning-          repository administered by the New
 docs/operational-plan.html                                York Attorney General’s Office.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 20th day of July, 2018.




                                            ZACHARY W. CARTER
                                            Corporation Counsel of the City of New York
                                            100 Church Street
                                            New York, NY 10007
                                            Tel: (212) 356-4055



                                            By: ______/s/____________________
                                                Tonya Jenerette
                                                Assistant Corporation Counsel
                                                New York City Law Department
                                                100 Church Street
                                                New York, NY 10007
                                                (212) 356-4055
                                                tjeneret@law.nyc.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,
                                                     INITIAL DISCLOSURES (Plaintiff State
                       Plaintiffs,                   of Oregon)

            v.
                                                     18-CV-2921 (JMF)
UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.


       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Oregon (the “State of Oregon”)

makes the following Initial Disclosures.


                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the State

of Oregon. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff State of Oregon reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff State of Oregon hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff State of Oregon

makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.


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       4.      Plaintiff State of Oregon’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Oregon incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Oregon’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State of Oregon reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of Oregon is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff State of Oregon waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State

of Oregon may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Oregon expressly reserves the right to supplement this disclosure:

  Name                     Contact Information           Subjects of Discoverable Information

 Irma Linda Castillo,      Oregon Commission on          The witnesses have knowledge of the impact
 Chair                     Hispanic Affairs              of the decennial census and citizenship
                           c/o Scott Kaplan              questioning on the Hispanic population and
 Dr. Daniel Lopez-         Oregon Department of          the related impact on public services available
 Ceballos, Vice Chair      Justice                       to the Hispanic population. The witnesses
                           100 Market St.                have knowledge of the risk and impact of
 Dr. Joseph Gallegos,      Portland, OR 97201            undercount of the Hispanic population should
 Commission Member         (971) 673-5037                a citizenship question be included in the
 Alberto Moreno, Past                                    decennial census. The witnesses have

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Chair                                               knowledge that Oregon’s Hispanic population
                                                    is a hard-to-count population for the census.
                                                    The witnesses have knowledge of the impact
                                                    of the citizenship question on community
                                                    members’ willingness to participate in the
                                                    decennial census process.

Chanpone Sinlapasai-   Oregon Commission on         The witness has knowledge of the impact of
Okamura, J.D., Chair   Asian and Pacific Islander   the decennial census and citizenship
                       Affairs                      questioning on the Asian and Pacific Islander
                       c/o Scott Kaplan             population and the related impact on public
                       Oregon Department of         services available to these populations. The
                       Justice                      witnesses have knowledge that Oregon’s
                       100 Market St.               Asian and Pacific Islander population is a
                       Portland, OR 97201           hard-to-count population for the census. The
                       (971) 673-5037               witness has knowledge of the risk and impact
                                                    of undercount of the Asian and Pacific
                                                    Islander population should a citizenship
                                                    question be included in the decennial census.
                                                    The witness has knowledge of the impact of
                                                    the citizenship question on community
                                                    members’ willingness to participate in the
                                                    decennial census process.

Emily Nazarov,         Oregon Department of         The witness has knowledge of the impact of
Government and Legal   Education                    decennial census population counts on school
Affairs Manager        c/o Scott Kaplan             funding and budgets, including the existence
                       Oregon Department of         of unauthorized immigrants (including U.S.
                       Justice                      citizen children) in Oregon’s K-12 school
                       100 Market St.               population, ODE’s policies and practices
                       Portland, OR 97201           towards the same and the census impact on
                       (971) 673-5037               ODE programs including meal programs.

Belit Burke, Self-     Oregon Department of         The witness has knowledge of the presence of
Sufficiency Design     Human Services               populations in Hispanic, Alaska Native and
Administrator          c/o Scott Kaplan             Native American communities, and other
                       Oregon Department of         areas and communities particularly vulnerable
                       Justice                      to undercounting. The witness has
                       100Market St.                information regarding Oregon’s reliance on
                       Portland, OR 97201           the decennial census statistics for important
                       (971) 673-5037               supplemental nutrition (SNAP) and food
                                                    stamps programs, which currently serves
                                                    about 20% of Oregon’s residents, and the
                                                    Child Care and Development Fund.

John T. Baker,         Oregon Department of         The witness has information regarding the
Transportation         Transportation               impact of an undercount on funding for
Economist              c/o Scott Kaplan             highway construction and maintenance within
                       Oregon Department of         the State through the Highway Trust Fund and
                       Justice                      other federal infrastructure funding programs,
                       100 Market St.               including crucial North-South and East-West

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                            Portland, OR 97201           highways such as Interstates 5 and 84.
                            (971) 673-5037
 Person most                Oregon Health Authority      The witness has information regarding
 knowledgeable (to be       c/o Scott Kaplan             Oregon’s reliance on the federal Health
 determined)                Oregon Department of         Center Program for medical care to migrant
                            Justice                      and other underserved communities within the
                            100 Market St.               State, as well as Oregon’s reliance on the
                            Portland, OR 97201           Medical Assistance Program (“Medicaid”).
                            (971) 673-5037               The witness has information regarding
                                                         Oregon’s reliance on the decennial census for
                                                         funding of this program, and the impact an
                                                         undercount of Oregon’s population could
                                                         have on this funding and program.

 Charles Rynerson,          State Data Center,           The witness has knowledge of the impact
 Coordinator                Population Research          of decennial census population counts on
                            Center, Portland State       state and local funding and budgets. The
                            University                   witness has information regarding
                                                         demographic, economic, and social
                                                         statistics produced by the Census Bureau
                                                         relating to the State of Oregon. The
                                                         witness is knowledgeable about Oregon
                                                         state and local outreach efforts and census
                                                         data.
 Officers, employees and    Contact information not      Information regarding the processes by which
 representatives of         currently known              defendants proposed a citizenship question for
 defendants identified by                                the 2020 census, the stated and actual reasons
 defendants and by                                       for adding this question, the persons involved
 plaintiffs herein                                       in this decision, and the likely effects of the
                                                         decision.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Oregon’s possession, custody, or control that may be used by Plaintiff State of

Oregon to support its claims are described as follows. Plaintiff State of Oregon expressly

reserves its right to supplement this disclosure:

Document Description                                         Document Location
Documents relating to current school funding and budgets,    From Oregon Department of
including the number of unauthorized immigrants (including   Education. The document(s) will be
U.S. citizen children) in Oregon’s K-12 school population,   made available at a central document
Special Education funding and the School Breakfast and       repository administered by the New

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National School Lunch Programs.                                York Attorney General’s Office.


Documents relating to the presence of hard-to-count            From Oregon Department of Human
populations in Hispanic, Alaska Native and Native American     Services. The document(s) will be
communities, and other areas particularly vulnerable to        made available at a central document
undercounting, as well as documents relating to Oregon’s use   repository administered by the New
of and funding source(s) for supplemental nutrition (SNAP)     York Attorney General’s Office.
and food stamps programs and the Child Care and
Development Fund.

Documents relating to funding for highway construction and     From Oregon Department of
maintenance within the State through the Highway Trust         Transportation. The document(s) will
Fund and other federal infrastructure funding programs.        be made available at a central
                                                               document repository administered by
                                                               the New York Attorney General’s
                                                               Office.


Documents relating to Oregon’s use of funds from the federal   From Oregon Health Authority. The
Health Center Program for medical care to migrant and other    document(s) will be made available at
underserved communities within the State, and the Medical      a central document repository
Assistance Program (“Medicaid”).                               administered by the New York
                                                               Attorney General’s Office.


Documents relating to the Oregons past practice of             The document(s) will be made
expending resources towards community outreach and             available at a central document
encouraging participation in the Census.                       repository administered by the New
                                                               York Attorney General’s Office.


Documents relating to the impact of decennial census           From Oregon State Treasurer. The
population counts on state and local funding and budgets.      document(s) will be made available at
                                                               a central document repository
                                                               administered by the New York
                                                               Attorney General’s Office.




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff State of Oregon will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal

Rules of Civil Procedure.

DATED this 20th day of July, 2018.




                                            Ellen Rosenblum
                                            Attorney General of the State of Oregon

                                             /s/ Scott J. Kaplan
                                            Scott J. Kaplan. pro hac vice
                                            Senior Assistant Attorney General
                                            Oregon Department of Justice
                                            100 Market St.
                                            Portland, OR 97201
                                            971-673-5037
                                            Scott.j.kaplan@doj.state.or.us




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

               v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the Commonwealth of Pennsylvania, by its

attorney, Michael    J. Fischer, Chief Deputy Attorney General, makes the following Initial

Disclosures.


                                       INTRODUCTION

       1.       These Initial Disclosures are based upon information presently known to the

Commonwealth of Pennsylvania. They are made without prejudice to producing during discovery

or at trial information, documents, or data that are (a) subsequently discovered or determined to be

relevant for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.       Plaintiff Commonwealth of Pennsylvania reserves the right at any time to revise

and/or supplement these Initial Disclosures.

       3.      Plaintiff Commonwealth of Pennsylvania hereby expressly reserves all objections

to the use for any purpose of these Initial Disclosures or any of the information and documents

referenced herein in this case. By referring to documents in the Initial Disclosures, Plaintiff



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Commonwealth of Pennsylvania makes no representations or concessions regarding the relevancy

or appropriateness of any particular documents or types of documents.

       4.      Plaintiff Commonwealth of Pennsylvania’s identification of individuals pursuant

to Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals

not presently identified. Plaintiff Commonwealth of Pennsylvania incorporates all individuals

identified by all other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and

to rely upon the testimony of, all such individuals in support of its claims.

       5.      Plaintiff Commonwealth of Pennsylvania’s identification or production of

documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession,

custody or control.     Plaintiff Commonwealth of Pennsylvania reserves the right to use all

documents produced by any party or non-party to this action. With these Initial Disclosures,

Plaintiff Commonwealth of Pennsylvania is not identifying documents protected from disclosure

by the attorney-client, work product or other applicable privileges. Nor does Plaintiff

Commonwealth of Pennsylvania waive the right to object to Defendants’ discovery requests on

any basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff

Commonwealth of Pennsylvania may use to support Plaintiff’s claims as detailed in the First

Amended Complaint. Plaintiff Commonwealth of Pennsylvania expressly reserves the right to

supplement this disclosure:




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   Name                         Contact Information        Subjects of Discoverable
                                                           Information

  Anne Baloga                   c/o Michael Fischer        The witness has knowledge of the
  Deputy Secretary              Pennsylvania Office of     impact of decennial census
  Pennsylvania Office of the    Attorney General           population counts on state/local
  Budget                        1600 Arch St., Suite 300   funding and budgets as well as
                                Philadelphia, PA 19103     knowledge of Pennsylvania’s
                                                           efforts to ensure an accurate 2020
                                (215) 560-2171             decennial census, including efforts
                                                           to identify hard-to-count
                                                           populations.

  David Brinton                 c/o Michael Fischer        The witness has knowledge of
  Local Government Policy       Pennsylvania Office of     Pennsylvania’s efforts to ensure an
  Manager                       Attorney General           accurate 2020 decennial census,
  Pennsylvania Department       1600 Arch St., Suite 300   including efforts to identify hard-
  of Community & Economic       Philadelphia, PA 19103     to-count populations, as well as
  Development                                              knowledge of outreach efforts
                                (215) 560-2171             conducted by the Census Bureau.

  Richard Vilello               c/o Michael Fischer        The witness has knowledge
  Deputy Secretary for          Pennsylvania Office of     Pennsylvania’s efforts to ensure an
  Community Affairs and         Attorney General           accurate 2020 decennial census,
  Development                   1600 Arch St., Suite 300   including efforts to identify hard-
  Pennsylvania Department       Philadelphia, PA 19103     to-count populations, as well as
  of Community & Economic                                  knowledge of outreach efforts
  Development                   (215) 560-2171             conducted by the Census Bureau.




II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       At this time, Plaintiff Commonwealth of Pennsylvania does not identify any documents

and electronically stored information pursuant to Fed R. Civ. P. 26(a)(1)(A)(ii). Plaintiff

Commonwealth of Pennsylvania expressly reserves its right to supplement this disclosure.

III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

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V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 19th day of July, 2018.




                                            JOSH SHAPIRO
                                            Attorney General
                                            Commonwealth of Pennsylvania

                                             /s/ Michael J. Fischer
                                            Michael J. Fischer
                                            Chief Deputy Attorney General
                                            Office of Attorney General
                                            1600 Arch Street, Suite 300
                                            Philadelphia, PA 19103
                                            (215) 560-2171
                                            mfischer@attorneygeneral.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the City of Philadelphia, by its attorney,

Benjamin H. Field, Deputy City Solicitor of the City of Philadelphia, makes the following Initial

Disclosures.


                                        INTRODUCTION

       1.       These Initial Disclosures are based upon information presently known to the City

of Philadelphia. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.       Plaintiff City of Philadelphia reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.       Plaintiff City of Philadelphia hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff City of Philadelphia



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makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.

       4.      Plaintiff City of Philadelphia’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Philadelphia incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Philadelphia’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Philadelphia reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of Philadelphia is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of Philadelphia waive the right to object to Defendants’

discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and all

applicable privileges.




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                              INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Philadelphia may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Philadelphia expressly reserves the right to supplement this disclosure:

   Name                       Contact Information              Subjects of Discoverable
                                                               Information

  Vaugh Ross                  Benjamin H. Field                The witness has knowledge of the
  Deputy Chief of Staff       Deputy City Solicitor            actions Philadelphia has taken and
  Mayor’s Office              Philadelphia Law                 will need to take to attempt to
  City of Philadelphia        Department                       minimize an undercount resulting
                              (215) 683-5024                   from the addition of a citizenship
                              Benjamin.Field@phila.gov         question and meetings the City has
                                                               had with Census Bureau officials
                                                               on the issue.

  Ashley del Bianco           Benjamin H. Field                The witness has knowledge of the
  Chief Grants Officer        Deputy City Solicitor            grants funds the City receives
  City of Philadelphia        Philadelphia Law                 from the state and federal
                              Department                       government that are dependent on
                              (215) 683-5024                   census population counts and how
                              Benjamin.Field@phila.gov         an undercount would affect the
                                                               amount of funds received by
                                                               Philadelphia.

  Ajeenah S. Amir             Benjamin H. Field                The witness knowledge related to
  Director                    Deputy City Solicitor            her role in coordinating the City’s
  Mayor’s Office of Public    Philadelphia Law                 outreach efforts to avoid an
  Engagement (OPE)            Department                       undercount in the 2020 census if
  City of Philadelphia        (215) 683-5024                   the citizenship question is added.
                              Benjamin.Field@phila.gov




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  Miriam E. Enriquez,          Benjamin H. Field              The witness has knowledge related
  Esq.                         Deputy City Solicitor          to the populations of hard-to-count
  Director                     Philadelphia Law               populations including documented
  Office of Immigrant          Department                     and undocumented immigrants in
  Affairs                      (215) 683-5024                 Philadelphia, and the heightened
  City of Philadelphia         Benjamin.Field@phila.gov       climate of fear among those
                                                              populations resulting from the
                                                              current administration’s
                                                              immigration actions, including the
                                                              proposal to add a citizenship
                                                              question to the census/




II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of Philadelphia’s possession, custody, or control that may be used by Plaintiff City

of Philadelphia to support its claims are described as follows. Plaintiff City of Philadelphia

expressly reserves its right to supplement this disclosure:

 Document Description                                  Document Location
 Annual grant award documents                          These documents will be provided to the
                                                       NYAG’s and kept at a central repository
                                                       administered by that office.
 Philadelphia Research Initiative, Pew Charitable      http://www.pewtrusts.org/en/research-
 Trusts, Philadelphia’s Immigrants (June 7, 2018).     and-
                                                       analysis/reports/2018/06/07/philadelphias-
                                                       immigrants




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 19th day of July, 2018.




                                            MARCEL S. PRATT
                                            CITY SOLICITOR for the CITY OF
                                            PHILADELPHIA

                                             /s/ Benjamin H. Field
                                            Benjamin H. Field
                                            Deputy City Solicitor
                                            City of Philadelphia Law Department
                                            1515 Arch Street, 15th Floor
                                            Philadelphia, PA 19102
                                            (215) 683-5024
                                            Benjamin.Field@phila.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.


       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff City of Pittsburgh makes the following Initial

Disclosures.
                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the City

of Pittsburgh. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff City of Pittsburgh reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff City of Pittsburgh hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff City of Pittsburgh makes

no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.




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       4.      Plaintiff City of Pittsburgh’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Pittsburgh incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Pittsburgh’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Pittsburgh reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of Pittsburgh is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of Pittsburgh waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Pittsburgh may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Pittsburgh expressly reserves the right to supplement this disclosure:

   Name                           Contact Information       Subjects of Discoverable Information

  Mike Petrucci                   c/o City of Pittsburgh    The witness has knowledge of the
  Assistant Director,             Law Dept., 414 Grant      impact of decennial census population
  Community Development           Street, Pittsburgh, PA    counts on City of Pittsburgh
  Office of Management and        15219                     funding/budgets, including the City’s
  Budget                                                    reliance on funding from Community
                                                            Development Block Grant programs.
  Feyisola Alabi                  c/o City of Pittsburgh    The witness is the City of Pittsburgh’s
  Special Initiatives Manager,    Law Dept., 414 Grant      representative on the Complete Count

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  Welcoming Pittsburgh            Street, Pittsburgh, PA   Commission being formed by the City
  (Manager)                       15219                    of Pittsburgh and Allegheny County,
  Office of the Mayor                                      and has knowledge of the presence of
                                                           hard-to-count populations in the City,
                                                           the City’s efforts to reach them, and
                                                           the City’s efforts to mitigate the
                                                           impact of a citizenship question on
                                                           response rates.


Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:
       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of Pittsburgh’s possession, custody, or control that may be used by Plaintiff City of

Pittsburgh to support its claims are described as follows. Plaintiff City of Pittsburgh expressly

reserves its right to supplement this disclosure:

 Document Description                                        Document Location
 Information as to funds received by the City of             This information is at a central
 Pittsburgh pursuant to the CDBG program.                    repository administered by the New
                                                             York Attorney General’s Office,
                                                             and/or maintained by Defendants
                                                             and available via HUD’s Integrated
                                                             Disbursement and Information
                                                             System (IDIS).
 Any documents related to the formation and activities of    This information will be at a central
 the anticipated City-County Complete Count                  repository administered by the New
 Commission, relating to efforts to mitigate impact of the   York Attorney General’s Office.
 citizenship question.



II. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

III. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.




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IV. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.

DATED this 23d day of July, 2018.




                                            YVONNE S. HILTON
                                            Acting City Solicitor

                                            s/ Matthew S. McHale, Esq.
                                            Matthew S. McHale, Esq. (Pa. ID No. 91880)
                                            Admitted pro hac vice
                                            Associate City Solicitor
                                            City of Pittsburgh Law Department
                                            414 Grant Street, Pittsburgh, PA 15219
                                            (412) 255-2015
                                            matthew.mchale@pittsburghpa.gov




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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                        18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the City of Providence, by its

attorney, Jeffrey Dana, City Solicitor of the City of Providence, makes the following Initial

Disclosures.


                                         INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the City

of Providence. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff City of Providence reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff City of Providence hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff City of



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Providence, makes no representations or concessions regarding the relevancy or appropriateness

of any particular documents or types of documents.

       4.      Plaintiff City of Providence’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Providence incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon

the testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Providence’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Providence reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff City of Providence is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff City of Providence waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-

breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Providence may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Providence expressly reserves the right to supplement this disclosure:

  Name                      Contact Information              Subjects of Discoverable Information

 Gabriela Domenzain,        City of Providence               The witness has knowledge of the impact
 Latino Policy Institute    Office of the City Solicitor     of the citizenship question on community
                            444 Westminster Street,          members’ willingness to participate in the
                            Suite 220                        decennial census process. The witness
                                                             has knowledge of the heightened fears

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                          Providence, RI 02903           surrounding the 2020 decennial census.
                          (401) 680-5333                 Witness has knowledge concerning
                                                         outreach efforts conducted by the Census
                                                         Bureau.

John Marion, Common       City of Providence             The witness has information regarding the
Cause Rhode Island        Office of the City Solicitor   Complete Count Committee’s efforts to
                          444 Westminster Street,        mitigate the impact of the citizenship
                          Suite 220                      question on non-response rates. Witness
                          Providence, RI 02903           has knowledge concerning outreach
                                                         efforts conducted by the Census Bureau.
                          (401) 680-5333


Henrietta White-Holder,   City of Providence             The witness has knowledge of the impact
Higher Ground             Office of the City Solicitor   of the citizenship question on community
International             444 Westminster Street,        members’ in hard to count communities
                          Suite 220                      willingness to participate in the decennial
                                                         census process. The witness has
                          Providence, RI 02903
                                                         knowledge of the heightened fears
                          (401) 680-5333
                                                         surrounding the 2020 decennial census.
                                                         Witness has knowledge concerning
                                                         outreach efforts conducted by the Census
                                                         Bureau.

David DosReis, GIS        City of Providence             Witness has information regarding the
Manager                   Office of the City Solicitor   presence of hard-to-count populations in
                          444 Westminster Street,        Providence, and areas particularly
                          Suite 220                      vulnerable to undercounting.
                          Providence, RI 02903
                          (401) 680-5333


Emily Freedman,           City of Providence             The witness has knowledge of the impact
Director of Community     Office of the City Solicitor   of decennial census population counts on
Development               444 Westminster Street,        state/local funding and budgets.
                          Suite 220
                          Providence, RI 02903
                          (401) 680-5333




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The City of Providence does not have documents that may be used to support its claims at

this time. The City of Providence reserves the right to supplement this disclosure.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 17th day of July, 2018.




                                             Jeffrey Dana
                                             City Solicitor of the City of Providence

                                              /s/Jeffrey Dana
                                             Jeffrey Dana
                                             City Solicitor
                                             City of Providence
                                             444 Westminster Street, Suite 220
                                             Providence, RI 02903
                                             (401) 680-5333
                                             Jdana@providenceri.gov




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of Rhode Island, by its

attorney, Peter F. Kilmartin, Attorney General of the State of Rhode Island, makes the following

Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the

Plaintiff State of Rhode Island. They are made without prejudice to producing during discovery or

at trial information, documents, or data that are (a) subsequently discovered or determined to be

relevant for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff State of Rhode Island reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff State of Rhode Island hereby expressly reserves all objections to the use

for any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff State of Rhode



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Island makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.

       4.      Plaintiff State of Rhode Island’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Rhode Island incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Rhode Island’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State of Rhode Island reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff State of Rhode Island is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff State of Rhode Island waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth,

and all applicable privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

Rhode Island may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Rhode Island expressly reserves the right to supplement this disclosure:

   Name                      Contact Information        Subjects of Discoverable Information

  John Marion,               245 Waterman Street,       The witness has knowledge of the impact
  Executive Director,        Suite 400A,                of decennial census population counts on
  Common Cause RI            Providence, RI 02906,      Rhode Island federal representation and
                             (401) 861-2322             federal funding.


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Robert Rapoza,          150 South Main Street,   The witness has knowledge of the impact of
Executive Director,     Providence, RI 02903,    decennial census population counts on
Rhode Island Board of   (401) 274-4400           statewide redistricting plans for Rhode Island
Elections                                        state legislative districts.

Omar Bah, Founder &     150 South Main Street,   The witness has knowledge of the impact of
Executive Director,     Providence, RI 02903,    the citizenship question on community
Refugee Dream Center    (401) 274-4400           members’ willingness to participate in the
                                                 decennial census process. The witness has
                                                 knowledge of the heightened fears
                                                 surrounding the 2020 decennial census.




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Rhode Island’s possession, custody, or control that may be used by Plaintiff State

of Rhode Island to support its claims are described as follows. Plaintiff State of Rhode Island

expressly reserves its right to supplement this disclosure:

 Document Description                                               Document Location
 Election Data Services study: Kimball W. Brace, “Some              This document is at a central
 Change in Apportionment Allocations With New 2017                  repository administered by the
 Census Estimates; But Greater Change Likely by 2020”,              New York Attorney General’s
 https://www.electiondataservices.com/wp-                           Office.
 content/uploads/2017/12/NR_Appor17c3wTablesMapsC2.pdf
 (accessed March 23, 2018).




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this Eighteenth day of July, 2018.




                                            PETER F. KILMARTIN
                                            Attorney General of the State of Rhode Island

                                            By: /s Adam D. Roach
                                                Adam D. Roach
                                                Special Assistant Attorney General
                                                RI Office of the Attorney General
                                                150 South Main Street
                                                Providence, RI 02903
                                                (401) 274-4400
                                                aroach@riag.ri.gov




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                             Plaintiffs,

              v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                             Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the City and County of San Francisco (“San

Francisco”), by its attorney, Dennis J. Herrera, City Attorney of the City and County of San

Francisco, makes the following Initial Disclosures.


                                           INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to San

Francisco. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.

       2.      Plaintiff San Francisco reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff San Francisco hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff San Francisco makes no



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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff San Francisco’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff San Francisco incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff San Francisco’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff San Francisco reserves the right to use all documents produced by any party or non-party

to this action. With these Initial Disclosures, Plaintiff San Francisco is not identifying documents

protected from disclosure by the attorney-client, work product or other applicable privileges. Nor

does Plaintiff San Francisco waive the right to object to Defendants’ discovery requests on any

basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                    INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff San

Francisco may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff San Francisco expressly reserves the right to supplement this disclosure:




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   Name                   Contact Information          Subjects of Discoverable Information

  Adrienne Pon,           The witness may be           The witness has knowledge of outreach
  Executive Director,     contacted through the San    efforts for the 2010 and 2020 decennial
  City and County of      Francisco City Attorney’s    censuses, including San Francisco’s
  San Francisco’s         Office, Deputy City          efforts to mitigate the impact of the
  Immigrant Rights        Attorney Mollie Lee at       citizenship question on participation in the
  Commission and the      (415) 554-4290 or            2020 Census.
  Mayor’s Office of       mollie.lee@sfcityatty.org.
  Civic Engagement
  and Immigrant
  Affairs
  Ben Rosenfield, City    The witness may be         The witness has knowledge of the impact
  Controller, City and    contacted through the San of decennial census population counts on
  County of San           Francisco City Attorney’s local funding and budgets.
  Francisco               Office, Deputy City
                          Attorney Mollie Lee at
                          (415) 554-4290 or
                          mollie.lee@sfcityatty.org.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff San Francisco’s possession, custody, or control that may be used by Plaintiff San

Francisco to support its claims are described as follows. Plaintiff San Francisco expressly reserves

its right to supplement this disclosure:

 Document Description                                        Document Location
 U.S. Department of Transportation Federal Transit           This document is at a central
 Administration Grant Award to the City & County of          repository administered by the New
 San Francisco for FY 2017 49 U.S.C. § 5307 Formula          York Attorney General’s Office.
 Funds (Federal Award Identification No. CA-2017-117-
 00)

 February 21, 2018 memorandum from Adrienne Pon to           This document is at a central
 Mayor Mark Farrell titled “Ensuring an Accurate,            repository administered by the New
 Complete, Fair and Inclusive 2020 Census Count” and         York Attorney General’s Office.
 attachment




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Document Description                                        Document Location
March 8, 2011 Press Release from Mayor Edwin M. Lee This document is at a central
titled “Mayor Lee Announces U.S. Census Bureau      repository administered by the New
Results for San Francisco Population”               York Attorney General’s Office.



August 30, 2010 memorandum from Adrienne Pon to             This document is at a central
Ditas Katague, Louis Stewart, and Susan McAuliffe           repository administered by the New
titled “Final Report, California State Census 2010          York Attorney General’s Office.
Outreach Grant”

April 14, 2010 memorandum from Adrienne Pon to City This document is at a central
Administrator Edwin Lee titled “CENSUS/OCEIA        repository administered by the New
Budget Needs for FY2010-11”                         York Attorney General’s Office.

February 26, 2010 Resolution authorizing the Office of      This document is at a central
Civic Engagement & Immigrant Affairs to accept and          repository administered by the New
expand a grant in the amount of $32,250 from the State      York Attorney General’s Office.
of California, Governor’s Office of Planning and
Research, to support San Francisco’s complete count
outreach and education activities related to the 2010
Census – File Number 100190

January 1, 2010 SF Counts: 2010 Census Strategic Plan       This document is at a central
– General and Implementation                                repository administered by the New
                                                            York Attorney General’s Office.
October 2009 Information Packet – Request for               This document is at a central
Proposals #2009-01 for SF 2010 Census Outreach              repository administered by the New
                                                            York Attorney General’s Office.
June 19, 2009 Resolution calling for an accurate, fair      This document is at a central
and inclusive count of all San Francisco residents in the   repository administered by the New
2010 Census – File number 090744                            York Attorney General’s Office.

May 27, 2009 Executive Directive 09-02 titled “2010         This document is at a central
Census Complete and Inclusive Count”                        repository administered by the New
                                                            York Attorney General’s Office.
U.S. Census Bureau Report S0501 – Selected                  This document is at a central
Characteristics of the Native and Foreign-Born              repository administered by the New
Populations; 2012-2016 American Community Survey            York Attorney General’s Office.
5-Year Estimates for San Francisco County, California


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 Document Description                                      Document Location
 Screenshot of report on San Francisco County,             This document is at a central
 California from www.censushardtocountmaps2020.us          repository administered by the New
 displaying census self-response rates and data            York Attorney General’s Office.

 Profile of the Unauthorized Population: San Francisco     This document is at a central
 County, CA from the Migration Policy Institute            repository administered by the New
                                                           York Attorney General’s Office.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 17th day of July, 2018.




                                            DENNIS J. HERRERA
                                            City Attorney

                                             /s/ Mollie M. Lee
                                            MOLLIE M. LEE, California SBN 251404
                                            Deputy City Attorney
                                            SAN FRANCISCO CITY ATTORNEY’S OFFICE
                                            City Hall, Room 234
                                            1 Dr. Carlton B. Goodlett Place
                                            San Francisco, CA 94102-4602
                                            (415) 554-4290
                                            mollie.lee@sfcityatty.org

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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


   STATE OF NEW YORK, et al.,

                             Plaintiffs,

              V.                                       18-CV-2921 (JMF)

   UNITED STATES DEPARTMENT
   OF COMMERCE, et al.,

                             Defendants.




        Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the City of Seattle, by its attorney, Peter S.

Holmes, Seattle City Attorney, makes the following Initial Disclosures.


                                           INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the City

of Seattle. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.

       2.      Plaintiff City of Seattle reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff City of Seattle hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff City of Seattle makes no




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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff City of Seattle's identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Seattle incorporates all individuals identified by all other

parties in Plaintiff's Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Seattle's identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Seattle reserves the right to use all documents produced by any party or non-party

to this action. With these Initial Disclosures, Plaintiff City of Seattle is not identifying documents

protected from disclosure by the attorney-client, work product or other applicable privileges. Nor

does Plaintiff City of Seattle waive the right to object to Defendants' discovery requests on any

basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Seattle may use to support Plaintiff's claims as detailed in the First Amended Complaint. Plaintiff

City of Seattle expressly reserves the right to supplement this disclosure:

   Name                 Contact Information                     Subjects of Discoverable
                                                                Information
  Kelsey Beck,          c/o Gary Smith —                        The witness has knowledge of the
  Regional Affairs      Gary.Smith@seattle.gov                  impact of decennial census
  Director, Office of                                           population counts on state/local
  Intergovernmental                                             funding and budgets.



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Relations (OIR),
City of Seattle

Joaquin Uy,          c/o Gary Smith —          The witness has knowledge of the
Communications       Gary.Smith@seattle.gov    impact of the citizenship question
and Outreach                                   on community members'
Manager, Office                                willingness to participate in the
of Immigrant and                               decennial census process. The
Refugee Affairs,                               witness has knowledge of the
City of Seattle                               'heightened fears surrounding the
                                               2020 decennial census. Witness
                                               has knowledge concerning
                                               outreach efforts conducted by the
                                               Census Bureau.
Diana Canzoneri,     c/o Gary Smith —         Witness has information
Demographer,         Gary.Smith@seattle.gov   regarding the presence of hard-to-
Office of Planning                            count populations in Seattle, and
and Community                                 areas particularly vulnerable to
Development                                   undercounting.
(OPCD), City of
Seattle

Sierra Howlett       c/o Gary Smith —         Witness has information
Browne, Federal      Gary.Smith@seattle.gov   regarding the impact of the
Affairs Director,                             decennial census population
Office of                                     count on the state redistricting
Intergovernmental                             process.
Relations (OIR),
City of Seattle

Amy Nguyen,          c/o Gary Smith —         The witness has information
Community            Gary.Smith@seattle.gov   regarding Seattle's efforts to
Programs                                      mitigate the impact of the
Strategic Advisor,                            citizenship question on non-
Department of                                 response rates. Witness has
Neighborhoods,                                knowledge concerning outreach
City of Seattle                               efforts conducted by the Census
                                              Bureau.




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, "Documents") in

Plaintiff City of Seattle's possession, custody, or control that may be used by Plaintiff City of

Seattle to support its claims are described as follows. Plaintiff City of Seattle expressly reserves

its right to supplement this disclosure:

 Document Description                                        Document Location
 Census Committee Proposal.pptx: City Proposed               This document is at a central
 Census Committee Structure                                  repository administered by the New
                                                             York Attorney General's Office
 MEMO re 2020 Census CCC.PDF: Briefing                       This document is at a central
 Memorandum: 2020 Census Complete Count                      repository administered by the New
 Committee Proposal                                          York Attorney General's Office

 \Webpages\About Seattle - OPCD seattle_gov.htm:             This document is at a central
 Webpage providing Seattle's Population and Household        repository administered by the New
 Statistics                                                  York Attorney General's Office

 Census Open House Working Planning Outline DATA             This document is at a central
 COLLAB.docx: Draft Outline and Agenda City of               repository administered by the New
 Seattle Census Open House                                   York Attorney General's Office

 Copy of OPCD Mayor's Transition Section II Issue List       This document is at a central
 sa dc.xlsx: Spreadsheet provided by OPCD to support         repository administered by the New
 Mayor's transition                                          York Attorney General's Office

 Data Disagg_ A Summary of Best Practice Examples            This document is at a central
 and Challenges from the Pop-Level Subcmte.pptx: A           repository administered by the New
 Summary of Best Practice Examples and Challenges:           York Attorney General's Office
 Analyzing and Reporting Population Demographic Data
 - Produced by the Data Disaggregation Task Force
 Population-Level Subcommittee

 ACS_12_5YR_Foreign Born incl East African                   This document is at a central
 estim.xls: S0502: Selected Characteristics of the           repository administered by the New
 Foreign-Born Population by Period of Entry into the         York Attorney General's Office
 United States




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GESCNA Committee DDTF Briefing Draft V2.pptx:             This document is at a central
Demographic Data Disaggregation Task Force: Gender        repository administered by the New
Equity, Safe Communities, and New Americans               York Attorney General's Office
Committee - December 14, 2016
Demographic Data Task Force Report-FINAL.pdf:             This document is at a central
Memorandum: Demographic Data Task Force Report            repository administered by the New
(Resolution 31613)                                        York Attorney General's Office

Dear Seattle Complete Count Committee                     This document is at a central
members.docx: Subject Line: Census 2010 Open House repository administered by the New
for local govt. and non-profits March 1st at Seattle City York Attorney General's Office
Hall

Demog Data Task Force resources.txt: Subject: Demog       This document is at a central
Data Task Force resources                                 repository administered by the New
                                                          York Attorney General's Office
Demographics & Disparities RSJI 2011 Summit               This document is at a central
Canzoneri Presentation.pptx: Demographics and             repository administered by the New
Disparities: Updated Data on Seattle - 2011 Race and      York Attorney General's Office
Social Justice Initiative (RSJI) Summit October 6, 2011
Workshop Presentation

Disaggregated data for race ethnicity and ancestry        This document is at a central
groups gg edits 3-28 dc 6 10 2018.docx: Accessing         repository administered by the New
Disaggregated Data for Race/Ethnic Groups - Guidance      York Attorney General's Office
from the City of Seattle Demographer

GESCNA Committee DDTF Briefing FINAL.pptx:                This document is at a central
Demographic Data Disaggregation Task Force: Gender        repository administered by the New
Equity, Safe Communities, and New Americans               York Attorney General's Office
Committee - December 14, 2016

Presentation to CEP Class 4 30 2012.ppt: New              This document is at a central
Demographic Data on Seattle and Its Neighborhoods -       repository administered by the New
Presentation to UW CEP303 Social Structures and           York Attorney General's Office
Processes

http://www.seattle.gov/opcd/population-and-               This document is at a central
demographics: Population & Demographics - OPCD            repository administered by the New
seattle_gov_files                                         York Attorney General's Office

http://vvww.seattle.govicensus2010/committee.htm:         This document is at a central
Seattle Census 2010 Complete Count Committee_files        repository administered by the New
                                                          York Attorney General's Office


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WSDC_Agenda_2017.pdf: Washington State Stat             This document is at a central
Center Annual Meeting - Agenda                          repository administered by the New
                                                        York Attorney General's Office
Final Demographic Data Task Force memo.docx:            This document is at a central
Memorandum: Demographic Data Task Force Report          repository administered by the New
(Resolution 31613)                                      York Attorney General's Office

Using the 2010 Census and ACS to Understand Seattle's   This document is at a central
Demographics for Kenny Backgroundf.ppt: Using the       repository administered by the New
ACS and Census to Understand Local Demographics -       York Attorney General's Office
Presentation to City Council Central Staff




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures - Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures - Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) - Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED thisl7 th day of           ,2018.


                                            PETER S. HOLMES
                                            Seattle city
                                                     / Attorney

                                    By:
                                            Peter S. Holmes
                                            Seattle City Attorney
                                            Seattle City Attorney's Office
                                            701Fifth Avenue, Suite 2050
                                            Seattle, WA 98104-7097
                                            206.684.8200
                                            Peter.hohnes@seattle.gov
                                                          /-47‘57




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

   STATES OF NEW YORK, COLORADO,
CONNECTICUT, DELAWARE, ILLINOIS, IOWA,
MARYLAND, MINNESOTA, NEW JERSEY, NEW
MEXICO, NORTH CAROLINA, OREGON,
RHODE ISLAND, VERMONT, and
WASHINGTON; COMMONWEALTHS OF                                    CIVIL ACTION NO.
MASSACHUSETTS, PENNSYLVANIA, and                                1:18-cv-2921 (JMF)
VIRGINIA; DISTRICT OF COLUMBIA; CITIES
OF CENTRAL FALLS, CHICAGO, COLUMBUS,                            PLAINTIFF UNITED
NEW YORK, PHILADELPHIA, PITTSBURGH,                             STATES
PROVIDENCE, and SEATTLE; CITY and                               CONFERENCE OF
COUNTY of SAN FRANCISCO; COUNTIES OF                            MAYORS INITIAL
CAMERON, EL PASO, HIDALGO, and                                  DISCLOSURES
MONTEREY; and the UNITED STATES
CONFERENCE OF MAYORS,

           Plaintiffs,

           v.

    UNITED STATES DEPARTMENT OF
COMMERCE; and UNITED STATES OF
AMERICA, THOMAS E. PRICE, in his official
capacity as Secretary of the United States Department
of Health and Human Services, and PATRICK
CONWAY, in his official capacity as the Acting
Administrator of the Centers for Medicare &
MedicaidWILBUR L. ROSS, JR., in his official
capacity as Secretary of Commerce,

           and

    BUREAU OF THE CENSUS, an agency within
the United States Department of Commerce; and
RON S. JARMIN, in his capacity as performing the
non-exclusive functions and duties of the Director of
the U.S. Census Bureau,

           Defendants.

       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the United States

Conference of Mayor by its attorney, John Daniel Reaves, General Counsel, of the United

States Conference of Mayors, makes the following Initial Disclosures.
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                                       INTRODUCTION

1. These Initial Disclosures are based upon information presently known to the United States

   Conference of Mayors. They are made without prejudice to producing during discovery

   or at trial information, documents, or data that are (a) subsequently discovered or

   determined to be relevant for any purpose, or (b) produced as a result of ongoing

   investigations, or (c) subsequently determined to have been omitted from these

   disclosures.

2. Plaintiff the United States Conference of Mayors reserves the right at any time to revise

   and/or supplement these Initial Disclosures.

3. Plaintiff the United States Conference of Mayors hereby expressly reserves all objections

   to the use for any purpose of these Initial Disclosures or any of the information and

   documents referenced herein in this case. By referring to documents in the Initial

   Disclosures, Plaintiff United States Conference of Mayors makes no representations or

   concessions regarding the relevancy or appropriateness of any particular documents or

   types of documents.

4. Plaintiff the United States Conference of Mayors’ identification of individuals pursuant

   to Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of

   individuals not presently identified. Plaintiff the United States Conference of Mayors

   incorporates all individuals identified by all other parties in Plaintiff’s Initial Disclosures

   and reserves the right to depose, and to rely upon the testimony of, all such individuals in

   support of its claims.

5. Plaintiff the United States Conference of Mayors’ identification or production of

   documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its


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      possession, custody or control. Plaintiff State of New York reserves the right to use all

      documents produced by any party or non-party to this action. With these Initial

      Disclosures, Plaintiff United States Conference of Mayors is not identifying documents

      protected from disclosure by the attorney-client, work product or other applicable

      privileges. Nor does Plaintiff United States Conference of Mayors waive the right to object

      to Defendants’ discovery requests on any basis, including, but not limited to, relevancy,

      over-breadth, and all applicable privileges.

                                     INITIAL DISCLOSURES

 I.      Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

             Plaintiff United States Conference of Mayors has no individual fact witnesses at

  this time but reserves the right to supplement this disclosure.


II.      Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

             The documents and electronically stored information (collectively, “Documents”)

      in Plaintiff United States Conference of Mayors’ possession, custody, or control that may

      be used by Plaintiff United States Conference of Mayors to support its claims are described

      as follows. Plaintiff United States Conference of Mayors expressly reserves its right to

      supplement this disclosure:

       Document Description                                           Document Location
       Declaration of John Daniel Reaves as to the United States      The documents are at a
       Conference of Mayor’s Two Adopted Resolutions Opposing         central repository
       Citizenship Question; Bipartisan Letter to Census Director     administered by the State
       Opposing Use of Citizenship Question and Press Releases.       of New York’s Attorney
                                                                      General’s Office.
       All are matters of public record and found at
       www.usmayors.org




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III.     Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

           Not applicable.

IV.      Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

           Not applicable.

   DATED this 20th day of July, 2018.

                                                             /s/
                                              John Daniel Reaves, General Counsel
                                              United States Conference of Mayors
                                              1200 New Hampshire Avenue, N.W.,
                                              Third Floor
                                              Washington D.C., 20036
                                              PHONE: (202) 974-5931
                                              EMAIL: jdreavesoffice@gmail.com




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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                     Plaintiffs,

          v.                                         18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                     Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the Commonwealth of

Virginia, by Mark R. Herring, Attorney General of the Commonwealth of

Virginia, makes the following Initial Disclosures.


                               INTRODUCTION

   1. These Initial Disclosures are based upon information presently known to

The Commonwealth of Virginia. They are made without prejudice to producing

during discovery or at trial information, documents, or data that are (a)

subsequently discovered or determined to be relevant for any purpose, or (b)

produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.

   2. Plaintiff Commonwealth of Virginia reserves the right at any time to

revise and/or supplement these Initial Disclosures.

   3. Plaintiff Commonwealth of Virginia hereby expressly reserves all

objections to the use for any purpose of these Initial Disclosures or any of the

information and documents referenced herein in this case. By referring to

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documents in the Initial Disclosures, Plaintiff Commonwealth of Virginia makes

no representations or concessions regarding the relevancy or appropriateness of

any particular documents or types of documents.

   4. Plaintiff Commonwealth of Virginia’s identification of individuals

pursuant to Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiff from

obtaining     discovery   of   individuals    not   presently   identified.   Plaintiff

Commonwealth of Virginia incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to

rely upon the testimony of, all such individuals in support of its claims.

   5. Plaintiff Commonwealth of Virginia’s identification or production of

documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within

its possession, custody, or control. Plaintiff Commonwealth of Virginia reserves

the right to use all documents produced by any party or non-party to this action.

With these Initial Disclosures, Plaintiff Commonwealth of Virginia does not

identify documents protected from disclosure by the attorney-client, work

product, or other applicable privileges. Nor does Plaintiff Commonwealth of

Virginia waive the right to object to Defendants’ discovery requests on any basis,

including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that

Plaintiff Commonwealth of Virginia may use to support Plaintiff’s claims as



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detailed in the First Amended Complaint. Plaintiff Commonwealth of Virginia

expressly reserves the right to supplement this disclosure:

  Name                  Contact         Subjects of Discoverable Information
                        Information

 Qian Cai,              Contact         The witness has information regarding the
 Director,              through         presence of hard-to-count populations in
 Demographics           counsel:        Virginia, and areas particularly vulnerable
 Research Group,                        to undercounting.
 Weldon Cooper          202 N. Ninth
 Center for Public      Street
 Service,               Richmond, VA
 University of          23219
 Virginia               (804) 786-
                        1068

 Michael Cassidy,       Contact         The witness has knowledge of (1) the
 President and          through         impact of decennial census population
 Chief Executive        counsel:        counts on state/local funding and budgets,
 Officer of the                         and (2) the presence of hard-to-count
 Commonwealth           202 N. Ninth    populations in the Virginia, and areas
 Institute for Fiscal   Street          particularly vulnerable to undercounting.
 Analysis               Richmond, VA
                        23219
                        (804) 786-
                        1068

 Robyn M. de            Contact         The witness has knowledge of the impact
 Socio,                 through         of the decennial census population counts
 Executive              counsel:        on state/local funding and budgets in
 Secretary,                             public safety and law enforcement
 Commonwealth           202 N. Ninth    coverage in localities.
 of Virginia            Street
 Compensation           Richmond, VA
 Board                  23219
                        (804) 786-
                        1068




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Julie Emery,         Contact        The witness has knowledge (1) of the
Executive            through        impact of the citizenship question on
Director, Virginia   counsel:       community members’ willingness to
Civic Engagement                    participate in the decennial census process
Table                202 N. Ninth   in Virginia, (2) of the heightened fears
                     Street         surrounding the 2020 decennial census in
                     Richmond, VA   Virginia, and (3) concerning outreach
                     23219          efforts conducted by the Census Bureau in
                     (804) 786-     Virginia.
                     1068

Megan Healy,         Contact        The witness has knowledge of the impact
Chief Workforce      through        of decennial census population counts on
Development          counsel:       state/local funding and budgets in state
Advisor, Office of                  workforce development programs.
the Governor         202 N. Ninth
                     Street
                     Richmond, VA
                     23219
                     (804) 786-
                     1068

John Lawson,         Contact        The witness has knowledge of the impact
Chief Financial      through        of decennial census population counts on
Officer, Virginia    counsel:       state/local funding and budgets for the
Department of                       Virginia Department of Transportation.
Transportation       202 N. Ninth
                     Street
                     Richmond, VA
                     23219
                     (804) 786-
                     1068




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Jennifer Lee,       Contact        The witness has knowledge of the impact
Director,           through        of decennial census population counts on
Department of       counsel:       state/local funding and budgets in state
Medical                            medical assistance services programs.
Assistance          202 N. Ninth
Services            Street
                    Richmond, VA
                    23219
                    (804) 786-
                    1068
Greg Lucyk,         Contact        The witness has information regarding the
Board President,    through        impact of the decennial census population
One Virginia        counsel:       count on the state redistricting process.
2021
                    202 N. Ninth
                    Street
                    Richmond, VA
                    23219
                    (804) 786-
                    1068

Fernando            Contact        The witness has knowledge of (1) the
Mercado-            through        impact of the citizenship question on
Violand, Director   counsel:       community members’ willingness to
of Latino                          participate in the decennial census process
Outreach, Office    202 N. Ninth   in Virginia, and (2) the heightened fears
of the Governor     Street         surrounding the 2020 decennial census in
                    Richmond, VA   Virginia.
                    23219
                    (804) 786-
                    1068

Tram Nguyen,        Contact        The witness has knowledge (1) of the
Co-Executive        through        impact of the citizenship question on
Director, New       counsel:       community members’ willingness to
Virginia Majority                  participate in the decennial census process
                    202 N. Ninth   in Virginia, (2) of the heightened fears
                    Street         surrounding the 2020 decennial census in
                    Richmond, VA   Virginia, and (3) concerning outreach
                    23219          efforts conducted by the Census Bureau in
                    (804) 786-     Virginia.
                    1068




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Sookyung Oh,         Contact         The witness has knowledge of (1) the
D.C. Area            through         impact of the citizenship question on
Director,            counsel:        community members’ willingness to
National Korean                      participate in the decennial census process
American             202 N. Ninth    in Virginia, and (2) the heightened fears
Service &            Street          surrounding the 2020 decennial census in
Education            Richmond, VA    Virginia.
Consortium           23219
                     (804) 786-
                     1068

M. Norman            Contact         The witness has knowledge of the impact
Oliver, State        through         of decennial census population counts on
Commissioner of      counsel:        state/local funding and budgets in state
Health, Virginia                     health programs.
Department of        202 N. Ninth
Health               Street
                     Richmond, VA
                     23219
                     (804) 786-
                     1068

Atif Qarni,          Contact         The witness has knowledge of the impact
Secretary of         through         of decennial census population counts on
Education, Office    counsel:        state/local funding and budgets in
of the Governor                      Virginia public education programs.
                     202 N. Ninth
                     Street
                     Richmond, VA
                     23219
                     (804) 786-
                     1068

Simon Sandoval-      Contact      The witness has knowledge of (1) the
Moshenburg,          through      impact of the citizenship question on
Legal Director,      counsel:     community members’ willingness to
Immigrant                         participate in the decennial census process
Advocacy             202 N. Ninth in Virginia, and (2) the heightened fears
Program, Legal       Street       surrounding the 2020 decennial census in
Aid Justice Center   Richmond, VA Virginia.
                     23219
                     (804) 786-
                     1068




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 Monica                Contact      The witness has knowledge of (1) the
 Sarmiento,            through      impact of the citizenship question on
 Executive             counsel:     community members’ willingness to
 Director, Virginia                 participate in the decennial census process
 Coalition for         202 N. Ninth in Virginia, and (2) the heightened fears
 Immigrant Rights      Street       surrounding the 2020 decennial census in
                       Richmond, VA Virginia.
                       23219
                       (804) 786-
                       1068

 Stephen Duke          Contact           The witness has knowledge of the impact
 Storen, State         through           of decennial census population counts on
 Commissioner,         counsel:          state/local funding and budgets in state
 Virginia                                social services programs.
 Department of         202 N. Ninth
 Social Services       Street
                       Richmond, VA
                       23219
                       (804) 786-
                       1068


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information in Plaintiff

Commonwealth of Virginia’s possession, custody, or control that may be used by

Plaintiff Commonwealth of Virginia to support its claims are described as

follows. All such documents are or will be at a central repository administered by

the New York Attorney General’s Office. Plaintiff Commonwealth of Virginia

expressly reserves its right to supplement this disclosure:

Document Description
Documents regarding demography of hard to count populations in Virginia, and
areas particularly vulnerable to undercounting.
Documents regarding the impact of decennial census population counts on state
or local funding and budgets in Virginia.
Documents regarding the use of federal funds in state health programs and
medical services in Virginia.


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Documents regarding the use of federal funds in public education programs and
services in Virginia.
Documents regarding the use of federal funds in state social services programs
and services in Virginia.
Documents regarding the use of federal funds in transportation programs and
services in Virginia.
Documents regarding the use of federal funds in workforce development
programs and services in Virginia.
Documents regarding the redistricting process in Virginia.
Documents regarding community members’ willingness to participate in the
decennial census process in Virginia.
Documents regarding heightened fears surrounding the 2020 decennial census in
Virginia.
Documents regarding outreach efforts conducted by the Census Bureau in
Virginia.




III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.




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V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D)

of the Federal Rules of Civil Procedure.



DATED this 23rd day of July, 2018.



                                               MARK R. HERRING
                                               Attorney General of the
                                               Commonwealth of Virginia

                                                /s/ Matthew R. McGuire
                                               Matthew R. McGuire
                                               Deputy Solicitor General
                                               Office of the Attorney General of
                                               Virginia
                                               202 North 9th Street
                                               Richmond, Virginia 23219
                                               (804) 786-7773
                                               MMcGuire@oag.state.va.us




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                             Plaintiffs,

              v.                                        18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                             Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff State of Vermont, by its attorney, Thomas J.

Donovan, Jr, Attorney General of the State of Vermont, makes the following Initial Disclosures.


                                           INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to Plaintiff

State of Vermont. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff State of Vermont reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff State of Vermont hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff makes no representations




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or concessions regarding the relevancy or appropriateness of any particular documents or types of

documents.

        4.      Plaintiff State of Vermont’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude the State from obtaining discovery of individuals not

presently identified. Plaintiff incorporates all individuals identified by all other parties in Plaintiff’s

Initial Disclosures and reserves the right to depose, and to rely upon the testimony of, all such

individuals in support of its claims.

        5.      Plaintiff State of Vermont’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff reserves the right to use all documents produced by any party or non-party to this action.

With these Initial Disclosures Plaintiff is not identifying documents protected from disclosure by

the attorney-client, work product or other applicable privileges. Nor does Plaintiff waive the right

to object to Defendants’ discovery requests on any basis, including, but not limited to, relevancy,

over-breadth, and all applicable privileges.

                                  INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

        The below listed persons are likely to have discoverable information that Plaintiff State of

Vermont may use to support the Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff expressly reserves the right to supplement this disclosure:




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   Name                       Contact Information        Subjects of Discoverable
                                                         Information
  John Adams, Director,       Julio A. Thompson          The witness has knowledge of
  Vermont Center for          Assistant Attorney General (1) methods for population
  Geographic Information      Office of the Vermont      counting; (2) challenges in
                              Attorney General           counting historically
                              109 State Street           underrepresented populations;
                              Montpelier, Vermont 05609  and (3) financial impacts of
                              (802) 828-3171             undercounting on Vermont
                              julio.thompson@vermont.gov Medicaid and other federal
                                                         funding.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Vermont’s possession, custody, or control that may be used by the State to support

its claims are described as follows. Plaintiff expressly reserves its right to supplement this

disclosure:

 Document Description                 Document Location
 Reamer, Counting for Dollars         This document is at a central repository administered by
 2020: The Role of the Decennial      the New York Attorney General’s Office.
 Census in the Geographic
 Distribution of Federal Funds
 (March 18, 2018)
 Vermont Center for Geographic        This document is at a central repository administered by
 Information, High Cost of a Low      the New York Attorney General’s Office
 Count: Census 2020, Medicaid
 Payments to States, and Why
 Every Person Counts




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff State of Vermont will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal

Rules of Civil Procedure.



DATED this 17th day of July 2018.




                                                    STATE OF VERMONT

                                                    THOMAS J. DONOVAN, JR.
                                                    ATTORNEY GENERAL


                                            By:     /s Julio A. Thompson_________
                                                    Benjamin D. Battles
                                                      Solicitor General
                                                    Julio A. Thompson
                                                      Assistant Attorney General
                                                      Civil Rights Unit
                                                    Office of the Attorney General
                                                    109 State Street
                                                    Montpelier, VT 05609-1001
                                                    (802) 828-3171
                                                    julio.thompson@vermont.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT                             INITIAL DISCLOSURES OF
  OF COMMERCE, et al.,                                 PLAINTIFF STATE OF
                                                       WASHINGTON
                          Defendants.



       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Washington, by its attorney,

Assistant Attorney General Laura K. Clinton, makes the following Initial Disclosures.

                                        INTRODUCTION

       1.       These Initial Disclosures are based upon information presently known to

Washington. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.       Washington reserves the right at any time to revise and/or supplement these Initial

Disclosures.

       3.       Washington hereby expressly reserves all objections to the use for any purpose of

these Initial Disclosures or any of the information and documents referenced herein in this case.

By referring to documents in the Initial Disclosures, Washington makes no representations or

concessions regarding the relevance or appropriateness of any particular documents or types of

documents.

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       4.      Washington’s identification of individuals pursuant to Rule 26(a)(1)(A)(i) is not

intended to preclude Plaintiff from obtaining discovery of individuals not presently identified.

Washington incorporates all individuals identified by all other parties in Plaintiff’s Initial

Disclosures and reserves the right to depose, and to rely upon the testimony of, all such individuals

in support of its claims.

       5.      Washington’s identification or production of documents pursuant to Rule

26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control. Washington

reserves the right to use all documents produced by any party or non-party to this action. With

these Initial Disclosures, Washington is not identifying documents protected from disclosure by

the attorney-client, work product or other applicable privileges. Nor does Washington waive the

right to object to Defendants’ discovery requests on any basis, including, but not limited to,

relevancy, over-breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

Washington may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Washington expressly reserves the right to supplement this disclosure:

   Name                          Contact Information               Subjects of Discoverable
                                                                   Information

  Mark Baldwin                   c/o Laura Clinton                 The witness has knowledge of
  Assistant Director of          Assistant Attorney General        Washington’s planning and
  Forecasting and Research,      800 Fifth Avenue, Suite 2000      outreach regarding the 2020
  Office of Financial            Seattle WA 98104                  Census, potential financial
  Management                                                       impacts to the State of
                                                                   Washington arising from an
                                                                   inaccurate count, and related
                                                                   issues.



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 Name                       Contact Information            Subjects of Discoverable
                                                           Information

Yi Zhao, Office of          c/o Laura Clinton              The witness has knowledge of
Financial Management        Assistant Attorney General     Washington’s planning and
                            800 Fifth Avenue, Suite 2000   outreach regarding the 2020
                            Seattle WA 98104               Census, potential financial
                                                           impacts to the State of
                                                           Washington arising from an
                                                           inaccurate count, and related
                                                           issues.

Erica Gardner, Office of    c/o Laura Clinton              The witness has knowledge of
Financial Management        Assistant Attorney General     Washington’s planning and
                            800 Fifth Avenue, Suite 2000   outreach regarding the 2020
                            Seattle WA 98104               Census, potential financial
                                                           impacts to the State of
                                                           Washington arising from an
                                                           inaccurate count, and related
                                                           issues.

Mike Mohrman, Office of     c/o Laura Clinton              The witness has knowledge of
Financial Management        Assistant Attorney General     Washington’s planning and
                            800 Fifth Avenue, Suite 2000   outreach regarding the 2020
                            Seattle WA 98104               Census, potential financial
                                                           impacts to the State of
                                                           Washington arising from an
                                                           inaccurate count, and related
                                                           issues.

Records custodian, Office   c/o Laura Clinton              The witness(es) have
of Financial Management     Assistant Attorney General     knowledge sufficient to
                            800 Fifth Avenue, Suite 2000   identify and authenticate
                            Seattle WA 98104               Washington’s records
                                                           concerning the decennial
                                                           Census and related issues

Robert Chang                c/o Laura Clinton              The witness has knowledge
Seattle University School   Assistant Attorney General     regarding the history of the
of Law                      800 Fifth Avenue, Suite 2000   Census Bureau’s past breaches
                            Seattle WA 98104               of trust where Census
                                                           information was used to harm
                                                           individuals and communities,
                                                           and the reasonable fear or
                                                           concern that respondents might
                                                           have when facing the
                                                           citizenship question now.


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 Name                   Contact Information            Subjects of Discoverable
                                                       Information

Laura Pierce            c/o Laura Clinton              The witness has knowledge of
Washington Nonprofits   Assistant Attorney General     the concerns that
                        800 Fifth Avenue, Suite 2000   many nonprofit
                        Seattle WA 98104               organizations have about the
                                                       impact of the citizenship
                                                       question. Nonprofits working
                                                       with hard to count populations
                                                       are concerned that adding the
                                                       citizenship question instills
                                                       fear and makes those
                                                       communities harder to count
                                                       because they are likely to
                                                       voluntarily opt out of the
                                                       Census. The witness has
                                                       knowledge of the impact an
                                                       undercount would have on
                                                       how funds for services are
                                                       distributed and on the data
                                                       available for nonprofits to
                                                       target their services.
David Streeter          c/o Laura Clinton              The witness has knowledge of
Washington Nonprofits   Assistant Attorney General     the concerns that
                        800 Fifth Avenue, Suite 2000   many nonprofit
                        Seattle WA 98104               organizations have about the
                                                       impact of the citizenship
                                                       question. Nonprofits working
                                                       with hard to count populations
                                                       are concerned that adding the
                                                       citizenship question instills
                                                       fear and makes those
                                                       communities harder to count
                                                       because they are likely to
                                                       voluntarily opt out of the
                                                       Census. The witness has
                                                       knowledge of the impact an
                                                       undercount would have on
                                                       how funds for services are
                                                       distributed and on the data
                                                       available for nonprofits to
                                                       target their services.
Laura Armstrong         c/o Laura Clinton              The witness has knowledge
Executive Director      Assistant Attorney General     of already existing barriers
La Casa Hogar           800 Fifth Avenue, Suite 2000   facing immigrant, low-income,
                        Seattle WA 98104               Limited English Proficient
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 Name                  Contact Information            Subjects of Discoverable
                                                      Information

                                                      residents ("hard-to-count"
                                                      populations) throughout
                                                      Washington state’s Yakima
                                                      Valley in participating in the
                                                      Census. The witness has
                                                      further knowledge as to how
                                                      the citizenship question will
                                                      worsen those existing barriers
                                                      for aforementioned community
                                                      members’ participation in the
                                                      decennial Census process. The
                                                      witness has knowledge of
                                                      immigrant families' heightened
                                                      fears surrounding government
                                                      institutions, and understands
                                                      this as one of the already
                                                      existing barriers that is being
                                                      worsened because of the
                                                      citizenship question. The
                                                      witness has knowledge
                                                      regarding community
                                                      education and awareness
                                                      efforts regarding the Census in
                                                      the Yakima Valley region. The
                                                      witness represents an
                                                      organization with knowledge
                                                      and experience working with
                                                      immigrant families
                                                      and agricultural workers
                                                      throughout the region for over
                                                      two decades.

Linda Moore            c/o Laura Clinton              The witness has knowledge of
CEO|President          Assistant Attorney General     the impact of the citizenship
Yakima Valley          800 Fifth Avenue, Suite 2000   question and the
Community Foundation   Seattle WA 98104               disproportionate impact of
                                                      funding and services to low
                                                      income and people of color
                                                      and children. The witness has
                                                      knowledge of the impact of the
                                                      citizenship questions on
                                                      “mixed households” where
                                                      children are citizens and others
                                                      in the household, including
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   Name                         Contact Information               Subjects of Discoverable
                                                                  Information

                                                                  their parents are not which also
                                                                  impacts the count of children.
                                                                  The witness has knowledge of
                                                                  the demographics of Yakima
                                                                  County.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       All materials requested in discovery or that Washington intends to use at trial are described

below. Washington expressly reserves its right to supplement this disclosure:

 Document Description                                        Document Location

 Documents concerning the 2020 Census and mitigating         Office of Financial Management,
 non-response in the State of Washington.                    Washington Nonprofits – These
                                                             documents will be uploaded to the
                                                             central repository administered by
                                                             the New York Attorney General’s
                                                             Office.



III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Washington will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.




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 DATED this 16th day of July, 2018.


                                      ROBERT W. FERGUSON
                                      Attorney General of the State of Washington

                                      /s/ Laura K. Clinton
                                      Laura K. Clinton
                                      Assistant Attorney General
                                      Complex Litigation Division
                                      800 Fifth Avenue, Suite 2000
                                      Seattle, WA 98104
                                       LauraC5@atg.wa.gov
                                      (206) 233-3383
                                      Peter Gonick,
                                      Deputy Solicitor General Office of the Attorney
                                      General PO Box 40100
                                      Olympia, WA 98504-0100
                                       peterg@atg.wa.gov
                                      Tel. (360) 753-6245




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


NEW YORK IMMIGRATION                                   Civil Action No. 1:18-cv-05025-JMF
COALITION, et. al,                                                   [r: 1:18-cv-02921-JMF]

                       Plaintiff,                      Hon. Jesse M. Furman

                        v.                             PLAINTIFFS’ INITIAL DISCLOSURES
                                                       PURSUANT TO FRCP 26(A)(1)
UNITED STATES DEPARTMENT OF
COMMERCE, et. al,

                       Defendant.



                                    PRELIMINARY STATEMENT

               Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiffs New York

Immigration Coalition (“NYIC”), Casa de Maryland (“Casa”), American-Arab Anti-

Discrimination Committee (“ADC”), ADC Research Institute, and Make the Road New York

(“MRNY”) (collectively, “Plaintiffs”) hereby make the following initial disclosures. Plaintiffs

have made a reasonable and good faith effort to prepare the disclosures set forth herein.

However, Plaintiffs have not completed their review of the evidence in connection with this case.

Consequently, other potential witnesses, subjects of information, and/or categories of documents

within the scope of these disclosures may be identified as discovery proceeds and as the case

develops. Therefore, Plaintiffs reserve the right to modify, amend, or supplement these

disclosures at a later time as appropriate, and at any time before trial in this matter.

       These disclosures are made without waiving: (i) the right to object on the grounds of

competency, the attorney-client privilege, attorney work-product protections, undue burden,

relevancy, materiality, hearsay or any other proper ground; (ii) the right to object to the




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production or use of any information, for any purpose, in whole or in part, in any proceeding in

this or any other action; or (iii) the right to object on any and all grounds, at any time, to any

other discovery request or proceeding involving or relating to the subject matter of these

disclosures.

       I.      Rule 26(a)(1)(A)(i): Individuals Likely to Have Discoverable Information
               that Plaintiffs May Use to Support Their Claims or Defenses

       Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(i), the chart below sets forth (1) the individuals,

not including expert witnesses, that Plaintiffs have identified who are likely to have discoverable

information that Plaintiffs may use to support their claims; and (2) to the extent reasonably

determinable by Plaintiffs at this time, the subjects of the information about which these

individuals may have knowledge. Plaintiffs have attempted to provide complete information

regarding the subjects about which the identified individual has knowledge, but the individual

may have knowledge of subjects in addition to, or other than, those listed. References to an

individual’s

employment title refers either to the individual’s current or prior title.

       A. Plaintiffs

Name                Title             Subject Matter               Contact Information
Steven K. Choi      Executive         Mr. Choi is likely to        c/o Arnold & Porter Kaye
                    Director,   New   have information             Scholer LLP
                    York              about NYIC’s Census          (212) 607-3300
                    Immigration       education and                601 Massachusetts Ave, N.W.
                    Coalition         outreach efforts;            Washington, DC 20001-3743
                                      Census-guided                (202) 942-5000
                                      funding streams; and
                                      organizational
                                      mission, programs,
                                      services, and
                                      membership.
Elizabeth           Vice-President of Ms. Plum is likely to        c/o Arnold & Porter Kaye
(Betsy) Plum        Policy,     New have information               Scholer LLP
                    York              about NYIC’s Census          (212) 607-3300


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                 Immigration      education and             601 Massachusetts Ave, N.W.
                 Coalition        outreach efforts;         Washington, DC 20001-3743
                                  Census-guided             (202) 942-5000
                                  funding streams; and
                                  organizational
                                  mission, programs,
                                  services, and
                                  membership.
Elizabeth        Coordinator,     Ms. Ouyang is likely      c/o Arnold & Porter Kaye
Ouyang           New         York to have information       Scholer LLP
                 Counts     2020, about NYIC’s Census       (212) 607-3300
                 New         York education and             601 Massachusetts Ave, N.W.
                 Immigration      outreach efforts.         Washington, DC 20001-3743
                 Coalition                                  (202) 942-5000

Lindolfo         Director     of   Mr. Carballo is likely   c/o Arnold & Porter Kaye
Carballo         Workforce         to have information      Scholer LLP
                 Development,      about CASA’s             601 Massachusetts Ave, N.W.
                 Education, and    outreach effort made     Washington, DC 20001-3743
                 Employment,       in 2010, its planning    (202) 942-5000
                 CASA         de   for the Census
                 Maryland          outreach effort in
                                   2020, any anticipated
                                   diversion of its
                                   resources because of
                                   the increased effort,
                                   and the increased fear
                                   of interactions with
                                   the government on
                                   the part of its
                                   communities.
George Escobar   Senior Director   Mr. Escobar is likely    c/o Arnold & Porter Kaye
                 of Health and     to have information      Scholer LLP
                 Human Services,   about CASA’s             601 Massachusetts Ave, N.W.
                 CASA         de   outreach effort made     Washington, DC 20001-3743
                 Maryland          in 2010, its planning    (202) 942-5000
                                   for the Census
                                   outreach effort in
                                   2020, any anticipated
                                   diversion of its
                                   resources because of
                                   the increased effort,
                                   and the increased fear
                                   of interactions with
                                   the government on
                                   the part of its


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                                     communities.
Kimberley        Chief of Politics   Ms. Propeack is           c/o Arnold & Porter Kaye
Propeack         and                 likely to have            Scholer LLP
                 Communications,     information about         601 Massachusetts Ave, N.W.
                 CASA           de   CASA’s outreach           Washington, DC 20001-3743
                 Maryland            effort made in 2010,      (202) 942-5000
                                     its planning for the
                                     Census outreach
                                     effort in 2020, any
                                     anticipated diversion
                                     of its resources
                                     because of the
                                     increased effort, and
                                     the increased fear of
                                     interactions with the
                                     government on the
                                     part of its
                                     communities.
Gustavo Torres   Executive           Mr. Torres is likely to   c/o Arnold & Porter Kaye
                 Director, CASA      have information          Scholer LLP
                 de Maryland         about CASA’s              601 Massachusetts Ave, N.W.
                                     planning for the          Washington, DC 20001-3743
                                     Census outreach           (202) 942-5000
                                     effort in 2020, any
                                     anticipated diversion
                                     of its resources
                                     because of the
                                     increased effort, and
                                     the increased fear of
                                     interactions with the
                                     government on the
                                     part of its
                                     communities.
Samer Khalaf     President,          Mr. Khalaf is likely      c/o Arnold & Porter Kaye
                 American-Arab       to have information       Scholer LLP
                 Anti-               about ADC’s Census        (212) 607-3300
                 Discrimination      education and             601 Massachusetts Ave, N.W.
                 Committee           outreach efforts; and     Washington, DC 20001-3743
                                     organizational            (202) 942-5000
                                     mission, programs,
                                     and membership; and
                                     the anticipated
                                     diversion of its
                                     resources because of
                                     the increased effort,
                                     because of the


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                                    increased fear of
                                    interactions with the
                                    government on the
                                    part of its
                                    communities.
Abed A. Ayoub   National Legal      Mr. Ayoub is likely     c/o Arnold & Porter Kaye
                and       Policy    to have information     Scholer LLP
                Director of the     about ADC’s Census      (212) 607-3300
                American-Arab       education and           601 Massachusetts Ave, N.W.
                Anti-               outreach efforts; and   Washington, DC 20001-3743
                Discrimination      organizational          (202) 942-5000
                Committee           mission, programs,
                                    and membership; and
                                    the anticipated
                                    diversion of its
                                    resources because of
                                    the increases in this
                                    effort because of the
                                    increased fear of
                                    interactions with the
                                    government on the
                                    part of its
                                    communities. Mr.
                                    Ayoub is also likely
                                    to have information
                                    about reports from
                                    ADC members who
                                    have expressed fear
                                    and concern about
                                    census participation
                                    because of the
                                    addition of the
                                    citizenship question.
Nabil Mohamad   Vice-President of   Mr. Mohamad is          c/o Arnold & Porter Kaye
                the   American-     likely to have          Scholer LLP
                Arab        Anti-   information about       (212) 607-3300
                Discrimination      ADC’s Census            601 Massachusetts Ave, N.W.
                Committee           education and           Washington, DC 20001-3743
                                    outreach efforts; and   (202) 942-5000
                                    organizational
                                    mission, programs,
                                    and membership; and
                                    the anticipated
                                    diversion of its
                                    resources because of
                                    the increases in this


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                                     effort because of the
                                     increased fear of
                                     interactions with the
                                     government on the
                                     part of its
                                     communities..
ADC Research Same individuals        Mr. Khalaf, Mr.         c/o Arnold & Porter Kaye
Institute    as named for            Ayoub and Mr.           Scholer LLP
             ADC                     Mohamad are likely      (212) 607-3300
                                     to have information     601 Massachusetts Ave, N.W.
                                     about ADCRI’s           Washington, DC 20001-3743
                                     Census education and    (202) 942-5000
                                     outreach efforts, and
                                     organizational
                                     mission.
Javier Valdes    Co-Executive        Mr. Valdes is likely    c/o Arnold & Porter Kaye
                 Director, Make      to have information     Scholer LLP
                 the Road New        about MRNY’s            (212) 607-3300
                 York                Census education and    601 Massachusetts Ave, N.W.
                                     outreach efforts;       Washington, DC 20001-3743
                                     Census-guided           (202) 942-5000
                                     funding streams;
                                     organizational
                                     mission, programs,
                                     services, and
                                     membership.
Daniel           Director of Civic   Mr. Altschuler is       c/o Arnold & Porter Kaye
Altschuler       Engagement and      likely to have          Scholer LLP
                 Research, Make      information about       (212) 607-3300
                 the Road New        MRNY’s Census           601 Massachusetts Ave, N.W.
                 York                education and           Washington, DC 20001-3743
                                     outreach efforts;       (202) 942-5000
                                     Census-guided
                                     funding streams;
                                     organizational
                                     mission, programs,
                                     services, and
                                     membership.
Yaritza Mendez   Immigration &       Ms. Mendez is likely    c/o Arnold & Porter Kaye
                 Civil Rights        to have information     Scholer LLP
                 Coordinator,        about MRNY’s            (212) 607-3300
                 Make the Road       Census education and    601 Massachusetts Ave, N.W.
                 New York            outreach efforts and    Washington, DC 20001-3743
                                     organizational          (202) 942-5000
                                     mission, programs,
                                     services, and


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                                  membership.
Natalia            Co-Director of Ms. Aristizabal is              c/o Arnold & Porter Kaye
Aristizabal        Organizing,    likely to have                  Scholer LLP
                   Make the Road information about                (212) 607-3300
                   New York       MRNY’s Census                   601 Massachusetts Ave, N.W.
                                  education and                   Washington, DC 20001-3743
                                  outreach efforts;               (202) 942-5000
                                  Census-guided
                                  funding streams; and
                                  organizational
                                  mission, programs,
                                  services, and
                                  membership.


       Other parties and individuals are also likely to have discoverable information that

Plaintiffs may use to support their claims. These include the individuals listed below. In addition

to those individuals, Plaintiffs expressly incorporate into these Initial Disclosures all of the

individuals and entities that have been identified in the initial disclosures or other discovery

responses of any other party in this action or related actions as individuals or entities likely to

have discoverable information.


       B. Defendants

Name              Title                Subject Matter       Contact Information
Brooke            Senior Advisor,      Mr. Alexander is     c/o Department of
Alexander         Department of        likely to have       Justice
                  Commerce             information
                                       regarding the
                                       motivation for
                                       adding the
                                       citizenship question
                                       to the Decennial
                                       Census, the
                                       necessity of
                                       Decennial Census
                                       data for VRA
                                       enforcement, the
                                       process by which
                                       the decision was


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                               made to add the
                               citizenship question
                               to the Decennial
                               Census, the normal
                               process and
                               procedures for
                               adding questions to
                               the Decennial
                               Census,
                               communications
                               outside the
                               Commerce
                               Department
                               regarding the
                               citizenship
                               question, the
                               impact of the
                               citizenship question
                               of responsiveness
                               among certain
                               populations,
                               foreseeable
                               undercounts, and
                               the impact of
                               undercounts on
                               other federal
                               programs and
                               political
                               apportionment.
Karen Dunn   Under Secretary   Ms. Dunn Kelly is    c/o Department of
Kelly        of Commerce for likely to have         Justice
             Economic Affairs, information
             Commerce          regarding the
             Department        motivation for
                               adding the
                               citizenship question
                               to the Decennial
                               Census, the
                               necessity of
                               Decennial Census
                               data for VRA
                               enforcement, the
                               process by which
                               the decision was
                               made to add the
                               citizenship question



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                                    to the Decennial
                                    Census, the normal
                                    process and
                                    procedures for
                                    adding questions to
                                    the Decennial
                                    Census,
                                    communications
                                    outside the
                                    Commerce
                                    Department
                                    regarding the
                                    citizenship
                                    question, the
                                    impact of the
                                    citizenship question
                                    of responsiveness
                                    among certain
                                    populations,
                                    foreseeable
                                    undercounts, and
                                    the impact of
                                    undercounts on
                                    other federal
                                    programs and
                                    political
                                    apportionment.
Brian Lenihan   Senior Advisor to Mr. Lenihan is         c/o Department of
                the Chief of Staff likely to have        Justice
                to the Secretary of information
                Commerce;           regarding the
                Former Acting       motivation for
                Assistant           adding the
                Secretary for       citizenship question
                Legislative and     to the Decennial
                Intergovernmental Census.
                Affairs
Kevin           Senior Public       Mr. Manning is       c/o Department of
Manning         Affairs             likely to have       Justice
                Coordinator,        information
                Department of       regarding the
                Commerce            motivation for
                                    adding the
                                    citizenship question
                                    to the Decennial
                                    Census.


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Wilbur Ross   Secretary of        Mr. Ross is likely     c/o Department of
              Commerce            to have information    Justice
                                  regarding the
                                  motivation for
                                  adding the
                                  citizenship question
                                  to the Decennial
                                  Census, the
                                  necessity of
                                  Decennial Census
                                  data for VRA
                                  enforcement, the
                                  process by which
                                  the decision was
                                  made to add the
                                  citizenship question
                                  to the Decennial
                                  Census, the normal
                                  process and
                                  procedures for
                                  adding questions to
                                  the Decennial
                                  Census,
                                  communications
                                  outside the
                                  Commerce
                                  Department
                                  regarding the
                                  citizenship
                                  question, the
                                  impact of the
                                  citizenship question
                                  of responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts, and
                                  the impact of
                                  undercounts on
                                  other federal
                                  programs and
                                  political
                                  apportionment.
Wendy         Chief of Staff to   Ms. Teramoto is        c/o Department of
Teramoto      Secretary of        likely to have         Justice
              Commerce            information



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             Wilbur Ross      regarding
                              communications
                              within and outside
                              the Commerce
                              Department
                              regarding the
                              citizenship
                              question.
Michael      Deputy General   Mr. Walsh is likely c/o Department of
Walsh        Counsel,         to have information Justice
             Department of    regarding the
             Commerce         motivation for
                              adding the
                              citizenship question
                              to the Decennial
                              Census, the
                              necessity of
                              Decennial Census
                              data for VRA
                              enforcement, the
                              process by which
                              the decision was
                              made to add the
                              citizenship question
                              to the Decennial
                              Census, the normal
                              process and
                              procedures for
                              adding questions to
                              the Decennial
                              Census,
                              communications
                              outside the
                              Commerce
                              Department
                              regarding the
                              citizenship
                              question, the
                              impact of the
                              citizenship question
                              of responsiveness
                              among certain
                              populations,
                              foreseeable
                              undercounts, and
                              the impact of



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                               undercounts on
                               other federal
                               programs and
                               political
                               apportionment.
John Abowd   Chief Scientist   Mr. Abowd is         c/o Department of
             and Associate     likely to have       Justice
             Director for      information
             Research and      regarding the
             Methodology,      motivation for
             Census Bureau     adding the
                               citizenship question
                               to the Decennial
                               Census, the
                               necessity of
                               Decennial Census
                               data for VRA
                               enforcement, the
                               process by which
                               the decision was
                               made to add the
                               citizenship question
                               to the Decennial
                               Census, the normal
                               process and
                               procedures for
                               adding questions to
                               the Decennial
                               Census,
                               communications
                               outside the
                               Commerce
                               Department
                               regarding the
                               citizenship
                               question, the
                               impact of the
                               citizenship question
                               of responsiveness
                               among certain
                               populations,
                               foreseeable
                               undercounts, and
                               the impact of
                               undercounts on
                               other federal



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                                  programs and
                                  political
                                  apportionment.
Karen Battle   Division Chief,    Ms. Battle is likely   c/o Department of
               Population         to have information    Justice
               Division, Census   regarding
               Bureau             communications
                                  within and outside
                                  the Commerce
                                  Department
                                  regarding the
                                  citizenship
                                  question, and the
                                  decision making
                                  process regarding
                                  the same.
Michael        Acting Chief,      Mr. Berning is         c/o Department of
Berning        Center for         likely to have         Justice
               Administrative     information
               Records Research   regarding the
               and                impact of the
               Applications,      citizenship question
               Census Bureau      of responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts, and
                                  the process by
                                  which the decision
                                  to add the
                                  citizenship question
                                  to the Decennial
                                  Census was made.
Robert         Stakeholder        Mr. Bernstein is       c/o Department of
Bernstein      Relations Staff,   likely to have         Justice
               Decennial          information
               Communications     regarding
               Coordination       communications
               Office, Census     within and outside
               Bureau             the Commerce
                                  Department
                                  regarding the
                                  citizenship
                                  question, and the
                                  decision making
                                  process regarding


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                                   the same.
Kaile Bower   Chief, Integrated    Ms. Bower is likely    c/o Department of
              Partnership and      to have information    Justice
              Communications       regarding the
              Branch, Census       normal process and
              Bureau               procedures for
                                   adding questions to
                                   the Decennial
                                   Census, the impact
                                   of the citizenship
                                   question of
                                   responsiveness
                                   among certain
                                   populations,
                                   foreseeable
                                   undercounts, and
                                   the process by
                                   which the decision
                                   to add the
                                   citizenship question
                                   to the Decennial
                                   Census was made.
Steven        Assistant Director   Mr. Buckner is         c/o Department of
Buckner       of                   likely to have         Justice
              Communications,      information
              Census Bureau        regarding the
                                   impact of the
                                   citizenship question
                                   of responsiveness
                                   among certain
                                   populations,
                                   foreseeable
                                   undercounts, and
                                   the process by
                                   which the decision
                                   to add the
                                   citizenship question
                                   to the Decennial
                                   Census was made.
Cheryl V.     Chief, Internal      Ms. Chambers is        c/o Department of
Chambers      Communications       likely to have         Justice
              Staff, Decennial     information
              Communications       regarding
              Coordination         communications
              Office, Census       within and outside
              Bureau               the Commerce


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                                     Department
                                     regarding the
                                     citizenship
                                     question, and the
                                     decision making
                                     process regarding
                                     the same.
Jennifer        Statistician,        Ms Childs is likely    c/o Department of
Hunter Childs   Census Bureau        to have information    Justice
                                     regarding the
                                     normal process and
                                     procedures for
                                     adding questions to
                                     the Decennial
                                     Census, the impact
                                     of the citizenship
                                     question of
                                     responsiveness
                                     among certain
                                     populations,
                                     foreseeable
                                     undercounts and
                                     the process by
                                     which the decision
                                     to add the
                                     citizenship question
                                     to the Decennial
                                     Census was made.
Michael C.      Division Chief,      Mr. Cook is likely     c/o Department of
Cook Sr.        Public               to have information    Justice
                Information          regarding
                Office, Census       communications
                Bureau               within and outside
                                     the Commerce
                                     Department
                                     regarding the
                                     citizenship
                                     question, and the
                                     decision making
                                     process regarding
                                     the same.
Joanne          Associate            Ms. Crane is likely    c/o Department of
Buenzli         Director for         to have information    Justice
Crane           Administration       regarding
                and Chief            motivations of the
                Financial Officer,   defendants in


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               Census Bureau       deciding to add the
                                   citizenship question
                                   to the Decennial
                                   Census and the
                                   process by which
                                   the decision to add
                                   the citizenship
                                   question to the
                                   Decennial Census
                                   was made.
Aref N.        Mathematical        Mr. Dajani is likely   c/o Department of
Dajani         Statistician Center to have information    Justice
               for Disclosure      regarding how
               Avoidance           providing the
               Research, Census citizenship data at
               Bureau              the block level
                                   would affect
                                   disclosure
                                   avoidance plans for
                                   the 2020 Census
                                   and to what extent
                                   this was considered
                                   prior to any
                                   decision that was
                                   made on adding the
                                   citizenship
                                   question.
James          Office of the       Mr. Dinwiddle is       c/o Department of
Dinwiddle      Associate           likely to have         Justice
               Director for        information
               Decennial Census regarding
               Programs, Census communications
               Bureau              within and outside
                                   the Commerce
                                   Department
                                   regarding the
                                   citizenship
                                   question, and the
                                   decision making
                                   process regarding
                                   the same.
John Eltinge   Assistant Director Mr. Eltinge is          c/o Department of
               for Research and    likely to have         Justice
               Methodology,        information
               Census Bureau       regarding the
                                   normal process and


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                                  procedures for
                                  adding questions to
                                  the Decennial
                                  Census, the impact
                                  of the citizenship
                                  question of
                                  responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts and
                                  the process by
                                  which the decision
                                  to add the
                                  citizenship question
                                  to the Decennial
                                  Census was made.
Naomi         Chief, Media        Ms. Evangelista is     c/o Department of
Evangelista   Relations Branch,   likely to have         Justice
              Public              information
              Information         regarding
              Office, Census      communications
              Bureau              within and outside
                                  the Commerce
                                  Department
                                  regarding the
                                  citizenship
                                  question, and the
                                  decision making
                                  process regarding
                                  the same.
Albert        Associate           Mr. Fontenot is        c/o Department of
Fontenot      Director for        likely to have         Justice
              Decennial           information
              Programs, Census    regarding the
              Bureau              impact of the
                                  citizenship question
                                  of responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts, and
                                  the process by
                                  which the decision
                                  to add the
                                  citizenship question


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                                 to the Decennial
                                 Census was made.
Simson L.    Chief, Center for                          c/o Department of
Garfinkel    Disclosure                                 Justice
             Avoidance
             Research,
             Census Bureau
Misty        Branch Chief,       Ms. Heggeness is       c/o Department of
Heggeness    Social, Economic,   likely to have         Justice
             and Housing         information
             Statistics          regarding the
             Division, Census    impact of the
             Bureau              citizenship question
                                 of responsiveness
                                 among certain
                                 populations,
                                 foreseeable
                                 undercounts, and
                                 the process by
                                 which the decision
                                 to add the
                                 citizenship question
                                 to the Decennial
                                 Census was made.
Ron Jarmin   Acting Director,    Mr. Jarmin is likely   c/o Department of
             Census Bureau       to have information    Justice
                                 regarding the
                                 motivation for
                                 adding the
                                 citizenship question
                                 to the Decennial
                                 Census, the
                                 necessity of
                                 Decennial Census
                                 data for VRA
                                 enforcement, the
                                 process by which
                                 the decision was
                                 made to add the
                                 citizenship question
                                 to the Decennial
                                 Census, the normal
                                 process and
                                 procedures for
                                 adding questions to
                                 the Decennial


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                                  Census,
                                  communications
                                  outside the
                                  Commerce
                                  Department
                                  regarding the
                                  citizenship
                                  question, the
                                  impact of the
                                  citizenship question
                                  of responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts, and
                                  the impact of
                                  undercounts on
                                  other federal
                                  programs and
                                  political
                                  apportionment.
Christa Jones   Deputy Chief,     Ms. Jones is likely    c/o Department of
                Congressional     to have information    Justice
                and               regarding the
                Intergovernmental motivation for
                Affairs at US     adding the
                Census Bureau     citizenship question
                                  to the Decennial
                                  Census and the
                                  normal process and
                                  procedures for
                                  adding questions to
                                  the Decennial
                                  Census.
Shawn           Director of       Mr. Klimek is          c/o Department of
Klimek          Research,         likely to have         Justice
                Center for        information
                Economic          regarding the
                Studies, Census   impact of the
                Bureau            citizenship question
                                  of responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts, and
                                  the process by


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                                which the decision
                                to add the
                                citizenship question
                                to the Decennial
                                Census was made.
Francine     Customer           Ms. Krasowka is        c/o Department of
Krasowska    Experience         likely to have         Justice
             Analyst, Center    information
             for New Media & regarding
             Promotion,         communications
             Census Bureau      within and outside
                                the Commerce
                                Department
                                regarding the
                                citizenship
                                question, and the
                                decision making
                                process regarding
                                the same.
Enrique      Deputy Director    Mr. Lamas is likely    c/o Department of
Lamas        and Chief          to have information    Justice
             Operating Officer, regarding the
             Census Bureau      motivation for
                                adding the
                                citizenship question
                                to the Decennial
                                Census, the
                                necessity of
                                Decennial Census
                                data for VRA
                                enforcement, the
                                process by which
                                the decision was
                                made to add the
                                citizenship question
                                to the Decennial
                                Census, the normal
                                process and
                                procedures for
                                adding questions to
                                the Decennial
                                Census,
                                communications
                                outside the
                                Commerce
                                Department


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                                     regarding the
                                     citizenship
                                     question, the
                                     impact of the
                                     citizenship question
                                     of responsiveness
                                     among certain
                                     populations,
                                     foreseeable
                                     undercounts, and
                                     the impact of
                                     undercounts on
                                     other federal
                                     programs and
                                     political
                                     apportionment.
Tim Olson       Director for Field   Mr. Olson is likely    c/o Department of
                Operations,          to have information    Justice
                Census Bureau        regarding
                                     communications
                                     within and outside
                                     the Commerce
                                     Department
                                     regarding the
                                     citizenship
                                     question, and the
                                     decision making
                                     process regarding
                                     the same.
Eloise Parker   Assistant            Ms. Parker is likely   c/o Department of
                Director,            to have information    Justice
                Demographic          regarding the
                Programs, Census     impact of the
                Bureau               citizenship question
                                     of responsiveness
                                     among certain
                                     populations,
                                     foreseeable
                                     undercounts, and
                                     the process by
                                     which the decision
                                     to add the
                                     citizenship question
                                     to the Decennial
                                     Census was made.
Sonya Rastogi Assistant Center       Ms. Porter is likely   c/o Department of


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Porter           Chief for            to have information    Justice
                 Research, Center     regarding the
                 for                  normal process and
                 Administrative       procedures for
                 Records Research     adding questions to
                 and Applications,    the Decennial
                 Census Bureau        Census, the impact
                                      of the citizenship
                                      question of
                                      responsiveness
                                      among certain
                                      populations,
                                      foreseeable
                                      undercounts and
                                      the process by
                                      which the decision
                                      to add the
                                      citizenship question
                                      to the Decennial
                                      Census was made.
Roberto          Branch Chief,        Mr. Ramirez is         c/o Department of
Ramirez          Ethnicity and        likely to have         Justice
                 Ancestry             information
                 Statistics Branch,   regarding the
                 Population           impact of the
                 Division, Census     citizenship question
                 Bureau               of responsiveness
                                      among certain
                                      populations,
                                      foreseeable
                                      undercounts, and
                                      the process by
                                      which the decision
                                      to add the
                                      citizenship question
                                      to the Decennial
                                      Census was made.
Burton Reist     Decennial            Mr. Reist is likely    c/o Department of
                 Communications       to have information    Justice
                 & Stakeholder        regarding
                 Relations, Census    motivations of the
                 Bureau               defendants in
                                      deciding to add the
                                      citizenship question
                                      to the Decennial
                                      Census and the


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                                    process by which
                                    the decision to add
                                    the citizenship
                                    question to the
                                    Decennial Census
                                    was made.
Moniqua L.     Deputy Chief,        Ms. Roberts-Gray     c/o Department of
Roberts-Gray   Media Relations,     is likely to have    Justice
               Public               information
               Information          regarding
               Office, Census       communications
               Bureau               within and outside
                                    the Commerce
                                    Department
                                    regarding the
                                    citizenship
                                    question, and the
                                    decision making
                                    process regarding
                                    the same.
James Rockas   Former press         Mr. Rockas is
               Secretary and        likely to have
               Deputy Director      information
               of Public Affairs,   regarding the
               Department of        motivation for
               Commerce             adding the
                                    citizenship question
                                    to the Decennial
                                    Census.

Jennifer C.    Senior Advisor,      Ms. Shopkorn is      c/o Department of
Shopkorn       Communications       likely to have       Justice
               Directorate,         information
               Census Bureau        regarding
                                    communications
                                    within and outside
                                    the Commerce
                                    Department
                                    regarding the
                                    citizenship
                                    question, and the
                                    decision making
                                    process regarding
                                    the same.
Tara Tadlock   Congressional        Ms. Tadlock is       c/o Department of
               Affairs Office       likely to have       Justice


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              Branch Chief,      information
              Office of          regarding
              Congressional      communications
              and                within and outside
              Intergovernmental  the Commerce
              Affairs, Census    Department
              Bureau             regarding the
                                 citizenship
                                 question, and the
                                 decision making
                                 process regarding
                                 the same.
Christine     Assistant Division Ms. Taylor is likely   c/o Department of
Taylor        Chief, Public      to have information    Justice
              Information        regarding
              Office, Census     communications
              Bureau             within and outside
                                 the Commerce
                                 Department
                                 regarding the
                                 citizenship
                                 question, and the
                                 decision making
                                 process regarding
                                 the same.
Neilan        Program Analyst, Ms. Timberlake is        c/o Department of
Timberlake    Stakeholder        likely to have         Justice
              Relations Staff,   information
              Decennial          regarding
              Communications communications
              Coordination       within and outside
              Office, Census     the Commerce
              Bureau             Department
                                 regarding the
                                 citizenship
                                 question, and the
                                 decision making
                                 process regarding
                                 the same.
James Treat   Assistant Director Mr. Treat is likely    c/o Department of
              of Decennial       to have information    Justice
              Census Programs regarding the
              Directorate,       impact of the
              Census Bureau      citizenship question
                                 of responsiveness
                                 among certain


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                                   populations,
                                   foreseeable
                                   undercounts, and
                                   the process by
                                   which the decision
                                   to add the
                                   citizenship question
                                   to the Decennial
                                   Census was made.
Victoria        Chief, American    Ms. Velkoff is         c/o Department of
Velkoff         Community          likely to have         Justice
                Survey Office,     information
                U.S. Census        regarding the
                Bureau             impact of the
                                   citizenship question
                                   of responsiveness
                                   among certain
                                   populations,
                                   foreseeable
                                   undercounts, and
                                   the process by
                                   which the decision
                                   to add the
                                   citizenship question
                                   to the Decennial
                                   Census was made.
James           Chief,             Mr. Whitehorne is      c/o Department of
Whitehorne      Redistricting Data likely to have         Justice
                Program, Census information
                Bureau             regarding the
                                   necessity of
                                   Decennial Census
                                   data for VRA
                                   enforcement.
Lisa Wolfisch   Acting Director,   Ms. Wolfish is         c/o Department of
                Center for New     likely to have         Justice
                Media &            information
                Promotion,         regarding
                Census Bureau      communications
                                   within and outside
                                   the Commerce
                                   Department
                                   regarding the
                                   citizenship
                                   question, and the
                                   decision making


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                                  process regarding
                                  the same.



      C. Non-Parties

Name            Title             Subject Matter          Contact Information
Fahd Ahmed      Executive         Mr. Ahmed is likely     c/o Arnold & Porter Kaye
                Director, Desis   to have information     Scholer LLP
                Rising Up and     about DRUM’s            (212) 607-3300
                Moving            Census education and    601 Massachusetts Ave, N.W.
                (“DRUM”)          outreach efforts; and   Washington, DC 20001-3743
                                  organizational          (202) 942-5000
                                  mission, programs
                                  and services.
Steve Bannon    Former White      Mr. Bannon is likely
                House Chief       to have information
                Strategist        around the
                                  motivations of the
                                  defendants in adding
                                  the citizenship
                                  question to the
                                  Decennial Census,
                                  and the impact of
                                  undercounts on other
                                  federal programs and
                                  political
                                  apportionment.
Robert Berman   Deputy Chief,     Mr. Berman is likely    c/o Department of Justice
                Voting Section,   to have information
                Civil Rights      around the
                Division,         motivations of the
                Department of     defendants in adding
                Justice           the citizenship
                                  question to the
                                  Decennial Census, as
                                  well as the necessity
                                  of Decennial Census
                                  date to VRA
                                  enforcement.
Lisa            Former Acting     Ms. Blumerman is        Lisa Blumerman
Blumerman       Associate         likely to have
                Director for      information regarding
                2020 Census,      the decision to add
                Census Bureau     the citizenship


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                                question to the
                                Decennial Census,
                                the necessity of
                                Decennial Census
                                data for VRA
                                enforcement, the
                                process by which the
                                decision was made to
                                add the citizenship
                                question to the
                                Decennial Census,
                                the normal process
                                and procedures for
                                adding questions to
                                the Decennial
                                Census,
                                communications
                                outside the
                                Commerce
                                Department regarding
                                the citizenship
                                question, the impact
                                of the citizenship
                                question of
                                responsiveness
                                among certain
                                populations,
                                foreseeable
                                undercounts, and the
                                impact of
                                undercounts on other
                                federal programs and
                                political
                                apportionment.
Eric Branstad   Former Senior   Mr. Branstad is likely Eric Branstad
                White House     to have information
                Advisor,        regarding the
                Department of   motivation for adding
                Commerce        the citizenship
                                question to the
                                Decennial Census,
                                the necessity of
                                Decennial Census
                                data for VRA
                                enforcement, the
                                process by which the



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                                   decision was made to
                                   add the citizenship
                                   question to the
                                   Decennial Census,
                                   the normal process
                                   and procedures for
                                   adding questions to
                                   the Decennial
                                   Census,
                                   communications
                                   outside the
                                   Commerce
                                   Department regarding
                                   the citizenship
                                   question, the impact
                                   of the citizenship
                                   question of
                                   responsiveness
                                   among certain
                                   populations,
                                   foreseeable
                                   undercounts, and the
                                   impact of
                                   undercounts on other
                                   federal programs and
                                   political
                                   apportionment.
Andrew           Assistant to the  Mr. Bremberg is
Bremberg         President and the likely to have
                 Director of the   information around
                 Domestic Policy the motivations of the
                 Council           defendants in adding
                                   the citizenship
                                   question to the
                                   Decennial Census,
                                   and the impact of
                                   undercounts on other
                                   federal programs and
                                   political
                                   apportionment.
Sarah Brinegar   Social Science    Ms. Brinegar is likely c/o Department of Justice
                 Analyst, Civil    to have information
                 Rights Division, around the
                 Department of     motivations of the
                 Justice           defendants in adding
                                   the citizenship


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                                     question to the
                                     Decennial Census, as
                                     well as the necessity
                                     of Decennial Census
                                     date to VRA
                                     enforcement.
Steven           Director of         Mr. Camarota is          Steven Camarota
Camarota         Research, Center    likely to have
                 for Immigration     information around
                 Studies (CIS)       the motivations of the
                                     defendants in adding
                                     the citizenship
                                     question to the
                                     Decennial Census,
                                     and the impact of
                                     undercounts on other
                                     federal programs and
                                     political
                                     apportionment.
Carlyn Cowen     Chief Policy &      Ms. Cowen is likely      c/o Arnold & Porter Kaye
                 Public    Affairs   to have information      Scholer LLP
                 Officer, Chinese    about CPC’s Census       (212) 607-3300
                 American            education and            601 Massachusetts Ave, N.W.
                 Planning            outreach efforts;        Washington, DC 20001-3743
                 Council (“CPC”)     Census-guided            (202) 942-5000
                                     funding streams; and
                                     organizational
                                     mission, programs
                                     and services.
Marlenis de los N/A                  Ms. de los Santos is     c/o Arnold & Porter Kaye
Santos                               likely to have           Scholer LLP
                                     information about the    (212) 607-3300
                                     state and political      601 Massachusetts Ave, N.W.
                                     subdivision in which     Washington, DC 20001-3743
                                     she resides and the      (202) 942-5000
                                     facilities, programs,
                                     and services that she
                                     uses that may benefit
                                     from Census-guided
                                     funding.
Arthur E. Gary   General             Mr. Gary is likely to    c/o Department of Justice
                 Counsel, Justice    have information
                 Management          around the
                 Division,           motivations of the
                 Department of       defendants in adding
                 Justice             the citizenship


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                                   question to the
                                   decennial census, as
                                   well as the necessity
                                   of decennial census
                                   date to VRA
                                   enforcement.
John Gore       Acting Assistant   Mr. Gore is likely to   c/o Department of Justice
                Attorney           have information
                General John       around the
                Gore, Civil        motivations of the
                Rights Division,   defendants in adding
                Department of      the citizenship
                Justice            question to the
                                   Decennial Census, as
                                   well as the necessity
                                   of Decennial Census
                                   date to VRA
                                   enforcement.
Robert Groves   Former Director,   Mr. Groves is likely    Robert Groves
                Census Bureau      to have information
                                   on the impact of the
                                   citizenship question
                                   on responsive rates,
                                   the history of the
                                   census bureau’s
                                   analysis of including
                                   the citizenship
                                   question, and the
                                   normal practices of
                                   the Census Bureau in
                                   adding a question to
                                   the Decennial
                                   Census.
Hermann         Former Deputy      Mr. Haberman is         Hermann Habermann
Habermann       Director, Census   likely to have
                Bureau             information on the
                                   impact of the
                                   citizenship question
                                   on responsive rates,
                                   the history of the
                                   census bureau’s
                                   analysis of including
                                   the citizenship
                                   question, and the
                                   normal practices of
                                   the Census Bureau in


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                                     adding a question to
                                     the Decennial
                                     Census.
Israel (“Izzy”)    Former Acting     Mr. Hernandez is         Israel (“Izzy”) Hernandez
Hernandez          Undersecretary    likely to have
                   of International  information regarding
                   Trade,            the motivation for
                   Department of     adding the citizenship
                   Commerce          question to the
                                     Decennial Census.
T. Christian       Chief, Voting     Mr. Herron is likely     c/o Department of Justice
Herren             Section, Civil    to have information
                   Rights Division, around the
                   Department of     motivations of the
                   Justice           defendants in adding
                                     the citizenship
                                     question to the
                                     Decennial Census, as
                                     well as the necessity
                                     of Decennial Census
                                     date to VRA
                                     enforcement.
Rama         Issa- Executive         Ms. Issa-Ibrahim is      c/o Arnold & Porter Kaye
Ibrahim            Director, Arab- likely to have             Scholer LLP
                   American          information about        (212) 607-3300
                   Association of AAANY’s Census              601 Massachusetts Ave, N.W.
                   New          York education and            Washington, DC 20001-3743
                   (“AAANY”)         outreach efforts; and    (202) 942-5000
                                     organizational
                                     mission, programs
                                     and services.
Steve King         United States     Mr. King is likely to
                   Representative,   have information
                   4th District of   around the
                   Iowa              motivations of the
                                     defendants in adding
                                     the citizenship
                                     question to the
                                     Decennial Census.
Ditas Kitague      California        Ms. Kitague is likely
                   Census            to have information
                   Coordinator       on the effects on
                                     response rates of
                                     adding a citizenship
                                     question to Census.
Kris Kobach        Secretary of      Mr. Kobach is likely


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               State of Kansas    to have information
                                  around the
                                  motivations of the
                                  defendants in adding
                                  the citizenship
                                  question to the
                                  Decennial Census,
                                  and the impact of
                                  undercounts on other
                                  federal programs and
                                  political
                                  apportionment.
Linda Lee      Executive          Ms. Lee is likely to     c/o Arnold & Porter Kaye
               Director, Korean   have information         Scholer LLP
               Community          about KCSMNY’s           (212) 607-3300
               Services      of   Census-guided            601 Massachusetts Ave, N.W.
               Metropolitan       funding streams; and     Washington, DC 20001-3743
               New        York    organizational           (202) 942-5000
               (“KCSMNY”)         mission, programs
                                  and services.
Mae Lee        Chinese            Ms. Lee is likely to     c/o Arnold & Porter Kaye
               Progressive        have information         Scholer LLP
               Association        about CPA’s Census       (212) 607-3300
               (“CPA”)            education and            601 Massachusetts Ave, N.W.
                                  outreach efforts;        Washington, DC 20001-3743
                                  Census-guided            (202) 942-5000
                                  funding streams; and
                                  organizational
                                  mission, programs
                                  and services.
Perla Lopez    N/A                Ms. Lopez is likely to   c/o Arnold & Porter Kaye
                                  have information         Scholer LLP
                                  about the state and      (212) 607-3300
                                  political subdivision    601 Massachusetts Ave, N.W.
                                  in which she resides     Washington, DC 20001-3743
                                  and the facilities,      (202) 942-5000
                                  programs, and
                                  services that she uses
                                  that may benefit from
                                  Census-guided
                                  funding.
Ray López      Director      of   Mr. Lopez is likely to   c/o Arnold & Porter Kaye
               Programs    and    have information         Scholer LLP
               Director      of   about LSA’s Census-      (212) 607-3300
               Environmental      guided funding           601 Massachusetts Ave, N.W.
               Health,   LSA      streams; and             Washington, DC 20001-3743


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                  Family Health      organizational            (202) 942-5000
                  Services           mission, programs
                  (“LSA”)            and services.
Aracelis Lucero   Executive          Ms. Lucero is likely      c/o Arnold & Porter Kaye
                  Director, Masa     to have information       Scholer LLP
                                     about Masa’s Census       (212) 607-3300
                                     education and             601 Massachusetts Ave, N.W.
                                     outreach efforts;         Washington, DC 20001-3743
                                     Census-guided             (202) 942-5000
                                     funding streams; and
                                     organizational
                                     mission, programs
                                     and services.
Alejandra         N/A                Ms. Martin is likely      c/o Arnold & Porter Kaye
Martin                               to have information       Scholer LLP
                                     about the state and       (212) 607-3300
                                     political subdivision     601 Massachusetts Ave, N.W.
                                     in which she resides      Washington, DC 20001-3743
                                     and the facilities,       (202) 942-5000
                                     programs, and
                                     services that she uses
                                     that may benefit from
                                     Census-guided
                                     funding.
Laura McQuade     President    and   Ms. McQuade is            c/o Arnold & Porter Kaye
                  Chief Executive    likely to have            Scholer LLP
                  Officer, Planned   information about         (212) 607-3300
                  Parenthood    of   KCSMNY’s Census-          601 Massachusetts Ave, N.W.
                  New York City      guided funding            Washington, DC 20001-3743
                  (“PPNYC”)          streams; and              (202) 942-5000
                                     organizational
                                     mission, programs
                                     and services.
Larry             Executive          Mr. McReynolds is         c/o Arnold & Porter Kaye
McReynolds        Director, Family   likely to have            Scholer LLP
                  Health Centers     information about         (212) 607-3300
                  at NYU Langone     Family Health             601 Massachusetts Ave, N.W.
                                     Centers at NYU            Washington, DC 20001-3743
                                     Langone’s Census-         (202) 942-5000
                                     guided funding
                                     streams; and
                                     organizational
                                     mission, programs
                                     and services.
Stephen Miller    Senior Advisor     Mr. Miller is likely to
                  to the President   have information


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                                   around the
                                   motivations of the
                                   defendants in adding
                                   the citizenship
                                   question to the
                                   Decennial Census,
                                   and the impact of
                                   undercounts on other
                                   federal programs and
                                   political
                                   apportionment.
Amy O’Hara     Former Head of Ms. O’Hara is likely
               Census Bureau's to have information
               Center for          on Census’ ability to
               Administrative      use administrative
               Records             match data to fulfill
               Research and        the equest for
               Applications        citizenship data in
                                   order to help enforce
                                   the VRA.
Ben Overholt   Statistician,       Mr. Overholt is likely   c/o Department of Justice
               Civil Rights        to have information
               Division,           around the
               Department of       motivations of the
               Justice             defendants in adding
                                   the citizenship
                                   question to the
                                   Decennial Census, as
                                   well as the necessity
                                   of Decennial Census
                                   date to VRA
                                   enforcement.
John Park      Executive           Mr. Park is likely to    c/o Arnold & Porter Kaye
               Director,           have information         Scholer LLP
               MinKwon             about MinKwon’s          (212) 607-3300
               Center          for Census education and     601 Massachusetts Ave, N.W.
               Community           outreach efforts;        Washington, DC 20001-3743
               Action              Census-guided            (202) 942-5000
               (“MinKwon”)         funding streams; and
                                   organizational
                                   mission, programs
                                   and services.
Nancy Potok    Chief statistician Ms. Potok is likely to
               of the United       have information
               States, within      regarding the
               the Office of       necessity of


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                 Management       Decennial Census
                 and Budget       data for VRA
                                  enforcement, the
                                  normal process and
                                  procedures for adding
                                  questions to the
                                  Decennial Census,
                                  communications
                                  outside the
                                  Commerce
                                  Department regarding
                                  the citizenship
                                  question, the impact
                                  of the citizenship
                                  question of
                                  responsiveness
                                  among certain
                                  populations,
                                  foreseeable
                                  undercounts, and the
                                  impact of
                                  undercounts on other
                                  federal programs and
                                  political
                                  apportionment.
William Spisak   Program          Mr. Spisak is likely      c/o Arnold & Porter Kaye
                 Director, Chhaya to have information       Scholer LLP
                 Community        about Chhaya’s            (212) 607-3300
                 Development      Census education and      601 Massachusetts Ave, N.W.
                 Corporation      outreach efforts;         Washington, DC 20001-3743
                 (“Chhaya”)       Census-guided             (202) 942-5000
                                  funding streams; and
                                  organizational
                                  mission, programs
                                  and services.
Dan Torres       Director of      Mr. Torres is likely to
                 Immigrant        have information on
                 Integration      the effects on
                                  response rates of
                                  adding a citizenship
                                  question to Census.
Yatziri Tovar    N/A              Ms. Tovar is likely to    c/o Arnold & Porter Kaye
                                  have information          Scholer LLP
                                  about the state and       (212) 607-3300
                                  political subdivision     601 Massachusetts Ave, N.W.
                                  in which she resides      Washington, DC 20001-3743


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                                        and the facilities,      (202) 942-5000
                                        programs, and
                                        services that she uses
                                        that may benefit from
                                        Census-guided
                                        funding.
Arturo Vargas      Executive            Mr. Vargas is likely
                   Director of          to have information
                   NALEO                on the effects on
                   Educational          response rates of
                   Fund                 adding a citizenship
                                        question to Census.
Rebecca Wertz      Deputy Chief,        Ms. Wertz is likely to   c/o Department of Justice
                   Voting Section,      have information
                   Civil Rights         around the
                   Division,            motivations of the
                   Department of        defendants in adding
                   Justice              the citizenship
                                        question to the
                                        Decennial Census, as
                                        well as the necessity
                                        of Decennial Census
                                        date to VRA
                                        enforcement.


       II.      FRCP 26(a)(1)(A)(ii): Documents
       Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), Plaintiffs identify the following categories and

locations of documents as likely to contain information relevant to disputed matters in this case

that Plaintiffs may use to support their claims, unless solely for impeachment. These disclosures

relate solely to documents within Plaintiffs’ possession, custody, or control. The categories

below reflect those that Plaintiffs have identified as of the date of this disclosure and may not

reflect all categories of documents in Plaintiffs’ possession, custody, or control. Plaintiffs reserve

the right to supplement or amend these categories. By setting forth this information, Plaintiffs do

not admit the relevance or admissibility of any category or any document in any category; nor do

Plaintiffs acknowledge that any request for documents comprising all or part of any of these

categories would be reasonably calculated to lead the discovery of admissible evidence in this


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case, or that the request is otherwise appropriate. Plaintiffs expressly reserve the right to object to

and/or withhold production of any documents in any of the categories set forth below. These

documents are in the form of electronically stored information or hard copy documents. Plaintiffs

reserve the right to use any relevant evidence in support of its claims, regardless of the categories

listed below.

       A. Categories of Documents

   •   Documents related to Plaintiffs’ Census education and outreach efforts and the effect of
       the citizenship question on those efforts

   •   Documents related to Plaintiffs’ Census-guided funded streams

   •   Documents related to Plaintiffs’ organizational missions, programs, membership, and
       services, and the immigrant communities of color that Plaintiffs serve.

       B. Location of Documents

       The above categories of documents include Plaintiffs’ electronic and hard-copy

documents. The electronic documents are located on the computer systems for Plaintiffs and on

individual media. Documents potentially related to Plaintiffs’ complaints are located at

Plaintiffs’ offices, whose addresses are as follows:

Plaintiff                                          Location of Documents

New York Immigration Coalition                     131 W 33rd Street, Ste 610, New York, NY
                                                   10001
Casa de Maryland                                   8151 15th Ave Langley Park, MD 20783

American-Arab Discrimination Committee             1705 DeSales St., NW, Suite                 500,
                                                   Washington DC 20036
ADC Research Institute                             1705 DeSales St., NW, Suite                 500,
                                                   Washington DC 20036
Make the Road New York                             301 Grove Street, Brooklyn, NY 11237




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Plaintiffs’ investigation is ongoing. If, as the case develops, Plaintiffs identify additional

documents or categories of documents in their possession, custody or control that supports their

claims, Plaintiffs will identify them in supplemental disclosures as required under Fed. R. Civ. P.

26(e).

         III.   Rule 26(a)(1)(A)(iii): Computation of Plaintiffs’ Damages

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), other than fees and costs to which it may be

entitled under applicable law, Plaintiffs do not seek damages for this matter from Defendants at

this time.

         IV.    Rule 26(a)(1)(A)(iv): Insurance Policies

         Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iv), Plaintiffs have no applicable insurance

agreements to disclose.



Dated: July 23, 2018



                                              ARNOLD & PORTER KAYE SCHOLER LLP
                                              AMERICAN CIVIL LIBERTIES UNION




                                              By:     /s/ John A. Freedman           _


Dale Ho                                                       Andrew Bauer
David Hausman+                                                Arnold & Porter Kaye Scholer LLP
American Civil Liberties Union Foundation                     250 West 55th Street
125 Broad St.                                                 New York, NY 10019-9710
New York, NY 10004                                            (212) 836-7669
(212) 549-2693                                                Andrew.Bauer@arnoldporter.com
dho@aclu.org
dhausman@aclu.org                                             John A. Freedman
                                                              David P. Gersch*
Sarah Brannon+**                                              Peter T. Grossi, Jr*



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Davin Rosborough**                                          R. Stanton Jones*
Ceridwen Cherry+                                            Eric A. Rubel*
American Civil Liberties Union Foundation                   David J. Weiner*
915 15th Street, NW                                         Robert N. Weiner*
Washington, DC 20005-2313                                   Barbara H. Wootton*
202-675-2337                                                Elisabeth S. Theodore*
sbrannon@aclu.org                                           Daniel F. Jacobson*
drosborough@aclu.org                                        Caroline D. Kelly+
ccherry@aclu.org                                            Christine G. Lao-Scott*
                                                            Jay Z. Leff+
Arthur N. Eisenberg                                         Chase R. Raines+
Christopher T. Dunn                                         Dylan S. Young+
Perry M. Grossman                                           Arnold & Porter Kaye Scholer LLP
New York Civil Liberties Union Foundation                   Massachusetts Avenue, N.W.
125 Broad St.                                               Washington, DC 20001-3743
New York, NY 10004                                          (202) 942-5000
(212) 607-3300 601                                          John.Freedman@arnoldporter.com
pgrossman@nyclu.org

Samer E. Khalaf*
American-Arab Anti-Discrimination Committee
1705 DeSales Street, N.W., Suite 500
Washington, DC 20036
202-244-2990
skhalaf@adc.org

Nicholas Katz*
CASA de Maryland
8151 15th Avenue
Hyattsville, MD 20783
(240) 491-5743
nkatz@wearecasa.org

+ admitted pro hac vice
* designates pro hac vice application forthcoming.
** Not admitted in the District of Columbia; practice limited pursuant to D.C. App. R.
49(c)(3).

                                     Attorneys for Plaintiffs




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.



PLAINTIFF DISTRICT OF COLUMBIA’S FIRST AMENDED INITIAL DISCLOSURES

       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the District of Columbia, by its attorneys,

makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the

District of Columbia. They are made without prejudice to producing information, documents, or

data that are (a) subsequently discovered or determined to be relevant for any purpose, or (b)

produced as a result of ongoing investigations, or (c) subsequently determined to have been

omitted from these disclosures during discovery or at trial.

       2.      Plaintiff District of Columbia reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff District of Columbia hereby expressly reserves all objections to the use of

these Initial Disclosures or any of the information and documents referenced herein in this case.

By referring to documents in the Initial Disclosures, Plaintiff District of Columbia makes no


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representations or concessions regarding the relevancy or appropriateness of any particular

document or types of documents.

       4.      Plaintiff District of Columbia’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiffs from obtaining discovery of individuals not

presently identified. Plaintiff District of Columbia incorporates all individuals identified by all

other parties in these Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff District of Columbia’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff District of Columbia reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff District of Columbia is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff District of Columbia waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth,

and all applicable privileges.

                                 INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff District

of Columbia may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff District of Columbia expressly reserves the right to supplement this disclosure:

   Name                          Contact                Subjects of Discoverable Information
                                 Information

  Fitzroy Lee, PhD               Office of the          Witness has knowledge of the impact of
  Deputy CFO and Chief           Attorney General       decennial census population counts on
  Economist                      for the District of    District of Columbia funding and budgets.
                                 Columbia, 441 4th

                                                  2
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                             Street, N.W., Suite
                             630 South,
                             Washington, DC
                             20001

Sam Zimbabwe                 Office of the         Witness has knowledge of the impact of
Chief Project Delivery       Attorney General      decennial census population counts on
Officer                      for the District of   highway planning and construction and
Office of the Director       Columbia, 441 4th     other funding for the District.
District Department of       Street, N.W., Suite
Transportation               630 South,
                             Washington, DC
                             20001

Elisabeth Morse, Division    Office of the         Witness has knowledge of the impact of
of Systems and Supports      Attorney General      decennial census population counts on
(K-12)                       for the District of   education and other funding for the
D.C. Office of the State     Columbia, 441 4th     District.
Superintendent of            Street, N.W., Suite
Education                    630 South,
                             Washington, DC
                             20001

Elizabeth Groginsky,         Office of the         Witness has knowledge of the impact of
Division of Early Learning   Attorney General      decennial census population counts on
D.C. Office of the State     for the District of   education and other funding for the
Superintendent of            Columbia, 441 4th     District.
Education                    Street, N.W., Suite
                             630 South,
                             Washington, DC
                             20001

Rachel Gittinger, Director   Central American      The witness has knowledge of the impact of
of Citizenship and Civic     Resource Center,      the citizenship question on community
Engagement                   1460 Columbia         members’ willingness to participate in the
                             Road NW, Suite        decennial census process. The witness has
                             C-1, Washington,      knowledge of the heightened fears
                                                   surrounding the 2020 decennial census.
                             DC 20009

Corporate designee(s) of     Office of the         Witness has knowledge of the impact of
the D.C. Department of       Attorney General      decennial census population counts on
Human Services               for the District of   Supplemental Nutrition Assistance
                             Columbia, 441 4th     Program, Foster Care, WIC, and other
                             Street, N.W., Suite   funding for the District.
                             630 South,
                             Washington, DC
                             20001


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  Joy Phillips, PhD             Office of the         Witness has information regarding the
  Associate Director, D.C.      Attorney General      District of Columbia’s use of census
  State Data Center             for the District of   information, its previous and ongoing
  D.C. Office of Planning       Columbia, 441 4th     efforts to improve its residents’ responses
                                Street, N.W., Suite   to the census and the District’s Complete
                                630 South,            Count Committee, the presence of hard-
                                Washington, DC        to-count populations in the District of
                                20001                 Columbia, and areas particularly
                                                      vulnerable to undercounting.

  Lindsey Parker, Deputy        Office of the         The witness has information regarding the
  Chief of Staff, Executive     Attorney General      District of Columbia’s Complete Count
  Office of the Mayor           for the District of   Committee and its efforts to mitigate the
                                Columbia, 441 4th     impact of the citizenship question on non-
                                Street, N.W., Suite   response rates. Witness has knowledge
                                630 South,            concerning outreach efforts conducted by
                                Washington, DC        the Census Bureau.
                                20001


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff District of Columbia’s possession, custody, or control that may be used to support its

claims are described as follows. Plaintiff District of Columbia expressly reserves its right to

supplement this disclosure:

 Document Description                                       Document Location
 Demographic reports concerning hard-to-count               These documents are being
 populations                                                prepared by the D.C. Office of
                                                            Planning, and when in final form
                                                            they will be provided to the New
                                                            York Attorney General’s Office to
                                                            be kept in a Central Repository.
 Proposals and plans to mitigate non-response.              These documents are being
                                                            prepared by the D.C. Complete
                                                            Count Committee, and when in
                                                            final form they will be provided to
                                                            the New York Attorney General’s
                                                            Office to be kept in a Central
                                                            Repository.


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Budget analyses of the impact of undercount.        These documents are being
                                                    prepared by the D.C. Office of the
                                                    Chief Financial Officer, and when
                                                    in final form they will be provided
                                                    to the New York Attorney
                                                    General’s Office to be kept in a
                                                    Central Repository.
D.C. Code § 1-1101.01                               This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
Report on Bill 19-219 the “Ward Redistricting       This document is at a central
Amendment Act of 2011”                              repository administered by the New
                                                    York Attorney General’s Office.
THE 2010 CENSUS: HOW COMPLETE COUNT                 This document is at a central
COMMITTEES, LOCAL GOVERNMENTS,                      repository administered by the New
PHILANTHROPIC ORGANIZATIONS, NOT-FOR-               York Attorney General’s Office.
PROFITS AND THE BUSINESS COMMUNITY CAN
CONTRIBUTE TO AN ACCURATE CENSUS,
HEARING BEFORE THE SUBCOMMITTEE ON
INFORMATION POLICY, CENSUS, AND
NATIONAL ARCHIVES OF THE COMMITTEE ON
OVERSIGHT AND GOVERNMENT REFORM
HOUSE OF REPRESENTATIVES (Dec. 2, 2009)
Subcommittee Report on Bill 14-137, the “Ward       This document is at a central
Redistricting Amendment Act of 2001”                repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 1-1041.02                               This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 1-309.03                                This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 2-1010                                  This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.
D.C. Code § 6-1502                                  This document is at a central
                                                    repository administered by the New
                                                    York Attorney General’s Office.


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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff District of Columbia will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal

Rules of Civil Procedure.



DATED this 31st day of August, 2018.




                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              ROBYN R. BENDER*
                                              Deputy Attorney General,
                                              Public Advocacy Division

                                              By: /s/ Valerie M. Nannery

                                              Valerie M. Nannery, Assistant Attorney General
                                              (admitted pro hac vice)
                                              Public Advocacy Division
                                              441 4th Street, NW
                                              Suite 650 North
                                              Washington, DC 20001
                                              valerie.nannery@dc.gov
                                              Tel. (202) 442-9596
                                              Fax (202) 730-1465




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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


   STATE OF NEW YORK, et al.,

                           Plaintiffs,

              v.                                       18-CV-2921 (JMF)

   UNITED STATES DEPARTMENT
   OF COMMERCE, et al.,

                           Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the Commonwealth of Massachusetts, by and

through its Attorney General, Maura Healey, hereby amends with the following its Initial

Disclosures of July 19, 2018, as additional information has become known to the Commonwealth

in the interim.


                                         INTRODUCTION

       1.         These Amended Initial Disclosures are based upon information presently known to

the Commonwealth of Massachusetts. They are made without prejudice to producing during

discovery or at trial information, documents, or data that are (a) subsequently discovered or

determined to be relevant for any purpose, or (b) produced as a result of ongoing investigations,

or (c) subsequently determined to have been omitted from these disclosures.

       2.         Plaintiff the Commonwealth of Massachusetts reserves the right at any time to

revise and/or supplement these Initial Disclosures.

       3.         Plaintiff the Commonwealth of Massachusetts hereby expressly reserves all

objections to the use for any purpose of these Initial Disclosures or any of the information and

documents referenced herein in this case. By referring to documents in the Initial Disclosures,

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Plaintiff the Commonwealth of Massachusetts makes no representations or concessions regarding

the relevancy or appropriateness of any particular documents or types of documents.

        4.      Plaintiff the Commonwealth of Massachusetts’s identification of individuals

pursuant to Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of

individuals not presently identified. Plaintiff the Commonwealth of Massachusetts incorporates all

individuals identified by all other parties in Plaintiff’s Initial Disclosures and reserves the right to

depose, and to rely upon the testimony of, all such individuals in support of its claims.

        5.      Plaintiff the Commonwealth of Massachusetts’s identification or production of

documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession,

custody or control. Plaintiff the Commonwealth of Massachusetts reserves the right to use all

documents produced by any party or non-party to this action. With these Initial Disclosures,

Plaintiff the Commonwealth of Massachusetts is not identifying documents protected from

disclosure by the attorney-client, work product or other applicable privileges. Nor does Plaintiff

the Commonwealth of Massachusetts waive the right to object to Defendants’ discovery requests

on any basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                 AMENDED INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

        The below listed persons are likely to have discoverable information that Plaintiff the

Commonwealth of Massachusetts may use to support Plaintiff’s claims as detailed in the First

Amended Complaint. Plaintiff the Commonwealth of Massachusetts expressly reserves the right

to supplement this disclosure:




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Name                         Contact Information               Subjects of Discoverable
                                                               Information

Michelle K. Tassinari,       Contact through Counsel for the   Witness has knowledge of:
Director/Legal Counsel,      Commonwealth of Massachusetts
Elections Division,                                            -Complete Count activities within
Office of the Secretary of                                     Massachusetts
the Commonwealth of
Massachusetts                                                  -State-level grant making to
                                                               community groups to fund
                                                               outreach to hard-to-count
                                                               populations and expand census
                                                               participation

                                                               - The impact of the decennial
                                                               census population count on the
                                                               municipal re-precincting process,
                                                               which creates the building blocks
                                                               for redistricting in Massachusetts

Katherine Harvell,           Contact through Counsel for the   Witness has knowledge of:
Chief Financial Officer,     Commonwealth of Massachusetts
Massachusetts Executive                                        -How federal funding for health
Office of Health and                                           related issues received in
Human Services                                                 Massachusetts is calculated
(EOHHS).
                                                               -How an undercount of the
                                                               population of Massachusetts could
                                                               impact the amount of funding
                                                               received

                                                               -How a reduction in federal
                                                               funding would impact
                                                               Massachusetts programs

Liza Ryan,                   Contact through Counsel for the   Witness has knowledge of:
Organizing Director,         Commonwealth of Massachusetts
Massachusetts Immigrant                                        -The impact of the citizenship
and Refugee Advocacy                                           question on community members’
Coalition (MIRA)                                               willingness to participate in the
                                                               decennial census process

                                                               -The heightened fears surrounding
                                                               the 2020 decennial census

                                                               -Outreach efforts conducted to
                                                               encourage participation in the
                                                               census and complete count
                                                               activities

Beth Huang                   Contact through Counsel for the   Witness has knowledge of:
Director,                    Commonwealth of Massachusetts


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  Massachusetts Voter                                           -The impact of the citizenship
  Table                                                         question on community members’
                                                                willingness to participate in the
                                                                decennial census process

                                                                -The heightened fears surrounding
                                                                the 2020 decennial census

                                                                -Outreach efforts conducted to
                                                                encourage participation in the
                                                                census and complete count
                                                                activities

  Phillip Granberry, PhD    Contact through Counsel for the     Witness has knowledge of:
                            Commonwealth of Massachusetts
                                                                -The presence of hard-to-count
                                                                populations in Massachusetts

                                                                -Areas particularly vulnerable to
                                                                undercounting

                                                                -Surveying hard-to-count
                                                                populations in Massachusetts




II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       Plaintiff the Commonwealth of Massachusetts expressly reserves its right to supplement

this disclosure with documents or electronically stored information.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.


IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.


V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:




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       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 17th day of August, 2018.




                             MAURA HEALEY
                             Attorney General for the Commonwealth of Massachusetts


                              By:   /s Jonathan Miller
                                    Jonathan Miller, Assistant Attorney General
                                    Miranda Cover, Assistant Attorney General
                                    Ann E. Lynch, Assistant Attorney General
                                    Public Protection & Advocacy Bureau
                                    Massachusetts Attorney General’s Office
                                    One Ashburton Place
                                    Boston, MA 02108
                                    Jonathan.Miller@state.ma.us
                                    Mercy.Cover@state.ma.us
                                    Ann.Lynch@state.ma.us
                                    Tel. (617) 727-2200
                                    Fax (617) 727-5762




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the City of Columbus, by its

attorney, Zachary M. Klein of the City Attorney’s Office of Columbus, makes the following Initial

Disclosures.
                                        INTRODUCTION

       1.       These Initial Disclosures are based upon information presently known to the City

of Columbus. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.       Plaintiff City of Columbus reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.       Plaintiff City of Columbus hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff City of Columbus makes




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no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff City of Columbus’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Columbus incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Columbus’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Columbus reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of Columbus is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of Columbus waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Columbus may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Columbus expressly reserves the right to supplement this disclosure:

   Name                             Subjects of Discoverable Information

  Anita Clark, fiscal manager in This witness has knowledge of how census driven funds are
  the Columbus Department of distributed to various City organizations and how such
  Health                         decisions are made. Witness also has information about how
                                 much money was expended by each City organization.


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  Carolyn Thurman, Grants          This witness has information regarding the grant formulas
  management coordinator,          that are used to calculate how much funding the City of
  department of finance and        Columbus will receive based on census data.
  management for the City of
  Columbus

  Doug Murray, Policy              This witness has knowledge of the City’s efforts to prepare
  Advisor, Mayor’s Office          for the 2020 census.

  Inna Kinney, CEO of              This witness has knowledge of the impact census driven
  Economic Community               funds have on the City of Columbus. Witness can also speak
  Development Institute            on the hardship the city will face if such funds are not
                                   representative of our population.

  Mohamud Jama, Director of        This witness also has information regarding how an
  the New American Political       additional citizenship question will affect Somali turnout in
  Action Committee                 the census and how a decrease in census-driven funds will
                                   affect this community.

  Ramona Reyes, Director of        This witness has information regarding how adding a
  Our Lady of Guadalope            citizenship question to the census will affect Latino turnout.
  Center                           Witness also has information regarding how a decrease in
                                   census-driven funds will affect the Latino population in
                                   Columbus.

  Roger Cloern, fiscal division    This witness has information regarding the grant formulas
  at the Columbus Department       that are used to calculate how much funding the City of
  of Health                        Columbus will receive based on census data.

  Steve Fireman, GC of             This witness has knowledge of the impact census driven
  Economic Community               funds have on the City of Columbus. Witness can also speak
  Development Institute            on the hardship the city will face if such funds are not
                                   representative of our population.


       Each of the above listed witnesses can be contacted through counsel at the Columbus

City Attorney’s office. Contact information for counsel is:

               Alexandra Pickerill or Richard Coglianese
               77 North Front Street
               Columbus, Ohio 43215
               (614)645-6945 (phone)
               (614)645-0818 (phone)
               (614)645-6949 (fax)
               anpickerill@columbus.gov
               rncoglianese@columbus.gov


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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of Columbus’s possession, custody, or control that may be used by Plaintiff City of

Columbus to support its claims are described as follows. Plaintiff City of Columbus expressly

reserves its right to supplement this disclosure:

 Document Description                                       Document Location
 2015 Comprehensive Annual Financial Report                 This document is at a central
                                                            repository administered by the New
                                                            York Attorney General’s Office
 Details how much money was received in federal funds
 and where those funds were allocated in fiscal year
 2015.
 2016 Comprehensive Annual Financial Report                 This document is at a central
                                                            repository administered by the New
                                                            York Attorney General’s Office
 Details how much money was received in federal funds
 and where those funds were allocated in fiscal year
 2016.
 2017 Comprehensive Annual Financial Report                 This document is at a central
                                                            repository administered by the New
                                                            York Attorney General’s Office
 Details how much money was received in federal funds
 and where those funds were allocated in fiscal year
 2017.
 Assistance Data Catalog of Federal Domestic                This document is at a central
 Assistance                                                 repository administered by the New
                                                            York Attorney General’s Office
 2017 Schedule of Expenditure and Federal Awards            This document is at a central
                                                            repository administered by the New
                                                            York Attorney General’s Office




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2017 Schedule of Expenditure and Federal Awards with   This document is at a central
hand-written department allocations.                   repository administered by the New
                                                       York Attorney General’s Office

Details which departments within the City are given
federal funds based on the census data.
Census Driven Federal Funds_Columbus                   This document is at a central
                                                       repository administered by the New
                                                       York Attorney General’s Office
This excel spreadsheet shows where census-driven
funds have been allocated in the City of Columbus.




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 4th day of September, 2018.




                                            Zach Klein
                                            City Attorney of the City of Ohio

                                             /s/ Zach Klein
                                            Zach Klein
                                            Columbus City Attorney
                                            77 North Front Street
                                            Columbus Ohio, 43215
                                            (614)645-7385
                                            zmklein@columbus.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the City of New York by its

attorney, Zachary W. Carter, Corporation Counsel of the City of New York, makes the following

Initial Disclosures.


                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to City of

New York. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff City of New York reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff City of New York hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff City of New



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York makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.

       4.      Plaintiff City of New York’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of New York incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon

the testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of New York’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of New York reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff City of New York is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff City of New York waive the right to object to Defendants’

discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and all

applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

New York may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of New York expressly reserves the right to supplement this disclosure:

  Name                        Contact Information       Subjects of Discoverable Information

 Joseph Salvo, Director of    Ajay Saini                Witness has information regarding the
 Population Division,         Assistant Attorney        presence of hard-to-count populations in
 NYC Department of City       General                   NYC, and areas particularly vulnerable to
 Planning                     Civil Rights Bureau       undercounting. Witness has knowledge


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                          New York State            concerning the outreach efforts conducted
                          Office of the Attorney    by the Census Bureau.
                          General
                          28 Liberty Street, 20th
                          Floor
                          New York, NY 10271
                          (212) 416-8714


Peter Lobo, Deputy        Ajay Saini                Witness has information regarding the
Director of Population    Assistant Attorney        presence of hard-to-count populations in
Division, NYC             General                   NYC, and areas particularly vulnerable to
Department of City        Civil Rights Bureau       undercounting.
Planning                  New York State
                          Office of the Attorney
                          General
                          28 Liberty Street, 20th
                          Floor
                          New York, NY 10271
                          (212) 416-8714


Nicolas Storellicastro,   Ajay Saini                Witness has knowledge of the impact of
Associate Director, NYC   Assistant Attorney        decennial census population counts on
Office of Management      General                   New York City’s federal grant funding
and Budget                Civil Rights Bureau       and budgets.
                          New York State
                          Office of the Attorney
                          General
                          28 Liberty Street, 20th
                          Floor
                          New York, NY 10271
                          (212) 416-8714

Bitta Mostofi,            Ajay Saini                Witness has knowledge of the impact the
Commissioner, New         Assistant Attorney        addition of a citizenship question will
York City Mayor’s         General                   have on response rates among immigrant
Office of Immigrant       Civil Rights Bureau       New Yorkers.
Affairs                   New York State
                          Office of the Attorney
                          General
                          28 Liberty Street, 20th
                          Floor
                          New York, NY 10271
                          (212) 416-8714



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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff City of New York’s possession, custody, or control that may be used by Plaintiff City of

New York to support its claims are described as follows. Plaintiff City of New York expressly

reserves its right to supplement this disclosure:

Document Description                                       Document Location
The City of New York’s 2000 Census Appeal              This document is at a central
Documentation                                          repository administered by the New
Submitted to the Census Address List Appeals Office by York Attorney General’s Office.
the New York City Department of City Planning,
February 8, 2000.


2010 Census Local Review of Census Addresses               This document is at a central
(LUCA) Documentation                                       repository administered by the New
Submitted by the City of New York on December 17,          York Attorney General’s Office.
2009.


https://www.census.gov/programs-surveys/decennial-         This document is at a central
census/2020-census/planning-management/planning-           repository administered by the New
docs/operational-plan.html                                 York Attorney General’s Office.




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 4th day of September, 2018.




                                            ZACHARY W. CARTER
                                            Corporation Counsel of the City of New York
                                            100 Church Street
                                            New York, NY 10007
                                            Tel: (212) 356-4055



                                            By: ________/s/__________________
                                                Tonya Jenerette
                                                Assistant Corporation Counsel
                                                New York City Law Department
                                                100 Church Street
                                                New York, NY 10007
                                                (212) 356-4055
                                                tjeneret@law.nyc.gov




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                             Plaintiffs,

              V.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                             Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the City of Seattle, by its attorneys, Peter S.

Holmes, Seattle City Attorney, and Gary T. Smith, Assistant City Attorney, makes the following

First Amended Initial Disclosures to identify additional persons likely to have discoverable

information that Plaintiff City of Seattle may use to support Plaintiff's claims as detailed in the

First Amended Complaint.


                                           INTRODUCTION

       1.      These Initial Disclosures are based upon infor nation presently known to the City

of Seattle. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.

       2.      Plaintiff City of Seattle reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff City of Seattle hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

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this case. By referring to documents in the Initial Disclosures, Plaintiff City of Seattle makes no

representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff City of Seattle's identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Seattle incorporates all individuals identified by all other

parties in Plaintiff's Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Seattle's identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Seattle reserves the right to use all documents produced by any party or non-party

to this action. With these Initial Disclosures, Plaintiff City of Seattle is not identifying documents

protected from disclosure by the attorney-client, work product or other applicable privileges. Nor

does Plaintiff City of Seattle waive the right to object to Defendants' discovery requests on any

basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                AMENDED INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Seattle may use to support Plaintiff's claims as detailed in the First Amended Complaint. Plaintiff

City of Seattle expressly reserves the right to supplement this disclosure:

   Name                 Contact Information                     Subjects of Discoverable
                                                                Information

  Kelsey Beck,          c/o Gary Smith —                        The witness has knowledge of the
  Regional Affairs      Gary.Smith@seattle.gov                  impact of decennial census
  Director, Office of
  Intergovernmental
                                                  2
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Relations (OIR),                                  population counts on state/local
City of Seattle                                   funding and budgets.

Ben Noble,           c/o Gary Smith —             The witness has knowledge of the
Director of the      Gary.Smith@seattle.gov       impact of decennial census
City Budget                                       population counts on state/local
Office, City of                                   funding and budgets.
Seattle

Joaquin Uy,          c/o Gary Smith —             The witness has knowledge of the
Communications       Gary.Smith@seattle.gov       impact of the citizenship question
and Outreach                                      on community members'
Manager, Office                                   willingness to participate in the
of Immigrant and                                  decennial census process. The
Refugee Affairs,                                  witness has knowledge of the
City of Seattle                                   heightened fears surrounding the
                                                  2020 decennial census. Witness
                                                  has knowledge concerning
                                                  outreach efforts conducted by the
                                                  Census Bureau.

Mahnaz Eshetu,     c/o Gary Smith —               The witness has knowledge of the
Executive Director Gary.Smith@seattle.gov         impact of the citizenship question
of Refugee                                        on community members'
Women's Alliance                                  willingness to participate in the
                                                  decennial census process. The
                                                  witness has knowledge of the
                                                  heightened fears surrounding the
                                                  2020 decennial census. Witness
                                                  has knowledge concerning
                                                  outreach efforts conducted by the
                                                  Census Bureau.

Diana Canzoneri,     c/o Gary Smith —             Witness has information
Demographer,         Gary.Smith@seattle.gov       regarding the presence of hard-to-
Office of Planning                                count populations in Seattle, and
and Community                                     areas particularly vulnerable to
Development                                       undercounting.
(OPCD), City of
Seattle

Sierra Howlett       c/o Gary Smith —             Witness has information
Browne, Federal      Gary.Smith@seattle.gov       regarding the impact of the
Affairs Director,                                 decennial census population
Office of                                         count on the state redistricting
Intergovernmental                                 process.



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Relations (OIR),
City of Seattle

Kenny Pittman,       c/o Gary Smith —             Witness has information
Senior Policy        Gary.Smith@seattle.gov       regarding the impact of the
Advisor, Office of                                decennial census population
Intergovernmental                                 count on the City of Seattle
Relations (OIR),                                  redistricting process.
City of Seattle

Amy Nguyen,          do Gary Smith —              The witness has information
Community            Gary.Smith@seattle.gov       regarding Seattle's efforts to
Programs                                          mitigate the impact of the
Strategic Advisor,                                citizenship question on non-
Department of                                     response rates. Witness has
Neighborhoods,                                    knowledge concerning outreach
City of Seattle                                   efforts conducted by the Census
                                                  Bureau.




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, "Documents") in

Plaintiff City of Seattle's possession, custody, or control that may be used by Plaintiff City of

Seattle to support its claims are described as follows. Plaintiff City of Seattle expressly reserves

its right to supplement this disclosure:

 Document Description                                        Document Location

 Census Committee Proposal.pptx: City Proposed               This document is at a central
 Census Committee Structure                                  repository administered by the New
                                                             York Attorney General's Office

 MEMO re 2020 Census CCC.PDF: Briefing                       This document is at a central
 Memorandum: 2020 Census Complete Count                      repository administered by the New
 Committee Proposal                                          York Attorney General's Office

 \Webpages\About Seattle - OPCD seattle_gov.htm:             This document is at a central
 Webpage providing Seattle's Population and Household        repository administered by the New
 Statistics                                                  York Attorney General's Office

 Census Open House Working Planning Outline DATA             This document is at a central
 COLLAB.docx: Draft Outline and Agenda City of               repository administered by the New
 Seattle Census Open House                                   York Attorney General's Office

 Copy of OPCD Mayor's Transition Section II Issue List       This document is at a central
 sa dc.xlsx: Spreadsheet provided by OPCD to support         repository administered by the New
 Mayor's transition                                          York Attorney General's Office

 Data Disagg_ A Summary of Best Practice Examples            This document is at a central
 and Challenges from the Pop-Level Subcmte.pptx: A           repository administered by the New
 Summary of Best Practice Examples and Challenges:           York Attorney General's Office
 Analyzing and Reporting Population Demographic Data
 - Produced by the Data Disaggregation Task Force
 Population-Level Subcommittee

 ACS_12_5YR_Foreign Born incl East African                   This document is at a central
 estim.xls: S0502: Selected Characteristics of the           repository administered by the New
 Foreign-Born Population by Period of Entry into the         York Attorney General's Office
 United States




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GESCNA Committee DDTF Briefing Draft V2.pptx:             This document is at a central
Demographic Data Disaggregation Task Force: Gender        repository administered by the New
Equity, Safe Communities, and New Americans               York Attorney General's Office
Committee - December 14, 2016
Demographic Data Task Force Report-FINAL.pdf:             This document is at a central
Memorandum: Demographic Data Task Force Report            repository administered by the New
(Resolution 31613)                                        York Attorney General's Office

Dear Seattle Complete Count Committee                     This document is at a central
members.docx: Subject Line: Census 2010 Open House repository administered by the New
for local govt. and non-profits March 1st at Seattle City York Attorney General's Office
Hall

Demog Data Task Force resources.txt: Subject: Demog       This document is at a central
Data Task Force resources                                 repository administered by the New
                                                          York Attorney General's Office
Demographics & Disparities RSJI 2011 Summit               This document is at a central
Canzoneri Presentation.pptx: Demographics and             repository administered by the New
Disparities: Updated Data on Seattle - 2011 Race and      York Attorney General's Office
Social Justice Initiative (RSJI) Summit October 6, 2011
Workshop Presentation

Disaggregated data for race ethnicity and ancestry        This document is at a central
groups gg edits 3-28 dc 6 10 2018.docx: Accessing         repository administered by the New
Disaggregated Data for Race/Ethnic Groups - Guidance      York Attorney General's Office
from the City of Seattle Demographer

GESCNA Committee DDTF Briefing FINAL.pptx:                This document is at a central
Demographic Data Disaggregation Task Force: Gender        repository administered by the New
Equity, Safe Communities, and New Americans               York Attorney General's Office
Committee - December 14, 2016

Presentation to CEP Class 4 30 2012.ppt: New              This document is at a central
Demographic Data on Seattle and Its Neighborhoods -       repository administered by the New
Presentation to UW CEP303 Social Structures and           York Attorney General's Office
Processes

http://www.seattle.gov/opcd/population-and-               This document is at a central
demographics: Population & Demographics - OPCD            repository administered by the New
seattle_gov_files                                         York Attorney General's Office

http://www.seattle.gov/census2010/committee.htm:          This document is at a central
Seattle Census 2010 Complete Count Committee_files        repository administered by the New
                                                          York Attorney General's Office


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WSDC_Agenda_2017.pdf: Washington State Stat             This document is at a central
Center Annual Meeting - Agenda                          repository administered by the New
                                                        York Attorney General's Office

Final Demographic Data Task Force memo.docx:            This document is at a central
Memorandum: Demographic Data Task Force Report          repository administered by the New
(Resolution 31613)                                      York Attorney General's Office

Using the 2010 Census and ACS to Understand Seattle's   This document is at a central
Demographics for Kenny Backgroundf.ppt: Using the       repository administered by the New
ACS and Census to Understand Local Demographics -       York Attorney General's Office
Presentation to City Council Central Staff




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures — Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures — Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) — Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 27th day of August, 2018.


                                            PETER S. HOLMES
                                            Seattle City Attorney


                                    By:
                                            Gary T. Smith, WSBA # 29718
                                            Assistant City Attorney
                                            Seattle City Attorney's Office
                                            701Fifth Avenue, Suite 2050
                                            Seattle, WA 98104-7097
                                            206.684.8200
                                            gary.smith@seattle.gov




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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                             Plaintiffs,

              v.                                        18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                             Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of Illinois (the “State

of Illinois”), by its attorney, Lisa Madigan, Attorney General of the State of Illinois, makes the

following Initial Disclosures.


                                           INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of Illinois. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, (b) produced as a result of ongoing investigations, or (c) subsequently determined to have

been omitted from these disclosures.

       2.      Plaintiff State of Illinois reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff State of Illinois hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff State of Illinois makes no



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representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of Illinois’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Illinois incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Illinois’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody, or control.

Plaintiff State of Illinois reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of Illinois is not identifying

documents protected from disclosure by the attorney-client, work product, or other applicable

privileges. Nor does Plaintiff State of Illinois waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) Disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

Illinois may use to support Plaintiff’s claims as detailed in the First Amended Complaint. Plaintiff

State of Illinois expressly reserves the right to supplement this disclosure:




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   Name                    Contact Information            Subjects of Discoverable Information

  Erin Aleman,             Office of the Illinois         The witness has knowledge of the impact of
  Director of Planning     Attorney General               decennial census population counts on state
  and Programming,         Matthew J. Martin              transportation funding and budgets.
  Illinois Department of   mmartin@atg.state.il.us
  Transportation           (312) 814-8735


  Annie Brooks,            Office of the Illinois         The witness has knowledge of the impact of
  Federal Liaison and      Attorney General               decennial census population counts on state
  Director of Title        Matthew J. Martin              education funding and budgets.
  Grants, Illinois State   mmartin@atg.state.il.us
  Board of Education       (312) 814-8735




II. Fed R. Civ. P. 26(a)(1)(A)(ii) Disclosures:

        The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Illinois’s possession, custody, or control that may be used by Plaintiff State of

Illinois to support its claims are described as follows. Plaintiff State of Illinois expressly reserves

its right to supplement this disclosure:

 Document Description                                         Document Location
 U.S. Unauthorized Immigration Population Estimates, PEW      This document is at a central repository
 RESEARCH CTR. (Nov. 3, 2016)                                 administered by the New York Attorney
                                                              General’s Office.

 Census 2020: Hard-to-Count Communities in Illinois,          This document is at a central repository
 CUNY MAPPING SERVICE                                         administered by the New York Attorney
                                                              General’s Office.

 Quick Facts: Illinois 2018, U.S. CENSUS BUREAU               This document is at a central repository
                                                              administered by the New York Attorney
                                                              General’s Office.

 Grants to Local Educational Agencies, U.S. DEP’T OF          This document is at a central repository
 EDUC. (July 3, 2018)                                         administered by the New York Attorney
                                                              General’s Office.

 GW INSTITUTE OF PUBLIC POLICY, COUNTING FOR                  This document is at a central repository
 DOLLARS 2020: THE ROLE OF THE DECENNIAL CENSUS IN            administered by the New York Attorney
                                                              General’s Office.


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 THE GEOGRAPHIC DISTRIBUTION OF FEDERAL FUNDS
 (2018)

 GW INSTITUTE OF PUBLIC POLICY: COUNTING FOR                 This document is at a central repository
 DOLLARS 2020 #16: CHILD CARE AND DEVELOPMENT                administered by the New York Attorney
 FUND—ENTITLEMENT (2017)                                     General’s Office.

 Immigrants in Illinois, AM. IMMIGRATION COUNCIL (Oct. 4,    This document is at a central repository
 2017)                                                       administered by the New York Attorney
                                                             General’s Office.

 Notice: Revised Apportionment of Federal-Aid Highway        This document is at a central repository
 Program Funds for Fiscal Year (FY) 2017, FED. HIGHWAY       administered by the New York Attorney
 ADMIN. (Dec. 21, 2016)                                      General’s Office.

 Table 3: FY 2017 Section 5307 and 5340 Urbanized Area       This document is at a central repository
 Formula Appropriations (Full Year), FED. TRANSIT ADMIN.     administered by the New York Attorney
                                                             General’s Office.

 20 Ill. Comp. Stat. 5100/15                                 This document is at a central repository
                                                             administered by the New York Attorney
                                                             General’s Office.




III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

          Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

          Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

          Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.




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DATED this 27th day of August, 2018.




                                       LISA MADIGAN
                                       Attorney General of the State of Illinois

                                        /s/ Matthew J. Martin
                                       Matthew J. Martin
                                       Public Interest Counsel
                                       Office of the Illinois Attorney General
                                       100 West Randolph Street, 11th Floor
                                       Chicago, Illinois 60601
                                       (312) 814-8735
                                       mmartin@atg.state.il.us




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff State of Maryland, by its attorney, John

Grimm, Assistant Attorney General makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of Maryland. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.      Plaintiff State of Maryland reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff State of Maryland hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff State of Maryland makes




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no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of Maryland’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery from individuals not

presently identified. Plaintiff State of Maryland incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of Maryland’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State of Maryland reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of Maryland is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff State of Maryland waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

State of Maryland may use to support Plaintiff’s claims as detailed in the First Amended

Complaint. Plaintiff State of State of Maryland expressly reserves the right to supplement this

disclosure:




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 Name                     Contact Information          Subjects of Discoverable Information

Robert S. McCord          John R. Grimm                The Maryland Department of Planning
Secretary,                Assistant Attorney General   has census-related responsibilities
Maryland Department of    Maryland Office of the       including pre-census activities, allocation
Planning                  Attorney General             of incarcerated individuals to their pre-
                          200 St. Paul Place           incarceration jurisdiction for census
                          Baltimore, MD 21202          purposes, developing outreach programs
                          410-576-6339                 and preparing recommendations for a
                          410-576-6955 (fax)           state-wide Complete Count Committee.
                          jgrimm@oag.state.md.us       Secretary McCord is knowledgeable
                                                       about these efforts.

Corey Stottlemyer                                      Mr. Stottlemyer is knowledgeable about
Senior Policy Analyst,                                 population-based federal transportation
Maryland Department of                                 aid that Maryland receives.
Transportation
Staff of the Maryland                                  Staff of the Maryland Department of
Department of Education                                Education may be knowledgeable about
                                                       Maryland’s receipt of population-based
                                                       federal education funds including Title I
                                                       funds. Staff knowledgeable about these
                                                       matters may include Marcia Sprankle,
                                                       Assistant Superintendent, and James
                                                       Clark.




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Maryland’s possession, custody, or control that may be used by Plaintiff State of

Maryland to support its claims are described as follows. Plaintiff State of Maryland expressly

reserves its right to supplement this disclosure:

 Document Description           Document Location
 Md. Dep’t of Legislative       This document is at a central repository administered by the New York
 Servs., Federal Funds          Attorney General’s Office and is publicly available at
 History (Jan. 2016)            http://mgaleg.maryland.gov/Pubs/BudgetFiscal/2016-Federal-
                                Funds-History.pdf
 Md. FY2018 to FY2020           This document is at a central repository administered by the New York
 Consolidated                   Attorney General’s Office and is publicly available at
 Transportation Program,        http://www.mdot.maryland.gov/newMDOT/Planning/
 2018 State Report on           CTP/CTP_18_23_Final/CTP_FY2018-2023.pdf
 Transportation
 Md, Proposed Operating         This document is at a central repository administered by the New York
 Budget, FY 2019                Attorney General’s Office and is publicly available at
                                http://www.dbm.maryland.gov/budget/Pages/operbudhome.aspx
 United States Census           This document is at a central repository administered by the New York
 Bureau, Use of Census          Attorney General’s Office and is publicly available at
 Bureau Data in Federal         https://www2.census.gov/programs-surveys/decennial/2020/program-
 Funds Distribution (Sept.      management/working-papers/Uses-of-Census-Bureau-Data-in-Federal-
 2017)                          Funds-Distribution.pdf

 Maryland Senate Bill 855       This document is at a central repository administered by the New York
                                Attorney General’s Office and is publicly available at
                                http://mgaleg.maryland.gov/webmga/
                                frmMain.aspx?id=sb0855&stab=01&pid=billpage&tab=subject3&ys=
                                2018RS
 GW Institute of Public         This document is at a central repository administered by the New York
 Policy, Counting for Dollars   Attorney General’s Office and is publicly available at
 2020: The Role of the          https://gwipp.gwu.edu/counting-dollars-2020-role-decennial-census-
 Decennial Census in the        geographic-distribution-federal-funds
 Geographic Distribution of
 Federal Funds




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United States Census         This document is at a central repository administered by the New York
Bureau, 2020 Census          Attorney General’s Office and is publicly available at
Operational Plan             https://www.census.gov/programs-surveys/decennial-census/2020-
                             census/planning-management/planning-docs/operational-plan.html
United States Census         This document is at a central repository administered by the New York
Bureau, Press Release,       Attorney General’s Office and is publicly available at
Census Bureau Releases the   https://www.census.gov/newsroom/press-releases/2018/roam-app.html
Response Outreach Area
Mapper Web Application
(Feb. 7, 2018)




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III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 4th day of September, 2018.




                                            BRIAN E. FROSH
                                            Attorney General of Maryland

                                                    /s/ John R. Grimm
                                            JOHN R. GRIMM
                                            Assistant Attorney General
                                            200 St. Paul Place, 20th Floor
                                            Baltimore, Maryland 21202
                                            410-576-6339 (tel.)
                                            410-576-6955 (fax)
                                            jgrimm@oag.state.md.us




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                          Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of New York (the

“State of New York”), by its attorney, Barbara Underwood, Attorney General of the State of New

York, makes the following Initial Disclosures.


                                        INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the State

of New York. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, (b) produced as a result of ongoing investigations, or (c) subsequently determined

to have been omitted from these disclosures.

       2.      Plaintiff State of New York reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.      Plaintiff State of New York hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced herein

in this case. By referring to documents in the Initial Disclosures, Plaintiff State of New York makes



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no representations or concessions regarding the relevancy or appropriateness of any particular

documents or types of documents.

       4.      Plaintiff State of New York’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of New York incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff State of New York’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody, or control.

Plaintiff State of New York reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of New York is not identifying

documents protected from disclosure by the attorney-client, work product, or other applicable

privileges. Nor does Plaintiff State of New York waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) Disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

New York may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of New York expressly reserves the right to supplement this disclosure:




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 Name                       Contact Information        Subjects of Discoverable Information

John C. Traylor,            New York State Office of   The witness has knowledge of the impact of
Executive Deputy            the Attorney General       decennial census population counts on
Comptroller, Office of      Ajay Saini                 federal funding to the State of New York,
Operations, New York        ajay.saini@ag.ny.gov       and knowledge of resources expended by
State Office of the         (212) 416-8714             the State of New York to mitigate potential
Comptroller                                            undercounting during the decennial census.

Elizabeth OuYang,           New York State Office of   The witness has knowledge of the impact of
Coordinator,                the Attorney General       the citizenship question on community
NYCounts2020                Ajay Saini                 members’ willingness to participate in the
                            ajay.saini@ag.ny.gov       decennial census process, knowledge of the
                            (212) 416-8714             heightened fears surrounding the 2020
                                                       decennial census, and knowledge of efforts
                                                       to mitigate potential undercounting during
                                                       the decennial census.

Individuals with whom       Contact information is     These witnesses have knowledge of the
Secretary Ross              within the custody and     accuracy of representations made in the
“personally had specific    control of Defendants      decision memo about their conversations
conversations on the                                   with Secretary Ross, and their positions on
citizenship question,” as                              the citizenship question, including its
referenced in the March                                potential impact on response rates, and the
26, 2018 decision memo                                 importance of testing a citizenship question
(AR001314)                                             before adding it to the census questionnaire

Members of the Census       Contact information is     These witnesses have knowledge of the
Scientific Advisory         within the custody and     typical processes for researching, designing,
Committee and the           control of Defendants      testing and vetting questions before adding
National Advisory                                      them to census surveys, knowledge of the
Committee                                              recommendations made to the Census
                                                       Bureau about concerns related to immigrant
                                                       anxiety and its potential impact on non-
                                                       response, and knowledge of the concerns
                                                       expressed about adding a citizenship
                                                       question to the 2020 Census questionnaire.




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  Employees of the             Contact information is      These witnesses have knowledge of
  Department of                within the custody and      Defendants’ decision making process,
  Commerce, including the      control of Defendants       history of the citizenship question, policies
  Census Bureau, and                                       and procedures, testing protocols, and
  Department of Justice                                    testing conducted relating to the decennial
                                                           census and American Community Survey.

                                                           These witnesses have information relating
                                                           to the purported need for citizenship
                                                           information, including alternative sources of
                                                           data, and policies and practices relating to
                                                           the enforcement of Section 2 of the Voting
                                                           Rights Act.

                                                           These witnesses have knowledge of the
                                                           impact of the citizenship question on census
                                                           participation, barriers to response rates, and
                                                           Defendants’ follow-up efforts.

  Representative from the      New York State Office of    The witness has knowledge of the impact of
  New York State               the Attorney General        decennial census population counts on
  Education Department         Ajay Saini                  federal education funding to the State of
                               ajay.saini@ag.ny.gov        New York.
                               (212) 416-8714


  Todd Brietbart, former Sr.   New York State Office of    Witness has information regarding the
  Research                     the Attorney General        impact of the decennial census population
  Analyst/Reapportionment,     Ajay Saini                  count on the state redistricting process.
  New York State Senate.       ajay.saini@ag.ny.gov
                               (212) 416-8714



II. Fed R. Civ. P. 26(a)(1)(A)(ii) Disclosures:

       The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of New York’s possession, custody, or control that may be used by Plaintiff State

of New York to support its claims are described as follows. Plaintiff State of New York expressly

reserves its right to supplement this disclosure:

 Document Description                                          Document Location
 A Portrait of Immigrants in New York, Office of the New       This document is at a central repository
 York State Comptroller (Nov. 2016)                            administered by the New York Attorney
                                                               General’s Office.



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U.S. Unauthorized Immigration Population Estimates, Pew         This document is at a central repository
Research Ctr. (Nov. 3, 2016)                                    administered by the New York Attorney
                                                                General’s Office.

Census 2020: Hard-to-Count Communities in New York,             This document is at a central repository
CUNY Mapping Service                                            administered by the New York Attorney
                                                                General’s Office.

Quick Facts: New York 2018, U.S. Census Bureau                  This document is at a central repository
                                                                administered by the New York Attorney
                                                                General’s Office.

Grants to Local Educational Agencies, U.S. Dep’t of Educ.       This document is at a central repository
(July 3, 2018)                                                  administered by the New York Attorney
                                                                General’s Office.

Counting for Dollars 2020: The Role of the Decennial            This document is at a central repository
Census in the Geographic Distribution of Federal Funds,         administered by the New York Attorney
GW Institute of Public Policy (2018)                            General’s Office.

FTA Allocations for Formula and Discretionary Programs          This document is at a central repository
by State FY 1998-2018, Federal Transit Administration           administered by the New York Attorney
                                                                General’s Office.

GW Institute of Public Policy: Counting for Dollars 2020 –      This document is at a central repository
New York, GW Institute of Public Policy (2017)                  administered by the New York Attorney
                                                                General’s Office.

Immigrants in New York, Am. Immigration Council (Oct. 4,        This document is at a central repository
2017)                                                           administered by the New York Attorney
                                                                General’s Office.

Notice: Revised Apportionment of Federal-Aid Highway            This document is at a central repository
Program Funds for Fiscal Year (FY) 2017, Fed. Highway           administered by the New York Attorney
Admin. (Dec. 21, 2016)                                          General’s Office.

Table 3: FY 2017 Section 5307 and 5340 Urbanized Area           This document is at a central repository
Formula Appropriations (Full Year), Fed. Transit Admin.         administered by the New York Attorney
                                                                General’s Office.

Publically available operational planning documents for the     These documents are available at a
2020 Census from the U.S. Census Bureau, including all          central repository administered by the
versions of the 2020 Census Operation Plans, all 2020           New York Attorney General’s Office.
Census Program Briefings and 2020 Census Program
Management Reviews, and all 2020 Census Monthly Status
Reports, U.S. Census Bureau

Publically available documents from the U.S. Census             These documents are available at a
Bureau regarding its historic practices, including Procedural   central repository administered by the
Histories of the 1980 Census, 1990 Census, the History of       New York Attorney General’s Office.
the 2000 Census, documents relating to the history of the

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2010 Census, the Index of Questions from previous
decennial censuses, and previous decennial census
questionnaires

Publically available documents of memoranda and                 These documents are available at a
recommendations made by the Census Scientific Advisory          central repository administered by the
Committee and the National Advisory Committee, and              New York Attorney General’s Office.
responses and updates from the U.S. Census Bureau to
Advisory Committees, as well as charters of those
committees

Publically available documents from the Census Bureau           These documents are available at a
regarding the Bureau’s typical process for making changes       central repository administered by the
to decennial census questions, including documents              New York Attorney General’s Office.
containing standards for research, testing, and evaluation of
proposed changes to questions on the 2020 Census, and
documents containing information about proposed changes
to the Race and Ethnicity question, and proposals to add a
Middle Eastern and North African category to the Race and
Ethnicity question

Publically available documents from the Census Bureau           These documents are available at a
regarding previous and proposed efforts to mitigate non-        central repository administered by the
response during the decennial census, and to follow-up on       New York Attorney General’s Office.
non-response, including documents summarizing outreach
efforts, planning and assessing non-response follow-up
operations, and researching, designing and describing
imputation methods

Publically available documents from the Census Bureau           These documents are available at a
regarding testing for the 2020 Census, including documents      central repository administered by the
planning, designing, and describing the implementation of       New York Attorney General’s Office
tests from 2012 to the present

Publically available documents from the Census Bureau           These documents are available at a
regarding rates of non-response to questions and surveys,       central repository administered by the
including the rates of non-response on the annual American      New York Attorney General’s Office
Community Survey

Respondent Confidentiality Concerns and Possible Effects        This document is at a central repository
on Response Rates and Data Quality for the 2020 Census,         administered by the New York Attorney
National Advisory Committee on Racial, Ethnic and Other         General’s Office.
Populations (Nov. 2, 2017)

Respondent Confidentiality Concerns in Multilingual             This document is at a central repository
Pretesting Studies and Possible Effects on Response Rates       administered by the New York Attorney
and Data Quality for the 2020 Census, U.S. Census Bureau        General’s Office.
(May 16-19, 2018)



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 Respondent Confidentiality Concerns, Memorandum for          This document is at a central repository
 Associate Directorate for Research and Methodology           administered by the New York Attorney
 (ADRM) from Center for Survey Management, U.S. Census        General’s Office.
 Bureau (Sept. 20, 2017)

 Uses of Census Bureau Data in Federal Funds Distribution,    These documents are available at a
 U.S. Census Bureau, (Sept. 2017)                             central repository administered by the
                                                              New York Attorney General’s Office

 Documents relating to statistical policy issued by federal   These documents are publicly available.
 agencies, including the Office of Management and Budget
 and the Census Bureau, including but not limited to
 Statistical Policy Directives No. 1 and 2.

 Documents included in the Administrative Record produced
 by Defendants

 All documents identified by Defendants in their initial
 disclosures

 Documents relating to efforts to mitigate non-response       These documents are available at a
 during decennial censuses.                                   central repository administered by the
                                                              New York Attorney General’s Office


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.




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DATED this 23rd day of July, 2018.




                                     Barbara Underwood
                                     Attorney General of the State of New York

                                     /s/ Elena Goldstein
                                     Elena Goldstein
                                     Senior Trial Counsel
                                     New York State Office of the Attorney General
                                     28 Liberty Street, 20th Fl.
                                     New York, NY 10005




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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

   STATE OF NEW YORK, et al.,

                            Plaintiffs,

                v.                                           18-CV-2921 (JMF)

   UNITED STATES DEPARTMENT OF
   COMMERCE, et al.,

                            Defendants.


       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the State of New Jersey, by its attorney,
Rachel Wainer Apter, of the Office of the Attorney General, makes the following Initial Disclosures.

                                             INTRODUCTION

        1.       These Initial Disclosures are based upon information presently known to the State of New

Jersey. They are made without prejudice to producing during discovery or at trial information, documents,

or data that are (a) subsequently discovered or determined to be relevant for any purpose, or (b) produced

as a result of ongoing investigations, or (c) subsequently determined to have been omitted from these

disclosures.

        2.       Plaintiff New Jersey reserves the right at any time to revise and/or supplement these Initial

Disclosures.

        3.       Plaintiff New Jersey hereby expressly reserves all objections to the use for any purpose of

these Initial Disclosures or any of the information and documents referenced herein in this case. By referring

to documents in the Initial Disclosures, Plaintiff New Jersey makes no representations or concessions

regarding the relevancy or appropriateness of any particular documents or types of documents.

        4.       Plaintiff New Jersey’s identification of individuals pursuant to Rule 26(a)(1)(A)(i) is not

intended to preclude Plaintiff from obtaining discovery of individuals not presently identified. Plaintiff New

Jersey incorporates all individuals identified by all other parties in Plaintiff’s Initial Disclosures and

reserves the right to depose, and to rely upon the testimony of, all such individuals in support of its claims.



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          5.      Plaintiff New Jersey’s identification or production of documents pursuant to Rule

26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control. Plaintiff New Jersey

reserves the right to use all documents produced by any party or non-party to this action. With these Initial

Disclosures, Plaintiff New Jersey is not identifying documents protected from disclosure by the attorney-

client, work product or other applicable privileges. Nor does Plaintiff New Jersey waive the right to object

to Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-breadth, and

all applicable privileges.


                                   INITIAL DISCLOSURES

I.    Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

          The below listed persons are likely to have discoverable information that Plaintiff State of New

Jersey may use to support Plaintiff’s claims as detailed in the First Amended Complaint. Plaintiff State of

New Jersey expressly reserves the right to supplement this disclosure:


      Name                          Contact Information           Subjects of Discoverable Information
     Leonard Preston                Rachel Wainer Apter           The witness has knowledge of New
     Bureau Chief, Labor Market     Assistant Attorney General    Jersey’s efforts to encourage
     Information                    Richard J. Hughes Justice     participation in the decennial census in
     NJ State Data Center           Complex                       the past.
     Division of Economic and       25 Market Street, 8th Floor
     Demographic Research           Trenton, New Jersey 08625
     Office of Research and         Desk: (609) 376-2702
     Information                    Rachel.Apter@njoag.gov
     Department of Labor and
     Workforce Development
     Lauren M. Zyriek               Rachel Wainer Apter           The witness has knowledge of how N.J.
     Director of                    Assistant Attorney General    Assembly No. 4208, an Act
     Intergovernmental Affairs      Richard J. Hughes Justice     establishing the New Jersey Complete
     Office of the Secretary of     Complex                       Count Commission, which was passed
     State                          25 Market Street, 8th Floor   by the legislature on June 30, 2018,
     Department of State            Trenton, New Jersey 08625     will be implemented if signed by the
                                    Desk: (609) 376-2702          Governor. She also has knowledge of
                                    Rachel.Apter@njoag.gov        New Jersey’s efforts to encourage
                                                                  participation in the 2020 census.
     Lynn Azarchi                   Rachel Wainer Apter           The witness has knowledge of the
     Deputy Director, Office of     Assistant Attorney General    impact of decennial census population
     Management and Budget          Richard J. Hughes Justice     counts on state/local funding and
                                    Complex                       budgets.

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Or                           25 Market Street, 8th Floor
                             Trenton, New Jersey 08625
Dave Ridolfino               Desk: (609) 376-2702
Department of the Treasury   Rachel.Apter@njoag.gov
Acting Director, Office of
Management and Budget
Scott Novakowski             Rachel Wainer Apter           The witness has knowledge of outreach
Associate Counsel and        Assistant Attorney General    efforts that are being undertaken by
Debevoise Legal Fellow       Richard J. Hughes Justice     non-profit organizations in New Jersey
New Jersey Institute for     Complex                       to ensure an accurate count.
Social Justice               25 Market Street, 8th Floor
                             Trenton, New Jersey 08625
                             Desk: (609) 376-2702
                             Rachel.Apter@njoag.gov
Sara Cullinane               Rachel Wainer Apter           The witness has knowledge of the
Executive Director           Assistant Attorney General    impact of the citizenship question on
Make the Road New Jersey     Richard J. Hughes Justice     community members’ willingness to
                             Complex                       participate in the 2020 census and
                             25 Market Street, 8th Floor   heightened fears surrounding the 2020
                             Trenton, New Jersey 08625     census. She also has knowledge of
                             Desk: (609) 376-2702          outreach efforts that are being
                             Rachel.Apter@njoag.gov        undertaken by non-profit organizations
                                                           in New Jersey to ensure an accurate
                                                           count.
Robert Asaro-Angelo          Rachel Wainer Apter           The witness has knowledge of the
Commissioner                 Assistant Attorney General    impact of a decennial census
Department of Labor and      Richard J. Hughes Justice     undercount on Department of Labor
Workforce Development        Complex                       and Workforce Development programs.
                             25 Market Street, 8th Floor
                             Trenton, New Jersey 08625
                             Desk: (609) 376-2702
                             Rachel.Apter@njoag.gov
Brian Francz                 Rachel Wainer Apter           The witness has knowledge of the
Chief Financial Officer      Assistant Attorney General    impact of a decennial census
Department of Human          Richard J. Hughes Justice     undercount on Department Human
Services                     Complex                       Services programs.
                             25 Market Street, 8th Floor
                             Trenton, New Jersey 08625
                             Desk: (609) 376-2702
                             Rachel.Apter@njoag.gov




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

        The documents and electronically stored information (collectively, “Documents”) in Plaintiff New

Jersey’s possession, custody, or control that may be used by Plaintiff New Jersey to support its claims are

described as follows. Plaintiff New Jersey expressly reserves its right to supplement this disclosure:

 Document Description                                               Document Location
 State of New Jersey, Assembly No. 4208, 218th Legislature,         This document is at a central
 an Act establishing the New Jersey Complete Count                  repository administered by the New
 Commission                                                         York Attorney General’s Office


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

        Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

        Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

        Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the schedule

directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil Procedure.


DATED this 24th day of August, 2018.



                                                          GURBIR S. GREWAL
                                                          Attorney General of New Jersey


                                                          /s/ Rachel Wainer Apter
                                                          Rachel Wainer Apter
                                                          Assistant Attorney General
                                                          Office of the Attorney General
                                                          Richard J. Hughes Justice Complex
                                                          25 Market Street, 8th Floor, West Wing
                                                          Trenton, New Jersey 08625-0080
                                                          Tel: (609) 376-2702
                                                          Fax: (609) 777-4015
                                                          Rachel.Apter@njoag.gov



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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.



                 STATE OF CONNECTICUT’S AMENDED DISCLOSURES

       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Connecticut ("Connecticut”), by

its attorney, Mark F. Kohler, Assistant Attorney General, of the Connecticut Office of the

Attorney General, makes the following Amended Initial Disclosures.


                                        INTRODUCTION

       1.        These Amended Initial Disclosures are based upon information presently known

to Plaintiff Connecticut. They are made without prejudice to producing during discovery or at

trial information, documents, or data that are (a) subsequently discovered or determined to be

relevant for any purpose, or (b) produced as a result of ongoing investigations, or (c)

subsequently determined to have been omitted from these disclosures.

       2.        Plaintiff Connecticut reserves the right at any time to revise and/or supplement

these Amended Initial Disclosures.

       3.        Plaintiff Connecticut hereby expressly reserves all objections to the use for any

purpose of these Amended Initial Disclosures or any of the information and documents

referenced herein in this case. By referring to documents in the Amended Initial Disclosures,

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Plaintiff Connecticut makes no representations or concessions regarding the relevancy or

appropriateness of any particular documents or types of documents.

       4.      Plaintiff   Connecticut’s    identification     of   individuals   pursuant   to   Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff Connecticut incorporates all individuals identified by all other

parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

       5.      Plaintiff Connecticut’s identification or production of documents pursuant to Rule

26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control. Plaintiff

Connecticut reserves the right to use all documents produced by any party or non-party to this

action. With these Amended Initial Disclosures, Plaintiff Connecticut is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff Connecticut waive the right to object to Defendants’ discovery

requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.




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                               AMENDED INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State

of Connecticut may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Connecticut expressly reserves the right to supplement this disclosure:

  Name                         Contact Information               Subjects of Discoverable
                                                                 Information

 Benjamin Barnes,              c/o Mark F. Kohler                The witness has knowledge of
 Secretary, State of           Assistant Attorney General        the impact of decennial census
 Connecticut Office of         Connecticut Office of the         population counts on state/local
 Policy & Management           Attorney General                  funding and budgets.
                               55 Elm St., P.O. Box 120
                               Hartford, CT 06141-0120
                               860-808-5020
                               Mark.Kohler@ct.gov


 Paul Potamianos,              c/o Mark F. Kohler                The witness has knowledge of
 Executive Budget Director,    Assistant Attorney General        the impact of decennial census
 State of Connecticut Office   Connecticut Office of the         population counts on state/local
 of Policy & Management        Attorney General                  funding and budgets.
                               55 Elm St., P.O. Box 120
                               Hartford, CT 06141-0120
                               860-808-5020
                               Mark.Kohler@ct.gov


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       Plaintiff Connecticut does not have any documents or electronically stored information to

disclose at this time. Plaintiff Connecticut expressly reserves its right to supplement this

disclosure.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:
                                                  3
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       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 22nd day of August, 2018.




                                            GEORGE JEPSEN
                                            Attorney General of the State of Connecticut

                                             /s/ Mark F. Kohler
                                            Mark F. Kohler
                                            Assistant Attorney General
                                            Connecticut Office of the Attorney General
                                            55 Elm St., P.O. Box 120
                                            Hartford, CT 06141-0120
                                            860-808-5020
                                            Mark.Kohler@ct.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,
                                                     AMENDED INITIAL DISCLOSURES
                       Plaintiffs,                   (Plaintiff State of Oregon)

            v.
                                                     18-CV-2921 (JMF)
UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.


       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Oregon (the “State of Oregon”)

makes the following Initial Disclosures.

                                        INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the State

of Oregon. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff State of Oregon reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff State of Oregon hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff State of Oregon

makes no representations or concessions regarding the relevancy or appropriateness of any

particular documents or types of documents.

       4.        Plaintiff State of Oregon’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff State of Oregon incorporates all individuals identified by all other

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parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

testimony of, all such individuals in support of its claims.

        5.     Plaintiff State of Oregon’s identification or production of documents pursuant to

Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff State of Oregon reserves the right to use all documents produced by any party or non-

party to this action. With these Initial Disclosures, Plaintiff State of Oregon is not identifying

documents protected from disclosure by the attorney-client, work product or other applicable

privileges. Nor does Plaintiff State of Oregon waive the right to object to Defendants’ discovery
requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

privileges.

                                    INITIAL DISCLOSURES

I.      Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

        The below listed persons are likely to have discoverable information that Plaintiff State

of Oregon may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Oregon expressly reserves the right to supplement this disclosure:

 Name                      Contact Information           Subjects of Discoverable Information

 Irma Linda Castillo,      Oregon Commission on          The witnesses have knowledge of the impact
 Chair                     Hispanic Affairs              of the decennial census and citizenship
                           c/o Scott Kaplan              questioning on the Hispanic population and
 Dr. Daniel Lopez-         Oregon Department of          the related impact on public services available
 Ceballos, Vice Chair      Justice                       to the Hispanic population. The witnesses
                           100 Market St.                have knowledge of the risk and impact of
 Dr. Joseph Gallegos,      Portland, OR 97201            undercount of the Hispanic population should
 Commission Member         (971) 673-5037                a citizenship question be included in the
 Alberto Moreno, Past                                    decennial census. The witnesses have
 Chair                                                   knowledge that Oregon’s Hispanic population
                                                         is a hard-to-count population for the census.
                                                         The witnesses have knowledge of the impact
                                                         of the citizenship question on community
                                                         members’ willingness to participate in the
                                                         decennial census process.

 Chanpone Sinlapasai-      Oregon Commission on          The witness has knowledge of the impact of
 Okamura, J.D., Chair      Asian and Pacific Islander    the decennial census and citizenship
                           Affairs                       questioning on the Asian and Pacific Islander

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                       c/o Scott Kaplan           population and the related impact on public
                       Oregon Department of       services available to these populations. The
                       Justice                    witness has knowledge that Oregon’s Asian
                       100 Market St.             and Pacific Islander population is a hard-to-
                       Portland, OR 97201         count population for the census. The witness
                       (971) 673-5037             has knowledge of the risk and impact of
                                                  undercount of the Asian and Pacific Islander
                                                  population should a citizenship question be
                                                  included in the decennial census. The witness
                                                  has knowledge of the impact of the
                                                  citizenship question on community members’
                                                  willingness to participate in the decennial
                                                  census process.

Emily Nazarov,         Oregon Department of       The witness has knowledge of the impact of
Government and Legal   Education                  decennial census population counts on school
Affairs Manager        c/o Scott Kaplan           funding and budgets, including the existence
                       Oregon Department of       of unauthorized immigrants (including U.S.
                       Justice                    citizen children) in Oregon’s K-12 school
                       100 Market St.             population, ODE’s policies and practices
                       Portland, OR 97201         towards the same and the census impact on
                       (971) 673-5037             ODE programs including meal programs.

Belit Burke, Self-     Oregon Department of       The witness has knowledge of the presence of
Sufficiency Design     Human Services             populations in Hispanic, Alaska Native and
Administrator          c/o Scott Kaplan           Native American communities, and other
                       Oregon Department of       areas and communities particularly vulnerable
                       Justice                    to undercounting. The witness has
                       100 Market St.             information regarding Oregon’s reliance on
                       Portland, OR 97201         the decennial census statistics for important
                       (971) 673-5037             supplemental nutrition (SNAP) and food
                                                  stamps programs, which currently serves
                                                  about 20% of Oregon’s residents, and the
                                                  Child Care and Development Fund.

John T. Baker,         Oregon Department of       The witness has information regarding the
Transportation         Transportation             impact of an undercount on funding for
Economist              c/o Scott Kaplan           highway construction and maintenance within
                       Oregon Department of       the State through the Highway Trust Fund and
                       Justice                    other federal infrastructure funding programs,
                       100 Market St.             including crucial North-South and East-West
                       Portland, OR 97201         highways such as Interstates 5 and 84.
                       (971) 673-5037
Kristine Kautz,        Oregon Health Authority    The witness has information regarding
Deputy Director        c/o Scott Kaplan           Oregon’s reliance on the federal Health
                       Oregon Department of       Center Program for medical care to migrant
                       Justice                    and other underserved communities within the
                       100 Market St.             State, as well as Oregon’s reliance on the
                       Portland, OR 97201         Medical Assistance Program (“Medicaid”).
                       (971) 673-5037             The witness has information regarding
                                                  Oregon’s reliance on the decennial census for

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                                                            funding of this program, and the impact an
                                                            undercount of Oregon’s population could
                                                            have on this funding and program.

 Charles Rynerson,          State Data Center,              The witness has knowledge of the impact of
 Coordinator                Population Research             decennial census population counts on state
                            Center, Portland State          and local funding and budgets. The witness
                            University                      has information regarding demographic,
                                                            economic, and social statistics produced by
                                                            the Census Bureau relating to the State of
                                                            Oregon. The witness is knowledgeable about
                                                            Oregon state and local outreach efforts and
                                                            census data.

 Erin Seiler, former        Oregon Lottery                  The witness has knowledge of the impact of
 Liaison to the U.S.        c/o Scott Kaplan                census data on redistricting in Oregon and its
 Census Bureau              Oregon Department of            reliance upon accurate information.
                            Justice
                            100 Market St.
                            Portland, OR 97201
                            (971) 673-5037
 Officers, employees and    Contact information not         Information regarding the processes by which
 representatives of         currently known                 defendants proposed a citizenship question for
 defendants identified by                                   the 2020 census, the stated and actual reasons
 defendants and by                                          for adding this question, the persons involved
 plaintiffs herein                                          in this decision, and the likely effects of the
                                                            decision.

II.     Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

        The documents and electronically stored information (collectively, “Documents”) in

Plaintiff State of Oregon’s possession, custody, or control that may be used by Plaintiff State of

Oregon to support its claims are described as follows. Plaintiff State of Oregon expressly

reserves its right to supplement this disclosure:

Document Description                                            Document Location
Documents relating to current school funding and budgets,       From Oregon Department of
Special Education funding and the School Breakfast and          Education. The document(s) will be
National School Lunch Programs.                                 made available at a central document
                                                                repository administered by the New
                                                                York Attorney General’s Office.

Documents relating to Oregon’s use of and funding source(s)     From Oregon Department of Human
for supplemental nutrition (SNAP) and food stamps programs      Services. The document(s) will be
and the Child Care and Development Fund.                        made available at a central document
                                                                repository administered by the New


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                                                               York Attorney General’s Office.

Documents relating to funding for highway construction and     From Oregon Department of
maintenance within the State through the Highway Trust         Transportation. The document(s) will
Fund and other federal infrastructure funding programs.        be made available at a central
                                                               document repository administered by
                                                               the New York Attorney General’s
                                                               Office.

Documents relating to Oregon’s use of funds from the federal   From Oregon Health Authority. The
Health Center Program for medical care to migrant and other    document(s) will be made available at
underserved communities within the State, and the Medical      a central document repository
Assistance Program (“Medicaid”).                               administered by the New York
                                                               Attorney General’s Office.

Documents related to duties and budget of Oregon’s Census      From the Oregon Governor’s Office.
Project Manager in the Office of the Oregon Governor.          The document(s) will be made
                                                               available at a central document
                                                               repository administered by the New
                                                               York Attorney General’s Office.

Oregon legislative materials related to redistricting.         From Oregon legislative records. The
                                                               document(s) will be made available at
                                                               a central document repository
                                                               administered by the New York
                                                               Attorney General’s Office.

III.    Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

        Not applicable.

IV.     Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

        Not applicable.




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V.     Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff State of Oregon will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal

Rules of Civil Procedure.
       DATED this 30th day of August , 2018.




                                            Ellen Rosenblum
                                            Attorney General of the State of Oregon

                                                    s/ Scott J. Kaplan
                                            Scott J. Kaplan. pro hac vice
                                            Senior Assistant Attorney General
                                            Oregon Department of Justice
                                            100 Market St.
                                            Portland, OR 97201
                                            971-673-5037
                                            Scott.j.kaplan@doj.state.or.us




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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                        18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the People of the City of Providence, by its

attorney, Jeffrey Dana, City Solicitor of the City of Providence, makes the following Initial

Disclosures.


                                         INTRODUCTION

       1.        These Initial Disclosures are based upon information presently known to the City

of Providence. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.        Plaintiff City of Providence reserves the right at any time to revise and/or

supplement these Initial Disclosures.

       3.        Plaintiff City of Providence hereby expressly reserves all objections to the use for

any purpose of these Initial Disclosures or any of the information and documents referenced

herein in this case. By referring to documents in the Initial Disclosures, Plaintiff City of



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Providence, makes no representations or concessions regarding the relevancy or appropriateness

of any particular documents or types of documents.

       4.      Plaintiff City of Providence’s identification of individuals pursuant to Rule

26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

presently identified. Plaintiff City of Providence incorporates all individuals identified by all

other parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon

the testimony of, all such individuals in support of its claims.

       5.      Plaintiff City of Providence’s identification or production of documents pursuant

to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

Plaintiff City of Providence reserves the right to use all documents produced by any party or

non-party to this action. With these Initial Disclosures, Plaintiff City of Providence is not

identifying documents protected from disclosure by the attorney-client, work product or other

applicable privileges. Nor does Plaintiff City of Providence waive the right to object to

Defendants’ discovery requests on any basis, including, but not limited to, relevancy, over-

breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff City of

Providence may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff City of Providence expressly reserves the right to supplement this disclosure:




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 Name                     Contact Information            Subjects of Discoverable Information

Gabriela Domenzain,       City of Providence             The witness has knowledge of the impact
Latino Policy Institute   Office of the City Solicitor   of the citizenship question on community
                          444 Westminster Street,        members’ willingness to participate in the
                          Suite 220                      decennial census process. The witness
                                                         has knowledge of the heightened fears
                          Providence, RI 02903
                                                         surrounding the 2020 decennial census.
                          (401) 680-5333                 Witness has knowledge concerning
                                                         outreach efforts conducted by the Census
                                                         Bureau.

David DosReis, GIS        City of Providence             Witness has information regarding the
Manager                   Office of the City Solicitor   presence of hard-to-count populations in
                          444 Westminster Street,        Providence, and areas particularly
                          Suite 220                      vulnerable to undercounting.
                          Providence, RI 02903
                          (401) 680-5333


Emily Freedman,           City of Providence             The witness has knowledge of the impact
Director of Community     Office of the City Solicitor   of decennial census population counts on
Development               444 Westminster Street,        state/local funding and budgets.
                          Suite 220
                          Providence, RI 02903
                          (401) 680-5333




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       The City of Providence does not have documents that may be used to support its claims at

this time. The City of Providence reserves the right to supplement this disclosure.


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.



DATED this 31st day of August, 2018.




                                             Jeffrey Dana
                                             City Solicitor of the City of Providence

                                              /s/Jeffrey Dana
                                             Jeffrey Dana
                                             City Solicitor
                                             City of Providence
                                             444 Westminster Street, Suite 220
                                             Providence, RI 02903
                                             (401) 680-5333
                                             Jdana@providenceri.gov




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                       Plaintiffs,

            v.                                       18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                       Defendants.




       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiffs Hidalgo and Cameron Texas Counties by

its attorney, Special Counsel Rolando L. Rios, makes the following Supplemental Disclosures.


                                        INTRODUCTION

       1.        These Disclosures are based upon information presently known to Plaintiffs

Hidalgo and Cameron Counties. They are made without prejudice to producing during discovery

or at trial information, documents, or data that are (a) subsequently discovered or determined to

be relevant for any purpose, or (b) produced as a result of ongoing investigations, or (c)

subsequently determined to have been omitted from these disclosures.

       2.        Plaintiffs Hidalgo and Cameron Counties reserves the right at any time to revise

and/or supplement these Disclosures.

       3.        Plaintiffs Hidalgo and Cameron Counties hereby expressly reserves all objections

to the use for any purpose of these Disclosures or any of the information and documents

referenced herein in this case. By referring to documents in the Disclosures, Plaintiffs Hidalgo




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and Cameron Counties make no representations or concessions regarding the relevancy or

appropriateness of any particular documents or types of documents.

       4.      Plaintiffs Hidalgo and Cameron Counties’ identification of individuals pursuant to

Rule 26(a)(1)(A)(i) is not intended to preclude Plaintiffs from obtaining discovery of individuals

not presently identified. Plaintiffs Hidalgo and Cameron Counties incorporates all individuals

identified by all other parties in Plaintiff’s Initial Disclosures and reserves the right to depose,

and to rely upon the testimony of, all such individuals in support of its claims.

       5.      Plaintiffs Hidalgo and Cameron Counties’ identification or production of

documents pursuant to Rule 26(a)(1)(A)(ii) is limited to those documents within its possession,

custody or control.    Plaintiffs Hidalgo and Cameron Counties reserves the right to use all

documents produced by any party or non-party to this action. With these Initial Disclosures,

Plaintiffs Hidalgo and Cameron Counties are not identifying documents protected from

disclosure by the attorney-client, work product or other applicable privileges. Nor do Plaintiffs

Hidalgo and Cameron Counties waive the right to object to Defendants’ discovery requests on

any basis, including, but not limited to, relevancy, over-breadth, and all applicable privileges.

                                DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiffs

Hidalgo and Cameron Counties may use to support Plaintiff’s claims as detailed in the First

Amended Complaint. Plaintiffs Hidalgo and Cameron Counties expressly reserves the right to

supplement this disclosure:




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  Name                    Contact Information          Subjects of Discoverable Information

 Maria Arcelia Duran,     Attorney Rolando L. Rios Maria Arcela Duran has knowledge of the
 CPA, Hidalgo County      rrios@rolandorioslaw.com impact of decennial census population
 Auditor                  210-413-7347             counts on local funding and budgets.

 Diana R. Serna           Attorney Rolando L. Rios Diana R. Serna has knowledge of the
                          rrios@rolandorioslaw.com impact of decennial census population
 Director Hidalgo         210-413-7347             counts on local funding and budgets.
 County Urban County
 Program

 Erika Reyna              Attorney Rolando L. Rios Erika Reyna has of the mitigation efforts
                          rrios@rolandorioslaw.com undertaken by the county and local
 Assistant Chief of       210-413-7347             government and non-governmental
 Staff, Hidalgo County                             agencies directed at minimizing the
 Judges Office                                     undercount and educate/encourage the
                                                   public to fill out the census forms.

 Martha Galarza, CPA,     Attorney Rolando L. Rios Martha Galarza has knowledge of the
 Cameron County           rrios@rolandorioslaw.com impact of decennial census population
 Auditors Office)         210-413-7347             counts on local funding and budgets.

 Ramon Garcia,            Attorney Rolando L. Rios The witness has knowledge of the impact of
 Hidalgo County Judge     rrios@rolandorioslaw.com the citizenship question on community
                          210-413-7347             members’ willingness to participate in the
                                                       decennial census process. The witness has
                                                       knowledge of the heightened fears
                                                       surrounding the 2020 decennial census.

 Eddie Trevino Jr.,       Attorney Rolando L. Rios The witness has knowledge of the impact of
 Cameron County           rrios@rolandorioslaw.com the citizenship question on community
 Judge                    210-413-7347             members’ willingness to participate in the
                                                       decennial census process. The witness has
                                                       knowledge of the heightened fears
                                                       surrounding the 2020 decennial census.



II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

   Plaintiffs Hidalgo and Cameron Counties have no documents to disclose at this time but

   expressly reserves its right to supplement this disclosure:

III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:
       Not applicable.



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IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V.Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Plaintiff will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil



DATED this 4th day of September, 2018.
                                              Respectfully Submitted,

                                              Rolando L. Rios
                                              ROLANDO L. RIOS
                                              Texas State Bar # 16935900
                                              Special Counsel
                                              115 E. Travis, Suite 1645
                                              San Antonio, Texas 78205
                                              Telephone:      (210) 222-2102
                                              Facsimile:      (210) 222-2898
                                              E-Mail:         rrios@rolandorioslaw.com


                                              Attorney for Plaintiffs HIDALGO AND
                                              CAMERON COUNTIES OF TEXAS




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

               v.                                      18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT                             AMENDED INITIAL DISCLOSURES
  OF COMMERCE, et al.,                                 FOR PLAINTIFF STATE OF
                                                       WASHINGTON
                          Defendants.



       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the State of Washington, by its attorney,

Assistant Attorney General Laura K. Clinton, makes the following Amended Initial Disclosures,

to supplement those already provided in this litigation.

                                        INTRODUCTION

       1.       These Amended Initial Disclosures are based upon information presently known to

Washington. They are made without prejudice to producing during discovery or at trial

information, documents, or data that are (a) subsequently discovered or determined to be relevant

for any purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently

determined to have been omitted from these disclosures.

       2.       Washington reserves the right at any time to revise and/or supplement these Initial

Disclosures.

       3.       Washington hereby expressly reserves all objections to the use for any purpose of

these Initial Disclosures or any of the information and documents referenced herein in this case.

By referring to documents in the Initial Disclosures, Washington makes no representations or




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concessions regarding the relevance or appropriateness of any particular documents or types of

documents.

       4.      Washington’s identification of individuals pursuant to Rule 26(a)(1)(A)(i) is not

intended to preclude Plaintiff from obtaining discovery of individuals not presently identified.

Washington incorporates all individuals identified by all other parties in Plaintiff’s Initial

Disclosures and reserves the right to depose, and to rely upon the testimony of, all such individuals

in support of its claims.

       5.      Washington’s identification or production of documents pursuant to Rule

26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control. Washington

reserves the right to use all documents produced by any party or non-party to this action. With

these Initial Disclosures, Washington is not identifying documents protected from disclosure by

the attorney-client, work product or other applicable privileges. Nor does Washington waive the

right to object to Defendants’ discovery requests on any basis, including, but not limited to,

relevancy, over-breadth, and all applicable privileges.

                                INITIAL DISCLOSURES

I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

       The below listed persons are likely to have discoverable information that Plaintiff State of

Washington may use to support Plaintiff’s claims as detailed in the First Amended Complaint.

Plaintiff State of Washington expressly reserves the right to supplement this disclosure:

   Name                          Contact Information               Subjects of Discoverable
                                                                   Information

  Mark Baldwin                   c/o Laura Clinton                 The witness has knowledge of
  Assistant Director of          Assistant Attorney General        Washington’s planning and
  Forecasting and Research,      800 Fifth Avenue, Suite 2000      outreach regarding the 2020
  Office of Financial            Seattle WA 98104                  Census, potential financial
  Management                                                       impacts to the State of
                                                                   Washington arising from an

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 Name                      Contact Information            Subjects of Discoverable
                                                          Information

                                                          inaccurate count, and related
                                                          issues.

Yi Zhao, Office of         c/o Laura Clinton              The witness has knowledge of
Financial Management       Assistant Attorney General     Washington’s planning and
                           800 Fifth Avenue, Suite 2000   outreach regarding the 2020
                           Seattle WA 98104               Census, potential financial
                                                          impacts to the State of
                                                          Washington arising from an
                                                          inaccurate count, and related
                                                          issues.

Erica Gardner, Office of   c/o Laura Clinton              The witness has knowledge of
Financial Management       Assistant Attorney General     Washington’s planning and
                           800 Fifth Avenue, Suite 2000   outreach regarding the 2020
                           Seattle WA 98104               Census, potential financial
                                                          impacts to the State of
                                                          Washington arising from an
                                                          inaccurate count, and related
                                                          issues.

Mike Mohrman, Office of    c/o Laura Clinton              The witness has knowledge of
Financial Management       Assistant Attorney General     Washington’s planning and
                           800 Fifth Avenue, Suite 2000   outreach regarding the 2020
                           Seattle WA 98104               Census, potential financial
                                                          impacts to the State of
                                                          Washington arising from an
                                                          inaccurate count, and related
                                                          issues.

Jim Crawford, Office of    c/o Laura Clinton              The witness has knowledge of
Financial Management       Assistant Attorney General     Washington’s budgeting
                           800 Fifth Avenue, Suite 2000   process and the potential
                           Seattle WA 98104               financial impacts to the State
                                                          of Washington arising from an
                                                          inaccurate count, and related
                                                          issues.

Complete County            c/o Laura Clinton              The witness has knowledge of
Committee Coordinator,     Assistant Attorney General     Washington’s planning and
Office of Financial        800 Fifth Avenue, Suite 2000   outreach regarding the 2020
Management                 Seattle WA 98104               Census, potential financial
                                                          impacts to the State of
                                                          Washington arising from an


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 Name                       Contact Information            Subjects of Discoverable
                                                           Information

                                                           inaccurate count, and related
                                                           issues.

Records custodian, Office   c/o Laura Clinton              The witness(es) have
of Financial Management     Assistant Attorney General     knowledge sufficient to
                            800 Fifth Avenue, Suite 2000   identify and authenticate
                            Seattle WA 98104               Washington’s records
                                                           concerning the decennial
                                                           Census and related issues

Robert Chang                c/o Laura Clinton              The witness has knowledge
Seattle University School   Assistant Attorney General     regarding the history of the
of Law                      800 Fifth Avenue, Suite 2000   Census Bureau’s past breaches
                            Seattle WA 98104               of trust where Census
                                                           information was used to harm
                                                           individuals and communities,
                                                           and the reasonable fear or
                                                           concern that respondents might
                                                           have when facing the
                                                           citizenship question now.
Laura Pierce                c/o Laura Clinton              The witness has knowledge of
Washington Nonprofits       Assistant Attorney General     the concerns that
                            800 Fifth Avenue, Suite 2000   many nonprofit
                            Seattle WA 98104               organizations have about the
                                                           impact of the citizenship
                                                           question. Nonprofits working
                                                           with hard to count populations
                                                           are concerned that adding the
                                                           citizenship question instills
                                                           fear and makes those
                                                           communities harder to count
                                                           because they are likely to
                                                           voluntarily opt out of the
                                                           Census. The witness has
                                                           knowledge of the impact an
                                                           undercount would have on
                                                           how funds for services are
                                                           distributed and on the data
                                                           available for nonprofits to
                                                           target their services.
David Streeter              c/o Laura Clinton              The witness has knowledge of
Washington Nonprofits       Assistant Attorney General     the concerns that
                            800 Fifth Avenue, Suite 2000   many nonprofit
                                                           organizations have about the

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 Name                   Contact Information            Subjects of Discoverable
                                                       Information

                        Seattle WA 98104               impact of the citizenship
                                                       question. Nonprofits working
                                                       with hard to count populations
                                                       are concerned that adding the
                                                       citizenship question instills
                                                       fear and makes those
                                                       communities harder to count
                                                       because they are likely to
                                                       voluntarily opt out of the
                                                       Census. The witness has
                                                       knowledge of the impact an
                                                       undercount would have on
                                                       how funds for services are
                                                       distributed and on the data
                                                       available for nonprofits to
                                                       target their services.
Laura Armstrong         c/o Laura Clinton              The witness has knowledge
Executive Director      Assistant Attorney General     of already existing barriers
La Casa Hogar           800 Fifth Avenue, Suite 2000   facing immigrant, low-income,
                        Seattle WA 98104               Limited English Proficient
                                                       residents ("hard-to-count"
                                                       populations) throughout
                                                       Washington state’s Yakima
                                                       Valley in participating in the
                                                       Census. The witness has
                                                       further knowledge as to how
                                                       the citizenship question will
                                                       worsen those existing barriers
                                                       for aforementioned community
                                                       members’ participation in the
                                                       decennial Census process. The
                                                       witness has knowledge of
                                                       immigrant families' heightened
                                                       fears surrounding government
                                                       institutions, and understands
                                                       this as one of the already
                                                       existing barriers that is being
                                                       worsened because of the
                                                       citizenship question. The
                                                       witness has knowledge
                                                       regarding community
                                                       education and awareness
                                                       efforts regarding the Census in
                                                       the Yakima Valley region. The
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 Name                    Contact Information            Subjects of Discoverable
                                                        Information

                                                        witness represents an
                                                        organization with knowledge
                                                        and experience working with
                                                        immigrant families
                                                        and agricultural workers
                                                        throughout the region for over
                                                        two decades.

Linda Moore              c/o Laura Clinton              The witness has knowledge of
CEO|President            Assistant Attorney General     the impact of the citizenship
Yakima Valley            800 Fifth Avenue, Suite 2000   question and the
Community Foundation     Seattle WA 98104               disproportionate impact of
                                                        funding and services to low
                                                        income and people of color
                                                        and children. The witness has
                                                        knowledge of the impact of the
                                                        citizenship questions on
                                                        “mixed households” where
                                                        children are citizens and others
                                                        in the household, including
                                                        their parents are not which also
                                                        impacts the count of children.
                                                        The witness has knowledge of
                                                        the demographics of Yakima
                                                        County.

Elsa Batres-Boni         c/o Laura Clinton              Win/Win is committed to
Census Program Manager   Assistant Attorney General     building a civically powerful
Win|Win Action           800 Fifth Avenue, Suite 2000   network that advances racial,
                         Seattle WA 98104               social and economic equity
                                                        and thriving communities
                                                        across Washington State.

                                                        The witness has knowledge of
                                                        the universal harm that a
                                                        citizenship question will cause
                                                        to communities that are
                                                        already at greater risk of being
                                                        undercounted – including
                                                        people of color, young
                                                        children, and low-income rural
                                                        and urban residents.



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   Name                         Contact Information               Subjects of Discoverable
                                                                  Information

                                                                  The witness has knowledge of
                                                                  how an untested citizenship
                                                                  question will drive up costs as
                                                                  the Census Bureau struggles to
                                                                  develop new communications
                                                                  and outreach strategies with
                                                                  little time remaining, plan for
                                                                  an expanded field operation,
                                                                  and track down the millions of
                                                                  households that will be more
                                                                  reluctant to participate because
                                                                  of this controversial question.


II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       All materials requested in discovery or that Washington intends to use at trial are described

below. Washington expressly reserves its right to supplement this disclosure:

 Document Description                                        Document Location
 Documents concerning the 2020 Census and mitigating         Office of Financial Management,
 non-response in the State of Washington.                    Washington Nonprofits – These
                                                             documents will be uploaded to the
                                                             central repository administered by
                                                             the New York Attorney General’s
                                                             Office.



III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.




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V. Fed. R. Civ. P. 26(a)(2)(A) – Expert Testimony:

       Washington will provide disclosures of expert testimony as required by Rule 26(a)(2) on the

schedule directed by the Court and as required by Rule 26(a)(2)(D) of the Federal Rules of Civil

Procedure.

DATED this 16th day of July, 2018.


                                            ROBERT W. FERGUSON
                                            Attorney General of the State of Washington

                                            /s/ Laura K. Clinton
                                            Laura K. Clinton
                                            Assistant Attorney General
                                            Complex Litigation Division
                                            800 Fifth Avenue, Suite 2000
                                            Seattle, WA 98104
                                             LauraC5@atg.wa.gov
                                            (206) 233-3383
                                            Peter Gonick,
                                            Deputy Solicitor General Office of the Attorney
                                            General PO Box 40100
                                            Olympia, WA 98504-0100
                                             peterg@atg.wa.gov
                                            Tel. (360) 753-6245




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                          Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT                             CERTIFICATE OF SERVICE
  OF COMMERCE, et al.,                                 RULE 26 DISCLOSURES

                          Defendants.



I hereby certify that on this 4th day of September 2018, I served amendments to Plaintiffs’ Initial

Disclosures for New York et al., v. Commerce et al., 18-cv-2921, via e-mail to kate.bailey@usdoj.gov,

Stephen.Ehrlich@usdoj.gov, and Carol.Federighi@usdoj.gov, pursuant to the parties’ electronic

service agreement under Federal Rule of Civil Procedure 5(b)(2)(E). These disclosures supplement

and amend Plaintiffs’ original Initial Disclosures.



Dated this 4th day of September, 2018.


                                                                            /s/
                                                               Elena Goldstein
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OFFICE OF THE CITY ATTORNEY
BRAD HOLM, City Attorney
State Bar No. 011237
200 West Washington, Suite 1300
Phoenix, Arizona 85003-1611
Telephone (602) 262-6761
Email: law.civil.minute.entries@phoenix.gov

PATRICIA J. BOLAND, #007347
Assistant Chief Counsel

Attorney for City of Phoenix

                          UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF NEW YORK


  STATES OF NEW YORK,
  COLORADO, CONNECTICUT,
  DELAWARE, ILLINOIS, IOWA,
  MARYLAND, MINNESOTA, NEW
  JERSEY, NEW MEXICO, NORTH
  CAROLINA, OREGON, RHODE
  ISLAND, VERMONT, and                        CIVIL ACTION NO. 1:18-cv-2921 (JMF)
  WASHINGTON;
  COMMONWEALTHS OF                            PLAINTIFF CITY OF PHOENIX’S
  MASSACHUSETTS,                              INITIAL DISCLOSURES
  PENNSYLVANIA, and VIRGINIA;
  DISTRICT OF COLUMBIA; CITIES
  OF CENTRAL FALLS, CHICAGO,
  COLUMBUS, NEW YORK,
  PHILADELPHIA, PHOENIX,
  PITTSBURGH, PROVIDENCE, and
  SEATTLE; CITY and COUNTY of
  SAN FRANCISCO; COUNTIES OF
  CAMERON, EL PASO, HIDALGO,
  and MONTEREY; and the UNITED
  STATES CONFERENCE OF
  MAYORS,

                        Plaintiffs,

             v.
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  UNITED STATES DEPARTMENT
  OF COMMERCE; and WILBUR L.
  ROSS, JR., in his official capacity as
  Secretary of Commerce,

      and

  BUREAU OF THE CENSUS, an
  agency within the United States
  Department of Commerce; and RON S.
  JARMIN, in his capacity as performing
  the non-exclusive functions and duties
  of the Director of the U.S. Census
  Bureau,

                             Defendants.


       Pursuant to Fed R. Civ. P. 26(a)(1), Plaintiff the City of Phoenix (the “City of Phoenix”),

by its attorney, Patricia J. Boland, Assistant Chief Counsel, makes the following Initial

Disclosures.
                                           INTRODUCTION

       1.      These Initial Disclosures are based upon information presently known to the City

of Phoenix. They are made without prejudice to producing during discovery or at trial information,

documents, or data that are (a) subsequently discovered or determined to be relevant for any

purpose, or (b) produced as a result of ongoing investigations, or (c) subsequently determined to

have been omitted from these disclosures.

       2.      Plaintiff City of Phoenix reserves the right at any time to revise and/or supplement

these Initial Disclosures.

       3.      Plaintiff City of Phoenix hereby expressly reserves all objections to the use for any

purpose of these Initial Disclosures or any of the information and documents referenced herein in

this case. By referring to documents in the Initial Disclosures, Plaintiff City of Phoenix makes no

representations or concessions regarding the relevancy or appropriateness of any particular


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 documents or types of documents.

        4.      Plaintiff City of Phoenix’s identification of individuals pursuant to Rule

 26(a)(1)(A)(i) is not intended to preclude Plaintiff from obtaining discovery of individuals not

 presently identified. Plaintiff City of Phoenix incorporates all individuals identified by all other

 parties in Plaintiff’s Initial Disclosures and reserves the right to depose, and to rely upon the

 testimony of, all such individuals in support of its claims.

        5.      Plaintiff City of Phoenix’s identification or production of documents pursuant to

 Rule 26(a)(1)(A)(ii) is limited to those documents within its possession, custody or control.

 Plaintiff City of Phoenix reserves the right to use all documents produced by any party or non-

 party to this action. With these Initial Disclosures, Plaintiff City of Phoenix is not identifying

 documents protected from disclosure by the attorney-client, work product or other applicable

 privileges. Nor does Plaintiff City of Phoenix waive the right to object to Defendants’ discovery

 requests on any basis, including, but not limited to, relevancy, over-breadth, and all applicable

 privileges.

                                     INITIAL DISCLOSURES

 I. Fed R. Civ. P. 26(a)(1)(A)(i) disclosures:

        The below listed persons are likely to have discoverable information that Plaintiff City of

 Phoenix may use to support Plaintiff’s claims as detailed in the Second Amended Complaint.

 Plaintiff City of Phoenix expressly reserves the right to supplement this disclosure:

Name                             Contact Information                Subject of Discoverable
                                                                    Information
U.S. Congressman                 Contact through Counsel for the    Elected in 2014, Congressman
Ruben Gallego                    City of Phoenix                    Gallego represents Arizona’s 7th
                                                                    district, a majority of which is
                                                                    within Phoenix. Congressman
                                                                    Gallego has been highly involved

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                                                                with the issues of adding a
                                                                citizenship question to the
                                                                decennial questionnaire and how
                                                                it will impact the constituents he
                                                                represents.
Amanda Bernal-Ransom,         Contact through Counsel for the   As the Vice President of
Vice President of Resource    City of Phoenix                   Resource Development, Ms.
Development with Chicanos                                       Bernal-Ransom is responsible for
Por La Causa, Inc. (“CPLC”)                                     responding to requests for
                                                                proposals from foundation, local,
                                                                State and Federal agencies. Ms.
                                                                Bernal-Ransom has knowledge of
                                                                the importance to CPLC that
                                                                Phoenix get a correct census
                                                                count. Many of the requests
                                                                submitted by CPLC require data
                                                                that speaks to economic and
                                                                social factors that rely on census
                                                                data to collect as that is
                                                                considered an unbiased and
                                                                accurate count. Without a truly
                                                                comprehensive census count,
                                                                CPLC has a diminished chance of
                                                                truly showing the need for
                                                                services and therefore being
                                                                awarded grant dollars for those
                                                                services provided.
Martin Quintana, President    Contact through Counsel for the   Friendly House, Inc. is a
and CEO, Friendly House,      City of Phoenix                   longstanding non-profit
Inc.                                                            organization that was established
                                                                in 1920 to serve the immigrant
                                                                community with workforce
                                                                development and job skills
                                                                training services. Friendly House
                                                                continues to provide those
                                                                services, and has now expanded
                                                                its service offerings to include
                                                                elementary education, family
                                                                support services, and workforce
                                                                readiness & education. Via these
                                                                services, Family House serves
                                                                over 15,000 individuals per year

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                                                                throughout the Phoenix area. As
                                                                such, Mr. Quintana has
                                                                knowledge on these topics,
                                                                including the impact of a
                                                                citizenship question in the census
                                                                on the immigrant community in
                                                                Phoenix.
Terry Benelli, Executive     Contact through Counsel for the    Terry Benelli is responsible for
Director, Local Initiatives  City of Phoenix                    raising capital and resources
Support Corporation (“LISC”)                                    locally that are leveraged by
Phoenix                                                         National LISC’s support,
                                                                providing the strategic direction
                                                                and guidance for all aspects of
                                                                LISC Phoenix local operations
                                                                and programs as well as
                                                                determining key priorities that
                                                                equip talent in underinvested
                                                                communities with the skills and
                                                                credentials to compete
                                                                successfully for quality income
                                                                and wealth opportunities. As
                                                                such, Ms. Benelli has knowledge
                                                                of these topics, including the
                                                                impact of a citizenship question
                                                                in the census on the immigrant
                                                                community in Phoenix.
Petra Falcon, Executive       Contact through Counsel for the   Petra Falcon leads Promise
Director, Promise Arizona,    City of Phoenix                   Arizona with over 25 years
(“PAZ”)                                                         working in the non-profit
                                                                community and her organization
                                                                aims to unite millions of
                                                                Arizonans who believe in treating
                                                                all of their neighbors with
                                                                fairness, and dignity. These like-
                                                                minded individuals share a
                                                                common interest in good jobs, a
                                                                robust economy, quality
                                                                education and safe communities
                                                                in which to raise children. Ms.
                                                                Falcon has knowledge of these
                                                                topics, including the impact of a
                                                                citizenship question in the census

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                                                                  on the immigrant community in
                                                                  Phoenix.
Patricia K. Hibbeler, ABD,      Contact through Counsel for the   Patricia K. Hibbeler is the Chief
MA                              City of Phoenix                   Executive Officer of the Phoenix
                                                                  Indian Center, Inc., an
CEO of the Phoenix Indian
                                                                  organization with a 71-year
Center
                                                                  history and the first urban based
                                                                  Indian Center in the nation. Ms.
                                                                  Hibbeler works on behalf of the
                                                                  American Indian people living in
                                                                  urban based Phoenix/Maricopa
                                                                  County, focusing on workforce
                                                                  development, prevention, youth
                                                                  development and
                                                                  language/cultural revitalization
                                                                  and community engagement. Ms.
                                                                  Hibbeler has knowledge of the
                                                                  impact of a citizenship question
                                                                  in the census on the American
                                                                  Indian and immigrant community
                                                                  in Phoenix.
Jeffery Barton, Budget and      Contact through Counsel for the   Mr. Barton is responsible to the
Research Director, City of      City of Phoenix                   oversight, planning, forecasting
Phoenix                                                           and overall executive
                                                                  management of the City’s
                                                                  multibillion dollar capital and
                                                                  operation budget. He has
                                                                  knowledge of the financial
                                                                  impacts that an undercounted
                                                                  census will have on Phoenix.
Kenneth Kessler, Acting         Contact through Counsel for the   Mr. Kessler is responsible for the
Public Transit Director, City   City of Phoenix                   operations of the City’s Public
of Phoenix                                                        Transit Department, which is
                                                                  largely dependent on federal
                                                                  funding to maintain the
                                                                  department’s capital and
                                                                  operation daily functions. The
                                                                  department is also the Federal
                                                                  Transit Administration Grant
                                                                  Designee; as such, the
                                                                  department is responsible for the

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                                                                 oversight of billions of dollars to
                                                                 support transit operations and
                                                                 infrastructure. Mr. Kessler has
                                                                 knowledge of these topics,
                                                                 including the funding impacts to
                                                                 the City of a citizenship question
                                                                 on the census.
Marchelle Franklin, Human      Contact through Counsel for the   Ms. Franklin is the city executive
Services Director, City of     City of Phoenix                   responsible for our human service
Phoenix                                                          programs, which are largely
                                                                 supported by federal funding and
                                                                 grants. Working on these types
                                                                 of programs for many years, Ms.
                                                                 Franklin has knowledge of the
                                                                 major impacts an undercount in
                                                                 Phoenix would have as programs
                                                                 could potentially not have
                                                                 adequate levels of funding for the
                                                                 people they serve daily.
Anubhav Bagley, Regional       Contact through Counsel for the   Mr. Bagley has been with MAG
Analytics Director, Maricopa   City of Phoenix                   in various roles for 18 years and
Association of Governments                                       is the Regional Analytics
(“MAG”)                                                          Director at the Maricopa
                                                                 Association of Governments. He
                                                                 is responsible for regional
                                                                 socioeconomic datasets,
                                                                 geographic information systems,
                                                                 census activities, population
                                                                 projections and estimates, and the
                                                                 development and maintenance of
                                                                 regional land use models. Mr.
                                                                 Bagley has knowledge of the
                                                                 impact the census has on
                                                                 redistricting in Maricopa County
                                                                 and the demographics of the City
                                                                 of Phoenix.
Albert Santana, Census         Contact through Counsel for the   Mr. Santana is responsible for the
Director, City of Phoenix      City of Phoenix                   overall execution of the Phoenix
                                                                 Census 2020 campaign. In this
                                                                 role he also is leading efforts,
                                                                 with the community, on

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                                                                 proactively developing a plan and
                                                                 needed resources to mitigate any
                                                                 issues/barriers that may occur
                                                                 when educating and motivating
                                                                 all people living in Phoenix to
                                                                 participate and ultimately
                                                                 respond to the 2020 census.
                                                                 Also, prior to this role, he
                                                                 oversaw the city’s light rail
                                                                 transit and bus rapid transit
                                                                 program, as such, he also
                                                                 understands the importance and
                                                                 direct relationship an accurate
                                                                 census count has on federal
                                                                 funding support for high capacity
                                                                 transit in Phoenix. Mr. Santana
                                                                 has knowledge of these topics,
                                                                 including the mitigation efforts
                                                                 needed to be undertaken by the
                                                                 City of Phoenix in the upcoming
                                                                 census and the demographics of
                                                                 the City of Phoenix.
Joshua S. Sellers, JD, Ph.D.   Contact through Counsel for the   Professor Sellers is an Associate
                               City of Phoenix                   Professor of Law at Sandra Day
Associate Professor of Law,
                                                                 O’Connor College of Law,
Arizona State University,
                                                                 Arizona State University. He
Sandra Day O'Connor College
                                                                 holds a B.A. from the University
of Law
                                                                 of Michigan, and a Ph.D. and
                                                                 J.D. from the University of
                                                                 Chicago. His principal areas of
                                                                 research and teaching are in
                                                                 election law, legislation and
                                                                 regulation, constitutional law,
                                                                 and civil procedure. Professor
                                                                 Sellers has knowledge regarding
                                                                 the negative impact an
                                                                 undercount will have on the City
                                                                 of Phoenix’s representational
                                                                 interests.




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II. Fed R. Civ. P. 26(a)(1)(A)(ii) disclosures:

       Plaintiff City of Phoenix hereby incorporates by reference all documents or electronically

stored information disclosed by other Plaintiffs. In addition, the City of Phoenix discloses the

following documents.

       Plaintiff City of Phoenix expressly reserves it right to supplement this disclosure.

 Document Description                                        Document Location
 Map that shows how much of the City of Phoenix is in        Counsel for the City of Phoenix
 low-moderate income census tracks along with every          will produce this document when
 neighborhood group in those areas                           received


III. Fed R. Civ. P. 26(a)(1)(A)(iii) disclosures – Computation of Damages:

       Not applicable.

IV. Fed R. Civ. P. 26(a)(1)(A)(iv) disclosures – Insurance Statements:

       Not applicable.

V. Fed. R. Civ. P. 26(a)(2)(A) – Disclosure of Expert Testimony:

       Plaintiff City of Phoenix will provide disclosures of expert testimony as required by Rule

26(a)(2) on the schedule directed by the Court and as required by Rule 26(a)(2)(D) supplement if and

when experts are retained.


VI. Fed. R. Civ. P. 26(a)(2)(B) – Summary of Expert:

       Plaintiff City of Phoenix will supplement if and when experts are retained.




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DATED this 10th day of August, 2018.


                                       Office of the Phoenix City Attorney

                                       Brad Holm, City Attorney



                                       By: /s/ Patricia J. Boland
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of August, 2018, a copy of the Plaintiff City of

Phoenix’s Initial Disclosures were served via electronically to the parties as follows:

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